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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


   CLASSIC SOFT TRIM, INC. and
   ROADWIRE, LLC,

   Plaintiffs,

   v.                                                   Case No. 6:18-cv-01237-WWB-GJK

   ROSS ALBERT, KATZKIN LEATHER,
   INC., a Delaware corporation,

   Defendants.
   ______________________________/

             PLAINTIFFS’ MOTION FOR SANCTIONS AGAINST DEFENDANT
              KATZKIN LEATHER, INC. AND DON HOWARTH DISPOSITIVE
            MOTION SEEKING DEFAULT JUDGMENT UNDER RULE 37(b)(2)(vi)

          Plaintiffs, Classic Soft Trim, Inc. (“CST”) and Roadwire, LLC (“Roadwire”) (collectively,

   “Plaintiffs”), pursuant to Local Rule 3.01 (M.D. Fla.) and Fed. R. Civ. P. 37(b)(2)(i)(ii) (iii) and

   (vi) move for sanctions against Defendant Katzkin Leather, Inc. (“Katzkin”) for willful violation

   of the Court’s orders contained in Dkts. 388 and 296. Under section 37(b)(2)(iii) Plaintiffs seek

   an order striking Katzkin’s answer, Dkt. 362, and directing that Plaintiffs may proceed by default.

   Rule 37(b)(2)(vi). Alternatively, under section 37(b)(2)(ii) Plaintiffs seek an order prohibiting

   Katzkin from opposing the claims in the Second Amended Complaint (Dkt. 104) Claim Three,

   Tortious Interference with Contractual Relationships and Business Relationship and specifically

   prohibiting Katzkin from denying the allegations in paragraphs 150-162, and an order prohibiting

   Katzkin from opposing the claims in the second Amended Complaint (Dkt. 104) Claim Four,

   Inducing      Breach   of   Loyalty   and    Fiduciary    Duties/Intentional   Interference    with

   Employee/Employer Relations. and specifically prohibiting Katzkin from denying the allegations
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   in paragraphs 180-193. Alternatively, Plaintiffs seek an Order under section 37(b)(2)(i) directing

   that specific designated facts, identified herein, be established for this action as to Plaintiffs’ claims

   against Katzkin. Plaintiffs additionally seek monetary sanctions under Rule 37(b)(2)(C) against

   defendant Katzkin jointly with its attorney Don Howarth, who has advised Defendant to disobey

   the Court’s orders in Dkts. 388 and 296. Plaintiffs request that after a ruling, the Court allow a

   reasonable time for the Plaintiffs to file a supplemental declaration of the amount of expenses and

   attorneys’ fees caused by the failure of Katzkin to comply with the subject orders.

           I.      INTRODUCTION

           Two critical orders were violated in bad faith by Katzkin, the first compelling Katzkin to

   certify through an IT expert search for specific ESI pursuant to twenty-nine (29) separate searches

   that the Court specifically ordered in Dkt. 296. Those searches were heavily filtered with strict

   parameters placed on the IT searcher, and then thousands of documents retrieved by the searches

   were withheld. The second order (Dkt. 388) denied Katzkin’s motion to quash the Rule 45

   Subpoena to the IT expert, Joseph James, Jr. who was assigned the search from former defendant

   CLP and CLM, and specifically rejected the arguments by Katzkin to withhold any part of James’

   file. (Dkt. 388: 8-11). That order was violated by the production of only a portion of James’s file,

   which counsel heavily redacted, and by withholding all of the actual documents returned by the

   search. (Exhibit “1’). Both of these violations were premeditated in bad faith to deprive Plaintiffs

   of probative evidence that would prove their claims.

           a.      Summary of Complaint Claims. Plaintiffs’ Second Amended Complaint contains

   two remaining claims against Katzkin, Claim Three, Tortious Interference with Contractual

   Relationships and Business Relationships and Claim Four, Inducing Breach of Loyalty and

   Fiduciary Duties/Intentional Interference with Employee/Employer Relations. Both Claims are


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   based on Katzkin’s involvement and inducement of breaches of duty committed by former CST

   employee Ross Albert who was the general manager of Plaintiffs’ most profitable leather

   installation branch in Orlando for sixteen (16) years. Albert was a trusted, highly compensated

   fiduciary. This trust was shattered by Albert who conspired with Katzkin to sabotage CST’s

   business beginning in July 2015, nine months prior to resigning without notice on March 18, 2016.

   During those nine months, Albert engaged with Katzkin and former defendant Classic Design

   Automotive (“CDA”) to divert all of Plaintiffs’ car dealerships from buying Roadwire leather, to

   buying Katzkin leather. Albert spent months negotiating with Katzkin for a One Million dollar

   ($1,000,000) two year compensation package in exchange for delivering all of Plaintiffs’ Orlando

   customers and branch employees to CDA and in exchange for Albert conspiring with CST’s Vice

   President Greg Vogel, who managed Plaintiffs’ Cincinnati Ohio Branch, for Vogel to resign and

   destroy the Cincinnati branch profits. At stake was millions of dollars of annual revenue Katzkin

   schemed to receive from CST’s losses. On February 12, 2016 Katzkin and Albert executed

   Albert’s employment agreement, the next week Vice President Vogel resigned, and based on

   Albert’s conduct, by April 1, 2016 both the CST Orlando branch and Cincinnati branch lost over

   75% of their customers.

          b.      History of Proceedings. On August 22, 2017 in Florida state court, CST sued

   Albert and former employee Daniel Valencia, along with competing Orlando re-styler Classic

   Design Automotive (CDA) alleging Albert, Valencia and CDA principals John Held and John

   Donellan had conspired to divert all Orlando customers to CDA. In June 2018 Valencia confessed

   and signed a declaration that revealed Katzkin had orchestrated the entire scheme and had actively

   participated with Albert in soliciting CST customers and employees, and had orchestrated CDA

   expanding its operations to become the primary recipient of all of CST’s customers with an


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   arrangement CDA would only install Katzkin leather. On July 31, 2018 the state action was

   removed by Albert to this court, and on December 27, 2018, Plaintiff Roadwire, LLC was added,

   and Plaintiffs added defendant Katzkin and its owner ClearLight Partners, LLC (CLP) and

   ClearLight Management, LLC (CLM), alleging they had induced Albert to breach his duties of

   loyalty and his fiduciary duties, and they intentionally interfered with CST employment and

   customer contracts with unfair and illegal business practices. On August 13, 2020, Dkt. 347

   dismissed CLP and several claims against Katzkin.1

          c.      History of Discovery and Orders. Plaintiffs served Katzkin and CLP with

   multiple Rule 34 document requests seeking substantial ESI Katzkin had between its various

   agents, including managers Ron Leslie, Dave Sheffler, Bill North and CEO Tim Clyde with Albert

   and former vice president of CST, Greg Vogel. The requests sought phone records, text messages

   and emails known to have existed between July 2015 and January 2017. Katzkin and CLP,

   represented by Attorney Courtney Wilson and Don Howarth, refused to produce any responsive

   records forcing Plaintiffs to file several motions to compel (Dkts. 228, 230) and defending

   Katzkin’s motion to strike cell phone company subpoenas. (Dkt. 333). 2 Plaintiffs’ motions

   addressed the Rule 34 requests that sought discovery related to Katzkin and CLP’s involvement

   with Albert’s pre-resignation breach of duties of loyalty as general manager by engaging in tortious

   conduct against Plaintiffs, and discovery related to post termination illegal use of Plaintiffs’

   confidential information and trade secrets up to the current date. (Id.). Plaintiffs defended their

   cell phone company subpoenas based on known text messages and phone calls that Katzkin denied




   1
     A Rule 60 Motion seeking reconsideration is being filed concurrently with this motion to allow
   Plaintiffs to file a Third Amended Complaint that includes a direct claim against CLP and CLM
   for their independent aiding and abetting Albert to breach his fiduciary duties to Plaintiffs.
   2
     Wilson is local counsel for Howarth who is in Los Angeles.
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   sending and making, seeking independent proof to impeach Katzkin’s agents and support forensic

   examination of Katzkin and CLP’s ESI. (Dkt. 335). The honorable Judge Baker initially reviewed

   the motions and ordered the parties to meet and confer and consider hiring a facilitator. (Dkt. 296).

   The parties agreed to retain a local Orlando facilitator attorney Carolyn Alvarez and spent four

   weeks and numerous zoom hours working through each ESI request. With impasses reached on

   the majority of the requests, Ms. Alvarez filed Dkts 282 and 283 that outlined the ESI searches in

   dispute. The Court issued its Order, Dkt. 296, specifically incorporating the Defendants final

   compromise position on twenty-five (25) searches that the parties had numbered with competing

   positions set forth (Dkt 283-1: pgs 1-47) and providing enumerated rulings on five additional

   requests.   The Court ordered Defendants to complete the searches in the manner of their

   “concessions” offered in their final responses to each, and the Court specifically incorporated those

   concessions by referring to Dkt. 283-1. (See Dkt 296, fn.3). The court further narrowed several of

   the 25 searches, specifically Search number 6 which the court ordered “Defendants shall perform

   the identified ESI search for emails from Michael Kaye to Peter Kim for the time frame of

   December 1, 20145 to July 1, 2015” and as to search number 25 seeking Vogel records and records

   related to nineteen (19) other former CST employees, the Court ordered that “Defendants shall

   search for references to the employees identified by Plaintiffs in this request for a time period from

   six months before the employees hiring date and three months after their hiring date”. (Dkt 296:

   p4.)

          d.       Defendants Immediately Instructed Their IT Experts to Violate the Order

                  1.      Directions Given to Not Look or Produce Attachments or Document
                          deleted files.

          The Court’s Order on the motions to compel, Dkt. 296, was entered on 6/17/20. That same

   day defense counsel called a meeting with both the CLP and Katzkin IT, with Katzkin officers and

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   CLP partners and sent a spreadsheet directing very narrow, and specific searches in very limited

   locations to guarantee as little as possible would be returned. Exhibit “2” is the June 17, 2020

   instruction to IT to run “specific searches”. Defense counsel then sent specific instructions on

   their “agenda items” that included a direct instruction to violate the IT certification form by not

   documenting the deleted or unrecoverable text. (Exhibit “3”, e(ii)). The Court’s order adopted the

   defendant’s IT form (Dkt 296:3) which specifically included the obligation to document data

   deleted. (Exhibit “4” brackets part, “list each device and deletion history”. The final certification

   of James did not document the history of discovered deletion or unrecoverable text. (Exhibit “5”

   see bracketed parts). The exhibit “3” Agenda items also directed IT to “exclude attachments”, with

   additional instructions to “ignore header, signature block and attachments”. (Exhibit “3”,

   (e)(iii)(2)). Each defendant’s position stated that:

          “As to email attachments, which Plaintiffs raise in their statement, but which are relevant
          here since this was supposed to be resolved, as Defendants have informed Plaintiffs, where
          relevant its IT consultants will certify the search was done and that all emails were turned
          over to counsel with attachments, so the can be reviewed by counsel for purposes such as
          responsiveness and privilege prior to production to Plaintiffs.” (See e.g. 283-1, p.9,
          emphasis added).

            These representations were false. James confirmed he had no idea what he actually turned

   over to counsel as he did not look at any of the results. (Q: Did you ever compare what you sent

   them as to what they produced me? A: No ( 51:4-13) “I didn’t look at the documents counsel, I

   did the search I submit the findings to counsel for responsiveness”. (180:11-13). The agenda items

   also directed that “when say [sic] search text of email, Exclude header block (subject, to, from,

   ect), signature block and attachments? May need to do this manually later on the sig block”. IT

   was also told “no email address in the to and from searches”. (Exhibit “3”, (e)(iii)(3). These

   instructions with no independent verification of what was actually produced, are clear violations

   of the Dkt. 296. Based on what was produced, it is clear that attachments were not produced-

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   exactly as directed. This was a bad faith violation of the Court’s order.

          2.      Directions Given to Eliminate Searches that Would Produce Responsive Files.

          Multiple critical searches were ordered (1, 2, 12, 17, and 22 ) that focused on the Orlando

   events between July 1, 2015 and March 21, 2016. Search 1 was for “emails regarding CLP or

   Katzkin visits to Florida to meet with Albert (July 1, 2015 to April 1, 2016). Search #2 was for

   ESI that had “Ron Leslie” and “Ross” or “Albert”. Search 12 was an “all writings” search [which

   would include text messages, memos attached to emails, ect.] that had “Ron Leslie” and “Orlando”

   in an email or the same document. Search 17 was for any documents that had “Dave Sheffler”

   and Orlando in the same document or email, (with no restriction on word distance for this search)

   Search #22 was for documents that discussed “how Katzkin will expand or grow in Orlando”, and

   Search 23 was filed and emails that referred to Naomi Soto or Danny Valencia” (Dkt. 283-1, pps.

   1, 19, 30, 40, and 41).

          Defense counsel mocked these five critical searches and instructed James to not do any ESI

   search on #1, [See Exhibit 7, search #1 instructions [“not for IT” in column 4]. As to search #2

   they excluded all attachments and headers from the search. [Exhibit “7”] As to #12, IT was told

   to search only the text of the email (not the headers or attachments) in emails on #12 for the “phrase

   Ron Leslie and words “Orlando” with no reference to any other records, such as text messages or

   attachments. [See Exhibit “8”]. As to #17, Defense counsel limited the search to emails only (no

   other documents such as attachments or text messages) to a “within 30” word search. (Exhibit

   “8”). The order adopting defendants position which was to limit searches with Sheffler and

   “Classic Soft trim” to 30 words, no agreement regarding Leslie and Orlando to 30 words was

   reached. [Dkt. 282-1 p. 33]. This violation was willful as there are at least 32 SMS messages

   discovered from Sheffler to Albert during the critical dates of February and March that were


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   not produced. (Exhibit “10 ” red boxes around SMS text between Albert and Leslie that were not

   produced). As to #22, documents on the Orlando expansion, counsel blacked out the instructions.

   [See Exhibit “7”].

          3.      Defendants Failed to Search for All Text Messages.

          As to text messages, Exhibit “10” is proof that the most critical text messages between

   Albert to Leslie in the subject date range were not looked for, and/or counsel withheld the damning

   ones. Other order violations on text messages include Search #3 that was for text messages to and

   from Orlan Davies to Michael Kaye, but Orlan Davies’ phone was not searched. (see Exhibit “7”,

   red box on far right columns of phones). This is also true for #8 text messages from Michael Kaye

   to CLP employees. Only Kaye’s phone was searched. What if Kaye deleted these text but the other

   phones or back up had them? Why when your IT had all phones and passwords did it deliberately

   do this? The answer is, by searching one you reduce the number of responses-so long as you do

   not document what was deleted from the one phone you search. That is what happened here.

          4.      Defendants Failed to Search CLP Texts re Involvement with Katzkin Torts.

          A major issue pending with the proposed Third Amended Complaint is CLP/CLM’s direct

   aiding and abetting of Albert to breach his fiduciary duty, which is a Florida common law claim

   that would assert personal jurisdiction over CLP/CLM. As stated in See Allerton v State Dept of

   Ins. Co, 635 So.2d 36 at 39-40 (Fla Dist Ct. App. 1994) “[I]f an individual commits an act that

   aids and abets a breach of fiduciary duty outside of Florida that causes harm to a company located

   in Florida, the individual is subject to personal jurisdiction under the Florida long-arm statute.” As

   stated in the proposed amended complaint CLP admits the travel but has concealed the CLP text

   messages and emails that prove the details of this aiding and abetting. (Admission of travel at (Dkt.

   283-1, p.2 under “Defendants position”; proof of concealed text message in Exhibit “1” Leslie to


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   Schmidt text messages on September 19, 2016; Court order compelling text messages with

   Schmidt at Dkt. 283-1, p. 37-40 ordered to be produced by Dkt. 296.). Search #9 was for 11

   searches propounded by Plaintiffs to discover directions from Kaye to Katzkin personnel, as

   Plaintiffs knew Kaye was debriefed twice in the middle of the Orlando events. (See Exhibit “9”

   emails, e.g. March 14, 2016, To Kaye: “Peter and I (Clyde) wanted to discuss the evolving situation

   with CST and give you (and all of us) a chance to discuss our plans, opportunities and the risks”.)

   Search #9 was for CLP managing partner Michael Kaye’s text messages to twelve (12)

   specifically named Katzkin and CLP employees. (Dkt. 238-1, pgs 13-14). Defendants assured the

   Court they would have IT search all deleted or current text messages to all 12 people and that

   Defendants accepted Plaintiffs’ language to produce text messages “approving or disapproving the

   conduct or directing conduct to Katzkin”.(Id). Defendants thinking they would never get caught,

   mocked this search by limiting it to text messages for those 12 that contained the words “Classic

   Soft Trim” or “Roadwire”( See Exhibit “7” red box around Search #9). This premediated “slight

   of hand” a was designed to conceal any direct instructions from Kaye during the subject time

   frame that would prove CLP’s direct aiding and abetting, ( note “Albert” is missing from the

   search). Concealed emails exist based on the fact CLP partner Schmidt and Mannasero traveled to

   Orlando during that time frame. (admission of Schmidt Orlando travel at 283-1, p.2)

          II.     DEFENDANT CAUSED JAMES TO COMMIT CONTEMPT AND
                  WITHELD HIS FILE.

          Defendants obstruction of the James subpoena and the withholding of all of the records he

   actually received from his searches, combined with their major redaction of his file was a bad faith

   violation of Dkt. 388. In the extensive meet and confer efforts with Defense counsel Don Howarth,

   he took the baseless position that the Court did not rule on the file. He knew this false as pointed

   out in great detail to him in the following email:

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         Don, your refusal to produce the entire file is a violation of the Court’s order. I
         want to schedule a time today to meet and confer to discuss. What is your
         availability this morning as if you do not reconsider we will continue the
         deposition and file a motion to compel compliance and seek sanctions. The
         deposition subpoena was not modified in any manner by the Court and all your
         objections were overruled. A review of the order and your objections prove
         this. You objected to the file being produced stating, inter alia, “Mr. James is a
         consulting expert retained by Defendant ClearLight and its counsel, who is not
         expected to testify at trial, and is not subject to deposition; and both his file and
         his testimony are fully protected by the work product and attorney client
         privileges.” You stated, “he is not required to turn over his file relating to such
         work”. You further objected stating “his file and his testimony are privileged
         against discovery by the work product and attorney client privileges” After
         citing multiple work product cases, you concluded with “the discovery sought
         by Plaintiffs August 5 subpoena served on Mr. James is thus improper and
         privileged and the subpoena is defective” . In the next section of your objection
         you argued, “Fourth, Plaintiffs have no need for information from Mr. James or
         his file and there is no basis for them to obtain his file or take his deposition.”

         In your Motion to quash you attached your objections and commenced by
         quoting the SDT for James’s “entire file related to his IT work in this case”.
         (349:2). You repeated your objections, cited again several work product cases,
         and argued various code sections supporting the Court issuing a protective
         order. (394:3-7). You then proceeded to seek “sanctions” for Plaintiffs
         “unilaterally modifying the Court Order” and upon that basis, argued the
         subpoena in invalid . (349:10-11). In the next section you specifically addressed
         the entire file of Mr. James arguing that Plaintiffs wish [sic] “that Mr. James
         turn over his file related to such work” (394:11). You proffered that “the work
         product privilege does not just protect a consulting expert against deposition,
         but also protect the expert’s file from disclosure.” (394:12). You then concluded
         with arguments regarding the need for James’s testimony. You also attached


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         your declaration which did not address any specific content of the file. No
         person with personal knowledge of specific harm that would result from
         disclosure of the purported confidential contents was attached. The Court
         soundly and fully rejected all your arguments. The Court commenced his order
         by reciting the history of Mr. James’s involvement, and incorporated the
         subpoena ( 349-2) and its demand for the entire file. (388:2). The Court then
         specifically referenced your objections. (349-3). The Court then summarized
         your objections, noting in part that you were objecting because “Mr. James is a
         non-testifying expert in this matter and his file is protected work product.” (id).
         The Court then cited to the applicable law, citing in part the proposition that “ A
         Rule 45 subpoena should be enforced unless it is clear that the evidence sought
         can have no possible bearing on the issues.” (388:3). The Court specifically then
         quoted section (3) of Rule 45(d) that allows an order to quash if the subpoena
         “requires disclosure of privileged or other protected matter, if not exception or
         waiver applies”. (id) Then the Court notably cited Malibu Media, LLC v. Doe
         (M.d. Fla. Jan 22, 2015) for the key element that the party seeking to quash the
         subpoena “bears the burden of establish at least one of the requirements in Rule
         45(d)(3) A)(i)-(iv). The Court cited additional law your burden, referencing
         O’Connor v Geico Indem. Co. ( M.D. Fla March 21, 2018) and Gober v City of
         Leesburg ( M.D. Fla 2000). Then pivotal to the order as to the file, the Court
         quoted Dovin v Nair and Co, Inc. ( M.D. Fla. Jun 30, 2009) which held “ A
         protective order should be entered only when the movant makes a particularized
         showing of “good cause” and specific demonstration of fact by affidavit or
         testimony of a witness with personal knowledge, of the specific harm that would
         result from disclosure or loss of confidentiality; generalities, conclusory
         statements and unsupported contentions do not suffice” (388:5). The Court then
         repeated the pre requisite of an affidavit of a person with personal knowledge of
         the confidential information, and need for particularity, citing the 5th circuit
         case of US vs Garrett that stated “ a showing of good causes contemplates a
         particular and specific demonstration of fact as distinguished from stereotyped
         and conclusory statements”). In its analysis, the Court rejected in one sentence

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         your ten page argument on the issuance of the subpoena being a “sanctionable
         violation” [quotes in the original] (388:5). The Court then proceeded to
         overrule all procedural defect objections. (388:6-8). Then critical to why your
         refusal to produce the entire file is a willful violation of the Court’s order, the
         Court addressed and rejected all of your work product, confidentiality
         arguments. The Court started by citing to Rule 26(b)(3) which generally
         supports withholding “documents and tangible things that are prepared in
         anticipation of litigation or for trial by or for another party” but then cited to
         Rule 26(b)(1) that allows discovery when the party shows “it has substantial
         need for materials to prepare it case and cannot without undue hardship, obtain
         their substantial equivalent by other means”. (388:9). The Court then dissected
         how to determine if a requested document was in truth prepared in anticipation
         of litigation and noted the Court must consider “the function the document
         serves, the circumstances surrounding its creation and the driving force behind
         its preparation’) citing to Trenary v Busch Entm’t Corp (M.D. Fla. Sept 28,
         2006). The Court then noted that work product protection is waived when the
         materials are disclosed in a way that “substantially increases the opportunity for
         potential adversaries to obtain the information”. The Court concluded with
         quoting Live Nations Worldwide, Inc. v Cohl (S.D. Fla Nov 17, 2011) that
         “not every situation in which work-product materials are disclosed warrants a
         finding of waiver”. The Court then addressed your argument that the ESI search
         protocols are protected work product, and rejected that as “the record does not
         support Katzkin’s contention” finding that “the record, including the ESI
         Certification, reflects that Mr. James was retained to discharge Clearlights duty
         to produce responsive discovery in this litigation and not to assist counsel in the
         defense of this case. (388:10). Then, and this is dispositive, the Court stated:
         “Similarly, while it is possible that Mr. James’s file contains materials that may
         be protected work product, Katzkin has failed to identify those materials in any
         particularized way. Instead Katzkin has made a conclusory argument regarding
         the applicability of the work product doctrine. The Court then specifically ruled
         that “Katzkin has failed to make a particularized showing that protective order

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          is required, or that the Subpoena must otherwise be quashed.” 388:10. Your
          statements below that the “notice did not call for documents” and that Court’s
          October order did say you were entitled to “review his file related” to the ESI
          search Mr. James conducted” are both evidence you are willfully violating the
          Dkt 388. The Courts order only used the words “file related” on page 7 where
          the Court noted the Subpoena asks the recipient to produce his “entire file
          related to his IT work in this case” and the Court also quoted the Subpoena that
          seeks James “entire file related to your IT work in this case” (388:7, FN3). The
          Court noted at p. 8 that CST seeks to depose Mr. James regarding the nature of
          his ESI search and review his entire file related thereto.” (388:8) . Your willful
          disregard of the word “entire” and the transparent conduct of concealing
          material evidence that you have redacted, combined with the selected
          production of only parts of the file, is sanctionable conduct under Rule 37.

          Should you not immediately withdraw your position and should you not
          immediately transmit the entire file to me so that I can reasonably review and
          organize it, I will continue the deposition and file a motion for sanctions. It is
          now established from the produced phone records that numerous responsive ESI
          documents ordered by the Court in Dkt. 296 were concealed or destroyed. The
          Plaintiffs have been substantially prejudiced by this conduct and the delay in
          their right to responsive ESI combined with a cumulative violations of the
          Courts orders by both defendants, supports severe sanctions by the Court.

          I am available until 5:30 PST today to meet and confer on this.”


          Despite this effort and the undeniable findings of this Court that no aspect of the file was

   proven to be privileged, Defendants instructed James to commit contempt.          James: Q Did you

   understand that it was a subpoena to you to produce your entire file related to your IT work in this

   case? A: I did. Q: Did you ever engage in any activities where you went in and blacked out any




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   portion of the emails sent to or from you? A. I did not. (James depo. 13:20-24; 17:4-73).

           James uploaded all of the files he found-without looking at them- to a One Drive account

   with Don Howarth. (Exhibit “11” “Cell phone searches for all named CLP employees are now

   complete. Tomas, I will add the findings to the OneDrive file later tonight” According to James’

   records, 1742 emails were turned over to Howarth, including 950 on the Orlando search of Leslie

   and Orlando. Yet only 316 emails were produced (See Exhibit “12” compilation of emails and

   their bate numbers). James did not keep a record of how many text messages were generated. Only

   897 text messages were produced, an of those only 68 were in the time frame of Feb 1- March 21,

   2017. (See Exhibit “13”). Even though Albert destroyed and/or refused to produce his phones and

   passwords to his accounts, Katzkin claims it searched its backup. Clearly it did not or its counsel

   withheld thousands of text messages. The game Katzkin has been playing is without an

   independent search, there is no way to know what defense counsel screened. When the entire file

   was ordered to be produced from James, they were caught. Because the results are so harmful to

   their defenses, and based on how late in this case, Dkt. 388 was issued, they premeditated a gamble

   to willfully violate the Court’s order. They know that what was uploaded and what was not

   searched for, would prove all elements of Plaintiffs claims, including the proposed new claims in

   the Third Amended Complaint for Trade Secrets theft, and aiding and abetting by CLP. This

   conduct was done in bad faith and supports severe sanctions under Rule 37(b)(2)(iii) and(vi).

           III.    KATZIN FACILITATED ALBERT’S DESTRUCTION OF ESI

           The fiction of Katzkin’s counsel that it is not also Albert’s counsel and the games that have

   been played “behind the scenes” to control Albert’s discovery, but then distance themselves as if




   3
    The final transcript for the deposition of James is not yet available, once it is, the cited pages will
   be filed from that final version.
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   Albert and Katzkin are not represented by the same attorneys- Don Howarth and Courtney Wilson-

   is proof of Katzkin’s bad faith. Albert received at least five days before he commenced

   employment with Katzkin, a 2016 laptop and iPhone 6 from Katzkin. (Albert 19:7-9, Chase para.

   17, Exhibit 11). Albert had that iPhone for several years and ultimately upgraded it to an iPhone

   8, which came out in late 2017. Katzkin did not preserve that iPhone 6 despite active litigation, a

   preservation letter and despite knowing since March 16, 2016 litigation against them and Albert

   was imminent. Records recovered from AT&T show that Albert used that iPhone 6 to extensively

   text and email. IT expert Brian Chase analyzed those records and dissected data from the single

   laptop produced, confirming that nine thousand nine hundred and fifty three SMS messages were

   sent or received by that iPhone 6, with over three thousand (3,000) of them going to or from phone

   numbers, as opposed to AT&T sending data notices which comprise the balance. (Chase Decl.

   para. 40-43.) Mr. Chase compared numbers from several of the text messages sent from the iPhone

   6 during the exact events surrounding Albert’s resignation and confirmed that each category of the

   specified list of witnesses sought by Request #3 existed. Specifically, he identified text messages

   in the critical time frame from Albert to car dealerships, Dave Sheffler, John Held and other

   Katzkin employees. (See highlighted phone records attached to Chase Decl. as Exhibit “A”).

   Katzkin stood idly by while Albert destroyed this iPhone 6, ( their property) and then aided him

   as he produced none the thousands of other text messages he sent during the subject Court-ordered

   time frame.

          a. Katzkin Aided Albert in Concealing              the Classicdesignleather@gmail.com
             account.

          Katzkin owns Albert’s iPhone, and as his employer had a duty to search that phone and

   preserve all ESI from it and any back up accounts. They did not do this. The forensic search

   performed on Albert’s “Katzkin owned laptop” revealed cloud-based email accounts he used

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   between the dates of January 1, 2015 and January 1, 2017, one hosted at Google and one hosted at

   iCloud. Katzkin knew of a third cloud account, Classicdesignleather@gmail.com, as they too sent

   emails to that address for scheduling from Ron Leslie. (Exhibit “14”). Nowhere in this discovery

   process have they acknowledged or searched that Google account which at all times their employee

   manager, Albert, had full access to. The concealment of the Classicdesignleather@gmail.com

   account is one of Katzkin and Albert’s most egregious acts. By the time it was discovered, the

   discovery cut off had expired and critical cross examination of John Held, Ron Leslie, Dave

   Sheffler, Tim Clyde, Bill North and Brooks Mayberry did not include any questions on this

   concealed email and its contents. Throughout his deposition, Albert adamantly denied conspiring

   with Dave Sheffler of Katzkin, CST’s operation manager, Danny Valencia and CST office

   administrator Naiomy Soto to set up a clone of CST’s operations with competitor Classic Design

   Automotive (CDA). (Albert, 42:10-43:4, 68:11-69:18, 72:4-11, 79:4-80:22, 86:3-7). These lies

   have now been fully exposed by the discovery of this concealed Google email account, named

   classicdesignleather@gmail.com. All of Katzkin’s employees equally lied about the events they

   absolutely knew of that this account proves.

          b. Katzkin Aided and Abetted Albert In Concealing theeleatherman@gmail.com
             emails.

          Plaintiffs have also been deprived of highly probative 2015-2017 emails from Albert’s

   Google account, theeleatherman@gmail.com.            It was through this email Albert stole and

   transmitted CST’s proprietary forms and customer list to the Classicdesigleather@gmail.com

   account. Exhibits 6 and 7 prove this as does the contact list discovered on his laptop and the dates

   it was created on March 17 and 18, 2016. (See Chase Decl. para. 17-21; note also the email “Ross

   Albert” when clicked on in the original goes to theeleatherman@gmail.com). Depriving Plaintiffs

   of any use of the concealed emails in their claims and discovery against Katzkin, Albert has

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   blocked all access to this account, and never conducted any ESI search in it-neither has Katzkin.

   Katzkin’s failure to be sure their employee using their laptop did not delete these emails, is

   axiomatic under the rules of preservation of known ESI. His obstruction was plainly pre-mediated

   as confirmed by IT expert Chase who verifies that none of these theeleatherman@gmail.com

   emails were on the laptop he searched, and the 2018 created backup folder was empty. (Chase

   Decl. para. 12, 34-38).

   c.     Katzkin Concealed an Entire iCloud Account and iCloud Email.

        Katzkin’s     employee,     Albert     also        has   an   email   account     known      as

   theeleatherman@iCloud.com. This hidden email account was never searched by Katzkin, even

   though it is accessible through a laptop they own. This is yet another basis of granting this motion.

          IV.       GOOD CAUSE EXIST TO GRANT 37(b)(2)(iii) SANCTIONS

          Based on the March 1, 2021 trial date, the expired August 24, 2020 discovery cut-off, and

   the imminent pre-trial conference deadlines, Katzkin’s bad faith violations support the most severe

   Rule 37(b)(2) sanctions. Even if Katzkin fully complied today, Plaintiffs cannot start over with

   deposing the twelve (12) witnesses allowed by numerous hard-fought court orders. Under the

   CMSO order, without extraordinary relief, Plaintiffs have no remaining opportunity to conform

   their pleadings and pre-trial ordered documents to include the mountain of concealed evidence that

   exist on Katzkin and CLP devices that were either never searched, or were concealed by Defense

   counsel Don Howarth from being produced. There has already been three extensions of the CMSO

   deadlines.

          The only fair resolution is for the Court to strike Katzkin’s answer and order a default prove

   up pursuant to Rule 37(b)(2)(iii) and (vi). This is the relief Plaintiffs seek. A less fair but

   alternative option is for the Court to issue Rule 37(b)(i) or (ii) directives heavily restricting


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   Katzkin’s defenses. This is the alternative relief Plaintiffs seek. This lesser alternative would still

   leave Plaintiffs severely prejudiced as Albert has benefitted from Katzkin’s obstruction, and any

   order short of striking Katzkin’s answer with a default judgment confirming their conspiracy with

   Albert and Vogel to violate their fiduciary duties to Plaintiffs, will reward Katzkin for order

   violations. Katzkin has controlled Albert through Don Howarth making sure that Plaintiffs were

   never going to get the most damning ESI. The additional relief sought by this motion is Plaintiffs’

   attorneys’ fees related to Katzkin’s failure to comply with Dkts. 388 and 296, awarded against

   Katzkin and its lead counsel, Don Howarth jointly.

          V.      MEMORANDUM OF LAW

          Based on this record, Katzkin’s willful violation of Dkts. 296 and 388 support severe

   sanctions under Rule 37(b)(2)(iii); Lambert v. Worldwide Marketing Technologies Corporation,

   708 Fed. Appx. 559 (11th Cir. 2017). Rule 37(b)(2)(A) of the Federal Rules of Civil Procedure

   provides that if a party fails to obey a discovery order, the court where the action is pending may

   issue "further just orders" such as: “(i) directing that the matters embraced in the order or other

   designated facts be taken as established for purposes of the action, as the prevailing party claims;

   (ii) prohibiting the disobedient party from supporting or opposing designated claims or defenses,

   or from introducing designated matters in evidence; (iii) striking pleadings in whole or in part, (vi)

   rendering a default judgment against the disobedient party.” Fed. R. Civ. Pro. 37(b)(2)(A). Courts

   enjoy "substantial discretion in deciding whether and how to impose sanctions under Rule 37."

   Chudasama v. Mazada Motor Corp., 123 F.3d. 1353, 1366 (11th Cir. 1997). In imposing

   sanctions, the Court may consider "the unsuitability of another remedy, the intransigence of a

   party, and the absence of an excuse." Watkis v. Payless ShoeSource, Inc., 174 F.R.D. 113, 116

   (M.D. Fla. 1997). "Although dismissal with prejudice is the most severe Rule 37 sanction,


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   dismissal may be appropriate when a [party's] recalcitrance is due to willfulness, bad faith or fault."

   Id. The courts find bad faith when a party delays or disrupts the litigation or hampers enforcement

   of a court order. In re Sunshine Jr. Stores, Inc., 456 F.3d 1291, 1304 (11th Cir. 2006); Marcelle v.

   Am. Nat'l Delivery, Inc., No. 3:09-cv-82-J-34MCR, 2010 WL 1655537, at 4 (M.D. Fla., Apr. 23,

   2010) (holding that the defendant's failure to attend the depositions and comply with the court's

   discovery order was part of a pattern of willful disobedience and warranted a sanction of default

   judgment). "[D]ismissal upon disregard of an order, especially where the litigant has been

   forewarned, generally is not an abuse of discretion." Watkis, 174 F.R.D. at 116. In United States

   v. Dominguez-Diaz, No. 3:10-cr-164-J-32TEM, at *5-6 (M.D. Fla. Oct. 11, 2013) the Court quoted

   another court that held an"[o]utright non-compliance with a court order cannot be countenanced,

   and such flagrant violation of the rules must be deterred. No less drastic a sanction than dismissal

   can be effective in the face of Claimant's complete refusal to participate in discovery."

          a. The Record Supports a Bad Faith Finding Supporting 37(b)(2)(iii) and (vi)
             sanctions.

          Whether noncompliance with an order was intentional or in bad faith, must be determined

   to justify terminating sanctions. See Societe Internationale Pour Participations Industrielles et

   Commerciales v. Rogers, 357 U.S. 197, 212, 78 S.Ct. 1087, 1096, 2 L.Ed.2d 1255 (1958); Searock

   v. Stripling, 736 F.2d 650, 653 (11th Cir. 1984). “Violation of a discovery order caused by simple

   negligence, misunderstanding, or inability to comply will not justify a Rule 37 default judgment

   or dismissal.” Malautea v. Suzuki Motor Co., 987 F.2d 1536, 1542 (11th Cir. 1993). Here there is

   no misunderstanding. Katzkin has willfully concealed both the source and actual relevant ESI

   justifying terminating sanctions under Rule 37(b)(2)(iii). Their spoilation is both derivative of what

   they turned a blind eye to Albert doing, and their own failure to produce test messages their phone

   records prove exist. “Spoliation” is “the intentional destruction, mutilation, alteration, or

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   concealment of evidence.” Black's Law Dictionary 1437 (8th ed. 2004). “Generally spoliation is

   established when the party seeking sanctions proves that (1) the missing evidence existed at one

   time; (2) the alleged spoliator had a duty to preserve the evidence; and, (3) the evidence was crucial

   to the movant being able to prove its prima facie case or defense.” Floeter v. City of Orlando, 2007

   U.S. Dist. LEXIS 9527, at 15 (M.D. Fla. Feb. 9, 2007). Wooden v. Barringer, 3:16-CV-446-MCR-

   GRJ, 2017 WL 5140518, at 7 (N.D. Fla. Nov. 6, 2017)). If the Court finds a party acted “with the

   intent to deprive another party of the information's use in the litigation,” the Court may impose the

   harsher sanctions--including entry of a default judgment--as delineated in Rule 37(e)(2). Id. Albert

   knew by March 18, 2016 when he received the cease and desist letter, litigation was “reasonably

   foreseeable.” Graff v. Baja Marine Corp., 310 Fed. Appx 298, 301 (11th Cir. 2009). This is an

   objective standard and considers whether a party should reasonably have anticipated litigation. See

   Alabama Aircraft Industries v. the Boeing Co, 319 F.R.D. 730, 742 (N.D. Ala. 2017). The

   Eleventh Circuit holds that the “bad faith” standard and the “intent to deprive” standard in Rule

   37(e) are connected.” ML Healthcare Services v. Publix Super Markets, Inc., 881 F.3d 1293, 1308

   (11th Cir. 2018)); Alabama Aircraft Indus. 319 F.R.D. at 746). Where there is evidence of bad

   faith in the destruction of evidence, it may be inferred that missing evidence was unfavorable and

   that there was prejudice. See Southeastern Mechanical Services, Inc., 657 F.Supp. 2d at 1300. In

   making this determination, courts necessarily consider the context of the destruction. See

   Telectron, Inc. v. Overhead Door Corp., 116 F.R.D. 107, 110 (S.D. Fla. 1987) (noting that alleged

   spoliator's contention that no significant prejudice resulted from destruction to be unconvincing).

          Katzkin has mocked the truth with its “separate counsel” position. (See Dkt. 283-1: “As to

   those (Rule 34 demands) directed at Mr. Albert’s devices…Plaintiffs chose to name Mr. Albert as

   a defendant, and he has separate counsel. Defendants will not in such circumstances come between


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   Mr. Albert and his counsel” (emphasis added). This record supports striking Katzkin’s answer

   and directing a default prove up to entry of a default judgment. (37(b)(2)(vi)).

          b. Rule 37(b)(2)(i) and (ii) Sanctions Are Not Required First before 37(b)(2)(iii)

          Rule 37 sanctions are intended to prevent unfair prejudice to the litigants and ensure the

   integrity of the discovery process. Gratton v. Great Am. Commc'n, 178 F.3d 1373, 1374 (11th Cir.

   1999) (per curiam). "[T]he severe sanction of a dismissal or default judgment is appropriate only

   as a last resort, when less drastic sanctions would not ensure compliance with the court's orders."

   Malautea, 987 F.2d at 1542. A district court is not required to first impose lesser sanctions if the

   lesser sanction would be ineffective. Id. at 1544. A district court does not abuse its discretion in

   dismissing a claim under Rule 37(b) if it finds that a party willfully failed to comply with the

   opposing party's discovery request, even if we would have imposed a lesser sanction. OFS Fitel,

   LLC v. Epstein, Becker Green, P.C., 549 F.3d 1344, 1367 (11th Cir. 2008). In Ins. Corp. of Ireland

   v. Compagnie des Bauxites de Guinee, 456 U.S. 694 (1982), the Supreme Court affirmed sanctions

   under Rule 37(b)(2)(A)(i), determining that after defendants raised the defense of lack of personal

   jurisdiction but failed to comply with court orders to produce documents which related to the issue,

   it was deemed established that defendant had contacts with Pennsylvania, such that they were

   subject to personal jurisdiction. The only “test” the Supreme Court provided was that any sanction

   must be “just” and must be “specifically related to the particular ‘claim’ which was at issue in the

   order to provide discovery.” In Mystique, Inc. v. 138 Int'l, Inc., No. 07-22937-CIV, 2011 WL

   13173601, at *6 (S.D. Fla. Aug. 31, 2011), report and recommendation adopted, No. 10-21421-

   CIV, 2011 WL 13173603 (S.D. Fla. Dec. 19, 2011), the Plaintiff obtained a judgment against

   Defendant in a trademark infringement action. Plaintiff then initiated proceedings supplementary

   against South Beach Corp. and two individuals, asserting they were Defendant’s alter egos and


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   thus their assets were subject to execution on the final judgment. After Defendant, South Beach

   Corp, and the two individuals violated multiple discovery orders to produce documents, Plaintiff

   sought a finding under Rule 37(b)(2) that South Beach Corp. and the individuals were Defendant’s

   “alter ego” The Court found that Defendant, South Beach Corp., and the two individuals “willfully

   and intentionally withheld documents” in “direct violation” of multiple discovery orders . The

   Court noted that under Rule 37(b)(2), the sanction must be “just” and “specifically related to the

   particular ‘claim’ which was at issue in the order to provide discovery,” and further held that the

   remedy should “correlate[] specifically to the discovery violations at issue.” The court held

   “Plaintiff’s inability to develop the record regarding the whereabouts of [Defendant’s] assets was

   caused directly by Defendant’s and the Impleaded Defendant’s discovery-related conduct.

   Because the defense has thwarted Plaintiff’s ability to determine whether the Implead Defendants

   are or were in possession of any of [Defendant’s] assets, we will impose an adverse inference that

   South Beach is the alter ego of [Defendants],” meaning the burden would be on them at trial to

   disprove the inference. The Court held this adverse inference “directly addresses the discovery

   failures of the defense.”

          c.   37(b)(2)(ii) Alternative.

          Under 37(b)(2)(ii) the Court could issue an order prohibiting Katzkin from opposing the

   claims in the Second Amended Complaint (Dkt. 104) Plaintiffs seek an order prohibiting Katzkin

   from opposing the claims in the Second Amended Complaint (Dkt. 104) Claim Three, Tortious

   Interference with Contractual Relationships and Business Relationship and specifically

   prohibiting Katzkin from denying the allegations in paragraphs 150-162, and an order

   prohibiting Katzkin from opposing the claims in the second Amended Complaint (Dkt. 104)

   Claim Four, Inducing Breach of Loyalty and Fiduciary Duties/Intentional Interference with


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   Employee/Employer Relations. and specifically prohibiting Katzkin from denying the allegations

   in paragraphs 180-193. Those claims are all centered on the ESI that Katzkin willfully withheld

   and/or in bad faith allowed their employee, co-defendant, during this litigation, to destroy. Each

   of the paragraphs is precisely the facts their order violations were intended to deprive Plaintiffs

   of proving.

          d. 37(b)(2)(i) Alternative. Alternatively, and as the least just solution, the Court could

                 order under section 37(b)(2)(i) specific designated facts be established for this action

                 as to Plaintiffs’ claims. Because of the timing of the concealed or destroyed, devices,

                 email and text messages, (January 1, 2015 to January 1, 2017) the Court could direct

                 the following facts:


          1. Between July 1, 2015 and March 18, 2016 Defendants Ross Albert and Defendant
                 Katzkin Leather, Inc. communicated with each other to develop a detailed plan for Ross
                 Albert to illegally divert CST customers and employees to Classic Design Automotive
                 to increase Katzkin leather kit sales and to aid their goal to dominate the Orlando
                 automotive leather aftermarket.
          2. Those communications discussed in detail and contained admissions that Ross Albert
                 and Ron Leslie, Dave Sheffler and Tim Clyde of Katzkin, and Joseph Schmidt of CLP,
                 specifically discussed diverting CST customers and installation orders.4 Each party to
                 the communications participated and agreed to the diversion, and CLP and Katzkin
                 agreed to compensate Albert with substantial money if he successfully completed this
                 scheme.
          3. Communications between Albert, and Katzkin and CLP agents confirm that the illegal
                 scheme successfully diverted CST customers to CDA for the benefit of Katzkin, and
                 the scheme caused Katzkin to increase its Orlando leather sales by millions of dollars
                 a year.


   4
     Defense counsel admits that during the subject time frame, Joseph Schmidt a partner at CLP
   traveled to Orlando to meet with Albert, (Dkt. 283-1, p.2 under Defendants position).
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           4. Content in the concealed emails and files that were ordered to be produced prove that
                 Katzkin misappropriated Plaintiffs trade secrets and exploited them to damages
                 Plaintiffs by millions of dollars.

   These facts are reasonably related to the violations by Katzkin of Dkt 296 and 388.

           VI.       THE COURT SHOULD AWARD ALL FEES AGAINST ALBERT AND
                     DON HOWARTH.


           Fed. R. Civ. P. 37(b)(2)(C) states, “I[n]stead of or in addition to the orders above, the court

   must order the disobedient party, the attorney advising that party, or both to pay the reasonable

   expenses, including attorney's fees, caused by the failure, unless the failure was substantially

   justified or other circumstances make an award of expenses unjust.” Plaintiffs seek an order that

   allows them to file a separate memorandum and supporting evidence for all the fees and costs

   caused by Katzkin’s willful violation of this Court’s orders. Attorney Howarth has guided each

   step of the way and should be jointly liable. Albert’s bad faith, premediated conduct cannot be

   “substantially justified.” Plaintiffs request the right to file a supplemental declaration calculating

   up the total fees related to the order violations.

                     CERTIFICATE OF GOOD FAITH PURSANT TO LOCAL RULE 3.01(g).

           The undersigned conferred with counsel for Katzkin, and they oppose the relief requested

   in this motion.

   Dated: November 2, 2020                            Respectfully submitted,



                                                      By: /s/ Douglas L. Mahaffey

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                         DECLARATION OF DOUGLAS L. MAHAFFEY

          I, Douglas L. Mahaffey, declare as follows:

          1.      I am an attorney licensed to appear before all the Courts of the United States of

   America and I have been been admitted to appear in this matter pro hac vice. I am the principal

   of Mahaffey Law Group, counsel of record for Plaintiffs Classic Soft Trim Inc. and Roadwire LLC

   in this matter. The following is based on my own personal knowledge and if called upon to testify

   I would state as follows:

          2.      On September 9, 2020 Albert willfully violated Dkt. 350 by failing to produce

   any responsive records for the critical time frame of July 2015 to January 1, 2017. Not one

   single email from Theeleatherman@gmail.com or classicdesignleather@gmail.com was

   produced and not one text messages for the critical time frame of January 1, 2015 to January 1,

   2017 was produced.



          I declare under penalty of perjury under the laws of the United States of America that the

   forgoing is true and correct and that this was executed on November 1, 2020 in Broken Arrow,

   Oklahoma.

                                        ________________________________________
                                                Douglas L. Mahaffey, Esq.




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                     EXHIBIT 1




                     EXHIBIT 1
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    From:             Peter Kim
    To:               Tomas Glaspy (tglaspy@howarth-smith.com); "Huy Dang Vu (HDV@clearlightpartners.com)"; "Jeff R. Manassero"
    Cc:               Joe James; Tim Clyde
    Subject:          Attorney Client Communication - FW: ruling on motions to compel
    Date:             Wednesday, June 17, 2020 11:34:08 AM
    Attachments:      2020-06-17 Order Granting in Part and Denying in Part Roadwire"s Motion to Compel ClearLight (Doc. No. 228)
                      and Roadwire"s Motion to Compel Katzkin (Doc. No. 230).pdf


    Tomas – As mentioned, I am going to try to get a call with our IT folks set up for 4pm today.

    Huy / Jeff / Joe – FYI – this came in today – We will need to push hard if we want to file this all by
    the 24th (meaning getting the documents to Don a couple days prior to review). Please gear up to
    begin working on the searches. Tomas will help in organizing what the magistrate’s order means
    relative to what needs to be searched and the mandated IT certification. Please remember to copy
    Tomas on any communication regarding the litigation.

    Peter


    From: Tomas Glaspy
    Sent: Wednesday, June 17, 2020 10:56 AM
    To: Tim Clyde <tim.clyde@katzkin.com>; Peter Kim <peter.kim@katzkin.com>
    Subject: ruling on motions to compel

    Tim and Peter,

    Attached you will find the order the magistrate issued today on the motions to compel against
    Katzkin and ClearLight.


    Tomas

    Tomas Glaspy
    Howarth & Smith
    523 W. 6th Street, Suite 728
    Los Angeles, CA 90014
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    Fax (213) 622-0791
    www.howarth-smith.com

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                           UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
   CLASSIC SOFT TRIM, INC.
   and ROADWIRE LLC,

                       Plaintiffs,

   v.                                                     Case No: 6:18-cv-1237-Orl-78GJK

   ROSS ALBERT, KATZKIN LEATHER,
   INC., CLEARLIGHT PARTNERS, LLC,
   and CLEARLIGHT PARTNERS
   MANAGEMENT, LLC,

                     Defendants.
   ______________________________

                                         ORDER
         This cause came on for consideration without oral argument on the following motions:

         MOTION:       PLAINTIFF ROADWIRE’S MOTION TO COMPEL
                       FURTHER RESPONSES TO PLAINTIFF’S RULE 34
                       DEMAND, AND REQUEST FOR COURT ORDERED
                       FORENSIC EXAMINATION OF CLEARLIGHT
                       PARTNERS, LLC ELECTRONIC DEVICES (Doc. No. 228)

         FILED:        March 10, 2020

         THEREON it is ORDERED that the Motion is GRANTED in part and
         DENIED in part.

         _______________________________________________________________

         MOTION:       PLAINTIFF ROADWIRE’S MOTION TO COMPEL
                       FURTHER RESPONSES TO PLAINTIFF’S RULE 34
                       DEMAND, AND REQUEST FOR COURT ORDERED
                       FORENSIC EXAMINATION OF KATZKIN LEATHER,
                       INC.’S ELECTRONIC DEVICES (Doc. No. 230)

         FILED:        MARCH 14, 2020

         ________________________________________________________________




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              THEREON it is ORDERED that the motion is GRANTED in part and
              DENIED in part.

              On March 10, 2020, Roadwire filed a Motion to Compel Further Responses to Plaintiff’s

   Rule 34 Demand, and Request for Court Ordered Forensic Examination of Clearlight Partners,

   LLC Electronic Devices (“Roadwire’s Motion to Compel Clearlight”). Doc. No. 228. On March

   24, 2020, Clearlight filed an opposition in response to Roadwire’s Motion to Compel Clearlight

   (“Clearlight’s Response to the Motion to Compel”). Doc. No. 243.

              On March 14, 2020, Roadwire filed a Motion to Compel Further Responses to Plaintiff’s

   Rule 34 Demand, and Request for Court Ordered Forensic Examination of Katzkin Leather, Inc.’s

   Electronic Devices (“Roadwire’s Motion to Compel Katzkin”). Doc. No. 230. On March 30,

   2020, Katzkin filed a response in opposition to Roadwire’s Motion to Compel Katzkin (“Katzkin’s

   Response to the Motion to Compel”). Doc. No. 250.

              On May 5, 2020, the Court issued an order deferring any ruling on these motions pending

   an additional meet and confer between the parties. Doc. No. 267. The parties were encouraged to

   employ a neutral mediator/facilitator to work through the meet and confer with them. Id. The

   parties hired attorney Carolyn K. Alvarez to assist them. Doc. No. 282. On June 4, 2020 and

   June 8, 2020, Ms. Alvarez, filed an initial report (“Initial Report”) and a supplemental report

   (“Supplemental Report”) on behalf of the parties. 1 Doc. Nos. 282 and 283. The parties have

   resolved multiple disputes as detailed in the Initial Report and the Supplemental Report but

   disputed issues remain. Doc. Nos. 282-1, 283 at 2.

              With respect to the remaining disputed requests to produce, identified in both reports, the

   Court finds as follows:




   1
       The facilitator’s full reports are incorporated herein by reference.



                                                               -2-
                                                                                              JJ000003
Case
 Case6:18-cv-01237-WWB-GJK
       6:18-cv-01237-WWB-GJKDocument
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             Request No. 25 to Clearlight Partners

             Clearlight shall disclose the operating agreement referenced in the Initial Report to

   Plaintiffs’ counsel. Doc. No. 282-2 at 1. The Operating Agreement shall be disclosed as an

   Attorneys’ Eyes Only document.

             Requests Nos. 30-32 to Clearlight Partners

             Defendants shall provide the source documents they offered to provide to Plaintiffs in lieu

   of “all documents that mention the market share held by Katzkin, CST, or Roadwire from 2007 to

   the present.” Doc. No. 282-2 at 2.

             Request No. 38 to Clearlight Partners

             Defendants shall conduct an ESI search (including Microsoft Outlook .pst files, text

   messaging, and email archival systems) and regular document search for any responsive

   documents which reference Greg Vogel from January 1, 2016 to June 1, 2016. 2 Doc. No. 282-2

   at 3-4.

             ESI Certification Request

             Defendants have agreed to provide an ESI Certification as part of this process. Doc. No.

   282 at 2-3. Both parties have submitted proposed ESI Certifications, and Ms. Alvarez has

   provided a redlined copy as well. Doc. Nos. 282-5, 282-6, 282-7. While the Court does not pass

   on the necessity of the ESI Certification, it finds that Defendants’ proposed ESI Certification is

   sufficient. Doc. No. 282-5.

             ESI Search Protocols

             In the Supplemental Report, the parties have addressed twenty-five specifically

   enumerated ESI search requests.             Doc. No. 283.         Defendants have proposed compromise


   2
     This directive includes the disputed ESI searches referenced in the Supplemental Report with respect to Mr. Vogel
   as well. Doc. No. 283.



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   searches for each of these ESI requests made by Plaintiffs, and Plaintiffs have offered responses

   to those proposals accepting some, accepting some with conditions, and objecting to others in

   whole or in part. Id. In response, Defendants have made additional concessions. Id. Having

   reviewed the parties’ positions, the Court finds that the ESI searches shall be performed as

   proposed by Defendants with the following modifications 3: 1) as to search number 6, Defendants

   shall perform the identified ESI search for emails from Michael Kaye to Peter Kim for the time

   period December 1, 2014 to July 1, 2015; and 2) as to search number 25, Defendants shall search

   for references to the employees identified by Plaintiffs in this request for a time period from six

   months before the employees’ hiring date to three months after their hiring date.

           Accordingly, it is ORDERED that Roadwire’s Motion to Compel Clearlight (Doc. No.

   228) and Roadwire’s Motion to Compel Katzkin (Doc. No. 230) are GRANTED in part and

   DENIED in part as follows:

           1.       Defendants Clearlight and Katzkin shall provide responses to discovery and

                    conduct ESI searches as set forth in this Order;

           2.       Defendants Clearlight and Katzkin shall provide responses to discovery as agreed

                    by the parties as reflected in the facilitator’s Initial Report and Supplemental Report

                    (Doc. Nos. 282 and 283); and

           3.       The Motions are otherwise DENIED.

           DONE in Orlando, Florida on June 17, 2020.




   3
     The Court intends that Defendants’ proposed searches include the concessions made by Defendants in response to
   Plaintiffs’ concerns which may not appear in the original proposed compromise search as stated. Doc. No. 283.



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   Copies furnished to:

   Counsel of Record
   Unrepresented Parties




                                        -5-
                                                                       JJ000006
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 34 of 379 PageID 16540


    From:              Joe James
    To:                Peter Kim; Tomas Glaspy (tglaspy@howarth-smith.com); "Huy Dang Vu (HDV@clearlightpartners.com)"; "Jeff R.
                       Manassero"
    Cc:                Tim Clyde
    Subject:           RE: Attorney Client Communication - FW: ruling on motions to compel
    Date:              Wednesday, June 17, 2020 11:53:00 AM


    Team,

    I am free at 4 PM today. Please send out an invite.

    Thank you,

    Joe James
    Senior Information Services Advisor
    Halcyon Financial Technology, L.P.
    Email: joe.james@halcyonft.com
    Direct: 415-960-4367

    HalcyonFT Support:
    Non-Urgent: help@halcyonft.com
    Urgent: 415-967-7276


    From: Peter Kim <peter.kim@katzkin.com>
    Sent: Wednesday, June 17, 2020 11:34 AM
    To: Tomas Glaspy (tglaspy@howarth-smith.com) <tglaspy@howarth-smith.com>; 'Huy Dang Vu
    (HDV@clearlightpartners.com)' <HDV@clearlightpartners.com>; 'Jeff R. Manassero'
    <jrm@clearlightpartners.com>
    Cc: Joe James <joe.james@halcyonft.com>; Tim Clyde <tim.clyde@katzkin.com>
    Subject: Attorney Client Communication - FW: ruling on motions to compel

    Tomas – As mentioned, I am going to try to get a call with our IT folks set up for 4pm today.

    Huy / Jeff / Joe – FYI – this came in today – We will need to push hard if we want to file this all by
    the 24th (meaning getting the documents to Don a couple days prior to review). Please gear up to
    begin working on the searches. Tomas will help in organizing what the magistrate’s order means
    relative to what needs to be searched and the mandated IT certification. Please remember to copy
    Tomas on any communication regarding the litigation.

    Peter


    From: Tomas Glaspy
    Sent: Wednesday, June 17, 2020 10:56 AM
    To: Tim Clyde <tim.clyde@katzkin.com>; Peter Kim <peter.kim@katzkin.com>
    Subject: ruling on motions to compel

    Tim and Peter,

    Attached you will find the order the magistrate issued today on the motions to compel against


                                                                                                                    JJ000007
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 35 of 379 PageID 16541


    Katzkin and ClearLight.


    Tomas

    Tomas Glaspy
    Howarth & Smith
    523 W. 6th Street, Suite 728
    Los Angeles, CA 90014
    Phone (213) 955-9400
    Fax (213) 622-0791
    www.howarth-smith.com

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                                                                                                JJ000008
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 36 of 379 PageID 16542


    From:             Huy DangVu
    To:               Peter Kim
    Cc:               Joe James; Tomas Glaspy (tglaspy@howarth-smith.com); Tim Clyde; Jeff R. Manassero
    Subject:          Re: Attorney Client Communication - FW: ruling on motions to compel
    Date:             Wednesday, June 17, 2020 12:15:25 PM


    Orlan’s separation date was February 2, 2018.

    Huy Dang Vu
    Chief Financial Officer
    100 Bayview Circle, Suite 5000
    Newport Beach, CA 92660
    Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com



           On Jun 17, 2020, at 12:00 PM, Peter Kim <peter.kim@katzkin.com> wrote:

           Tomas – I’ll add Joe to the 4pm call as well.

           Joe – I’ll add you to the invite list – it will be good to have you on in the beginning as we
           discuss timing, etc.. Later in the call it may turn to some Katzkin specific topics and you
           can drop off if that makes sense.

           Huy – do you have Orlan’s separation date as it will impact search timelines?

           Peter


           From: Joe James
           Sent: Wednesday, June 17, 2020 11:54 AM
           To: Peter Kim <peter.kim@katzkin.com>; Tomas Glaspy (tglaspy@howarth-smith.com)
           <tglaspy@howarth-smith.com>; 'Huy Dang Vu (HDV@clearlightpartners.com)'
           <HDV@clearlightpartners.com>; 'Jeff R. Manassero' <jrm@clearlightpartners.com>
           Cc: Tim Clyde <tim.clyde@katzkin.com>
           Subject: RE: Attorney Client Communication - FW: ruling on motions to compel

           Team,

           I am free at 4 PM today. Please send out an invite.

           Thank you,

           Joe James
           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367

           HalcyonFT Support:
           Non-Urgent: help@halcyonft.com



                                                                                                          JJ000009
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 37 of 379 PageID 16543


         Urgent: 415-967-7276


         From: Peter Kim <peter.kim@katzkin.com>
         Sent: Wednesday, June 17, 2020 11:34 AM
         To: Tomas Glaspy (tglaspy@howarth-smith.com) <tglaspy@howarth-smith.com>; 'Huy
         Dang Vu (HDV@clearlightpartners.com)' <HDV@clearlightpartners.com>; 'Jeff R.
         Manassero' <jrm@clearlightpartners.com>
         Cc: Joe James <joe.james@halcyonft.com>; Tim Clyde <tim.clyde@katzkin.com>
         Subject: Attorney Client Communication - FW: ruling on motions to compel

         Tomas – As mentioned, I am going to try to get a call with our IT folks set up for 4pm
         today.

         Huy / Jeff / Joe – FYI – this came in today – We will need to push hard if we want to file
         this all by the 24th(meaning getting the documents to Don a couple days prior to
         review). Please gear up to begin working on the searches. Tomas will help in
         organizing what the magistrate’s order means relative to what needs to be searched
         and the mandated IT certification. Please remember to copy Tomas on any
         communication regarding the litigation.

         Peter


         From: Tomas Glaspy
         Sent: Wednesday, June 17, 2020 10:56 AM
         To: Tim Clyde <tim.clyde@katzkin.com>; Peter Kim <peter.kim@katzkin.com>
         Subject: ruling on motions to compel

         Tim and Peter,

         Attached you will find the order the magistrate issued today on the motions to compel
         against Katzkin and ClearLight.


         Tomas

         Tomas Glaspy
         Howarth & Smith
         523 W. 6th Street, Suite 728
         Los Angeles, CA 90014
         Phone (213) 955-9400
         Fax (213) 622-0791
         www.howarth-smith.com

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         please contact sender by telephone or reply email and destroy this email and all copies
         of it. Thank you.




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Notes for Counsel

          Agenda Items

          a. Reiterate attorney client privilege reminders on communication
          b. Magistrate’s ruling
          c. Timeline
                i. Search criteria
                ii. Send on a rolling basis. Complete by Monday 22nd. End of day
                iii. Submission to court/other side by June 24th if at all possible
          d. Walk through the spreadsheet on Zoom
                i. Preliminary, still finishing it up
                ii. But will give IT team and idea of scope, and whose phones and PST’s they need to get
          e. General search protocol points
                ii. Texts – provide deleted and regular texts found – no need to document deleted or unrecoverable texts
                      1. IT needs to physically have the phone to recover deleted messages
                      2. Sign certification
                iii. Emails – when searching the text of the email
                      1. Do we need IT to physically get computers, or can they examine, then get a PST via fedex on a USB drive?
                      2. Exclude attachments
                      3. When say "search text" of email, Exclude header block (subject, to, from etc.), signature block, and attachments?
                            a. May need to do this manually later on the sig block
                      4. Sign certification
                      Need email address for to/from searches


               v. Which search # and what was searched - to Tomas




                                                                                                                               JJ000013
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        25 [to be finalized]                                                                                                                                                           Need to discuss overall request (see separate tab)




Completed Items
Req 25                                 CLP operating agreement                                  Misc                                                                                   Completed - Howarth and Smith have docs
Req 30-32                              Market Share Source Documents                                                                                                                   Completed - Howarth and Smith have docs


Note:       * Text message searches include: text message applicatinos, chat applications, other text related applications
           the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.
           See separate tab with cell phone numbers to aid in search
           ** Search text of email (ignore header, sig block, attachments)




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Notes for Counsel

Cell Phone Numbers (to be confirmed) for search protocols
 * Text message searches include: text message applicatinos, chat applications, other text related applications
the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.


           ClearLight Phone Numbers
           Michael Kaye      (949) 338-8001
           Joe Schmidt       (714) 322-1798
           Orlan Davies      (551) 427-4911
           John Mcalpine     (714) 381-8219
           Jeff Manassero (714) 801-0186
           Elysha Thomas     (562) 234-9215
           Rachel Keal       (949) 378-3043
           Huy Dang Vu       (714) 717-3466




           Other Phone numbers
           John Held




                                                                                                                                                                                        JJ000016
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    I declare under penalty of perjury that the foregoing is true and correct and this certification
    was executed on __________________________, 2020 at ________________________


                  __________________________
                  IT Professional




                                                                                          JJ000020
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 48 of 379 PageID 16554


    From:           Huy DangVu
    To:             Michael S. Kaye; Joseph J. Schmidt; Jeff R. Manassero
    Cc:             Joe James; Tomas Glaspy (tglaspy@howarth-smith.com)
    Subject:        Katzkin litigation - Cell Phone Searches
    Date:           Thursday, June 18, 2020 7:33:57 AM
    Attachments:    Search Protocol 617.xlsx
                    Certification.pdf


    Michael, Joe, Jeff -

    With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to perform
    searches on cell phone text messages for certain search terms and for text messages to and
    from certain individuals which contain certain terms.

    We need to provide the files by next Weds, June 24th but we want to get the files to Don
    Howarth ASAP for his review. Joe James will be helping us with the searches and will reach
    out to each of you to coordinate.


    Huy Dang Vu
    Chief Financial Officer
    100 Bayview Circle, Suite 5000
    Newport Beach, CA 92660
    Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com



          Begin forwarded message:

          From: Tomas Glaspy <TGlaspy@howarth-smith.com>
          Subject: Searches
          Date: June 17, 2020 at 9:24:51 PM PDT
          To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
          <bijeoma@allsafeit.com>, Roger Rosas <rrosas@allsafeit.com>
          Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim Clyde
          <tim.clyde@katzkin.com>, Peter Kim <peter.kim@katzkin.com>, 'Huy DangVu'
          <hdv@clearlightpartners.com>

          Joe, Roger, and Bones,

          I am attaching a few documents here pursuant to our conference this afternoon.

          First, you will find a spreadsheet that Peter and I prepared that spells out the specific
          searches to run. Note that the highlighted entries are searches that you do not need to
          run and can ignore for now.

          I am also attaching the certification that the court approved that you will need to sign
          once the searches are completed. I think you previously saw this when we were
          discussing the issue with the facilitator. Now that we know what searches we are going
          to run, we will fill in the certification to reflect everything that was searched for, but


                                                                                                 JJ000021
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Notes for Counsel

          Agenda Items

          a. Reiterate attorney client privilege reminders on communication
          b. Magistrate’s ruling
          c. Timeline
                i. Search criteria
                ii. Send on a rolling basis. Complete by Monday 22nd. End of day
                iii. Submission to court/other side by June 24th if at all possible
          d. Walk through the spreadsheet on Zoom
                i. Preliminary, still finishing it up
                ii. But will give IT team and idea of scope, and whose phones and PST’s they need to get
          e. General search protocol points
                ii. Texts – provide deleted and regular texts found – no need to document deleted or unrecoverable texts
                      1. IT needs to physically have the phone to recover deleted messages
                      2. Sign certification
                iii. Emails – when searching the text of the email
                      1. Do we need IT to physically get computers, or can they examine, then get a PST via fedex on a USB drive?
                      2. Exclude attachments
                      3. When say "search text" of email, Exclude header block (subject, to, from etc.), signature block, and attachments?
                            a. May need to do this manually later on the sig block
                      4. Sign certification
                      Need email address for to/from searches


               v. Which search # and what was searched - to Tomas




                                                                                                                               JJ000023
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                               Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 52 of 379 PageID 16558


        25 [to be finalized]                                                                                                                                                           Need to discuss overall request (see separate tab)




Completed Items
Req 25                                 CLP operating agreement                                  Misc                                                                                   Completed - Howarth and Smith have docs
Req 30-32                              Market Share Source Documents                                                                                                                   Completed - Howarth and Smith have docs


Note:       * Text message searches include: text message applicatinos, chat applications, other text related applications
           the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.
           See separate tab with cell phone numbers to aid in search
           ** Search text of email (ignore header, sig block, attachments)




                                                                                                                                                                                                                        JJ000025
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 53 of 379 PageID 16559


Notes for Counsel

Cell Phone Numbers (to be confirmed) for search protocols
 * Text message searches include: text message applicatinos, chat applications, other text related applications
the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.


           ClearLight Phone Numbers
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           Joe Schmidt       (714) 322-1798
           Orlan Davies      (551) 427-4911
           John Mcalpine     (714) 381-8219
           Jeff Manassero (714) 801-0186
           Elysha Thomas     (562) 234-9215
           Rachel Keal       (949) 378-3043
           Huy Dang Vu       (714) 717-3466




           Other Phone numbers
           John Held




                                                                                                                                                                                        JJ000026
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Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 56 of 379 PageID 16562
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                             Document397
                                      282-5Filed 11/02/20
                                              Filed 06/04/20Page 57 3ofof379
                                                              Page           PageID12449
                                                                          3 PageID  16563




    I declare under penalty of perjury that the foregoing is true and correct and this certification
    was executed on __________________________, 2020 at ________________________


                  __________________________
                  IT Professional




                                                                                          JJ000030
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 58 of 379 PageID 16564


    From:              Joe James
    To:                Huy DangVu; Michael S. Kaye; Joseph J. Schmidt; Jeff R. Manassero
    Cc:                Tomas Glaspy (tglaspy@howarth-smith.com)
    Subject:           RE: Katzkin litigation - Cell Phone Searches
    Date:              Thursday, June 18, 2020 10:00:00 AM


    Michael, Joe, Jeff -

    Would it be possible for you gentleman to meet me at the ClearLight office on Tuesday? I will need
    about 30 minutes per device. Please let me know if that day works for everyone and what time
    would be best.

    Thank you,

    Joe James
    Senior Information Services Advisor
    Halcyon Financial Technology, L.P.
    Email: joe.james@halcyonft.com
    Direct: 415-960-4367

    HalcyonFT Support:
    Non-Urgent: help@halcyonft.com
    Urgent: 415-967-7276


    From: Huy DangVu <hdv@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 7:34 AM
    To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-smith.com)
    <TGlaspy@howarth-smith.com>
    Subject: Katzkin litigation - Cell Phone Searches

    Michael, Joe, Jeff -

    With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to perform
    searches on cell phone text messages for certain search terms and for text messages to and from
    certain individuals which contain certain terms.

    We need to provide the files by next Weds, June 24th but we want to get the files to Don Howarth
    ASAP for his review. Joe James will be helping us with the searches and will reach out to each of you
    to coordinate.


    Huy Dang Vu
    Chief Financial Officer
    100 Bayview Circle, Suite 5000
    Newport Beach, CA 92660
    Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com



                                                                                               JJ000031
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         Los Angeles, CA 90014
         Phone (213) 955-9400
         Fax (213) 622-0791
         www.howarth-smith.com

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                                                                                             JJ000033
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    From:             Huy DangVu
    To:               Joe James; Tomas Glaspy (tglaspy@howarth-smith.com)
    Cc:               Michael S. Kaye; Joseph J. Schmidt; Jeff R. Manassero
    Subject:          Re: Katzkin litigation - Cell Phone Searches
    Date:             Thursday, June 18, 2020 10:04:09 AM


    Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday and
    Don and Tomas need time to review.

    Tomas - what are your thoughts?

    Sent from my iPhone


           On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com> wrote:



           Michael, Joe, Jeff -

           Would it be possible for you gentleman to meet me at the ClearLight office on
           Tuesday? I will need about 30 minutes per device. Please let me know if that day works
           for everyone and what time would be best.

           Thank you,

           Joe James
           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367

           HalcyonFT Support:
           Non-Urgent: help@halcyonft.com
           Urgent: 415-967-7276


           From: Huy DangVu <hdv@clearlightpartners.com>
           Sent: Thursday, June 18, 2020 7:34 AM
           To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
           <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
           Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-
           smith.com) <TGlaspy@howarth-smith.com>
           Subject: Katzkin litigation - Cell Phone Searches

           Michael, Joe, Jeff -

           With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to
           perform searches on cell phone text messages for certain search terms and for text
           messages to and from certain individuals which contain certain terms.

           We need to provide the files by next Weds, June 24th but we want to get the files to

                                                                                               JJ000034
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 62 of 379 PageID 16568
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 63 of 379 PageID 16569
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 64 of 379 PageID 16570


    From:              Jeff R. Manassero
    To:                Joe James
    Subject:           RE: Katzkin litigation - Cell Phone Searches
    Date:              Thursday, June 18, 2020 10:30:53 AM


    That works for me. What time?


    From: Joe James <joe.james@halcyonft.com>
    Sent: Thursday, June 18, 2020 10:01 AM
    To: Huy DangVu <hdv@clearlightpartners.com>; Michael S. Kaye <msk@clearlightpartners.com>;
    Joseph J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
    Cc: Tomas Glaspy (tglaspy@howarth-smith.com) <TGlaspy@howarth-smith.com>
    Subject: RE: Katzkin litigation - Cell Phone Searches

    Michael, Joe, Jeff -

    Would it be possible for you gentleman to meet me at the ClearLight office on Tuesday? I will need
    about 30 minutes per device. Please let me know if that day works for everyone and what time
    would be best.

    Thank you,

    Joe James
    Senior Information Services Advisor
    Halcyon Financial Technology, L.P.
    Email: joe.james@halcyonft.com
    Direct: 415-960-4367

    HalcyonFT Support:
    Non-Urgent: help@halcyonft.com
    Urgent: 415-967-7276


    From: Huy DangVu <hdv@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 7:34 AM
    To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-smith.com)
    <TGlaspy@howarth-smith.com>
    Subject: Katzkin litigation - Cell Phone Searches

    Michael, Joe, Jeff -

    With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to perform
    searches on cell phone text messages for certain search terms and for text messages to and from
    certain individuals which contain certain terms.

    We need to provide the files by next Weds, June 24th but we want to get the files to Don Howarth
    ASAP for his review. Joe James will be helping us with the searches and will reach out to each of you
    to coordinate.

                                                                                               JJ000037
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 65 of 379 PageID 16571
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 66 of 379 PageID 16572



         Best,
         Tomas


         Tomas Glaspy
         Howarth & Smith
         523 W. 6th Street, Suite 728
         Los Angeles, CA 90014
         Phone (213) 955-9400
         Fax (213) 622-0791
         www.howarth-smith.com

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         of it. Thank you.




                                                                                             JJ000039
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 67 of 379 PageID 16573


    From:             Jeff R. Manassero
    To:               Huy DangVu; Joe James; Tomas Glaspy (tglaspy@howarth-smith.com)
    Cc:               Michael S. Kaye; Joseph J. Schmidt
    Subject:          RE: Katzkin litigation - Cell Phone Searches
    Date:             Thursday, June 18, 2020 10:31:29 AM


    I could do today or tomorrow


    From: Huy DangVu <hdv@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 10:04 AM
    To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-smith.com)
    <tglaspy@howarth-smith.com>
    Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches

    Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday and Don and
    Tomas need time to review.

    Tomas - what are your thoughts?

    Sent from my iPhone



           On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com> wrote:


           Michael, Joe, Jeff -

           Would it be possible for you gentleman to meet me at the ClearLight office on
           Tuesday? I will need about 30 minutes per device. Please let me know if that day works
           for everyone and what time would be best.

           Thank you,

           Joe James
           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367

           HalcyonFT Support:
           Non-Urgent: help@halcyonft.com
           Urgent: 415-967-7276


           From: Huy DangVu <hdv@clearlightpartners.com>
           Sent: Thursday, June 18, 2020 7:34 AM
           To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
           <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>


                                                                                              JJ000040
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 68 of 379 PageID 16574


         Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-
         smith.com) <TGlaspy@howarth-smith.com>
         Subject: Katzkin litigation - Cell Phone Searches

         Michael, Joe, Jeff -

         With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to
         perform searches on cell phone text messages for certain search terms and for text
         messages to and from certain individuals which contain certain terms.

         We need to provide the files by next Weds, June 24th but we want to get the files to
         Don Howarth ASAP for his review. Joe James will be helping us with the searches and
         will reach out to each of you to coordinate.


         Huy Dang Vu
         Chief Financial Officer
         100 Bayview Circle, Suite 5000
         Newport Beach, CA 92660
         Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                Begin forwarded message:

                From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                Subject: Searches
                Date: June 17, 2020 at 9:24:51 PM PDT
                To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                <bijeoma@allsafeit.com>, Roger Rosas <rrosas@allsafeit.com>
                Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim Clyde
                <tim.clyde@katzkin.com>, Peter Kim <peter.kim@katzkin.com>, 'Huy
                DangVu' <hdv@clearlightpartners.com>

                Joe, Roger, and Bones,

                I am attaching a few documents here pursuant to our conference this
                afternoon.

                First, you will find a spreadsheet that Peter and I prepared that spells out
                the specific searches to run. Note that the highlighted entries are
                searches that you do not need to run and can ignore for now.

                I am also attaching the certification that the court approved that you will


                                                                                               JJ000041
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 69 of 379 PageID 16575
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 70 of 379 PageID 16576


    From:             Michael S. Kaye
    To:               Huy DangVu; Joe James; Tomas Glaspy (tglaspy@howarth-smith.com)
    Cc:               Joseph J. Schmidt; Jeff R. Manassero
    Subject:          RE: Katzkin litigation - Cell Phone Searches
    Date:             Thursday, June 18, 2020 10:32:43 AM


    Huy/Joe why don’t you sort this thru and let us know, thanks.

    Michael S. Kaye
    Managing Partner
    ClearLight Partners
    100 Bayview Circle - Suite #5000
    Newport Beach, CA 92660
    (949) 725-6628 - phone
    (949) 725-6611 - fax
    msk@clearlightpartners.com


    From: Huy DangVu <hdv@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 10:04 AM
    To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-smith.com)
    <tglaspy@howarth-smith.com>
    Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches

    Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday and Don and
    Tomas need time to review.

    Tomas - what are your thoughts?

    Sent from my iPhone



           On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com> wrote:


           Michael, Joe, Jeff -

           Would it be possible for you gentleman to meet me at the ClearLight office on
           Tuesday? I will need about 30 minutes per device. Please let me know if that day works
           for everyone and what time would be best.

           Thank you,

           Joe James
           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367



                                                                                              JJ000043
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 71 of 379 PageID 16577


         HalcyonFT Support:
         Non-Urgent: help@halcyonft.com
         Urgent: 415-967-7276


         From: Huy DangVu <hdv@clearlightpartners.com>
         Sent: Thursday, June 18, 2020 7:34 AM
         To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-
         smith.com) <TGlaspy@howarth-smith.com>
         Subject: Katzkin litigation - Cell Phone Searches

         Michael, Joe, Jeff -

         With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to
         perform searches on cell phone text messages for certain search terms and for text
         messages to and from certain individuals which contain certain terms.

         We need to provide the files by next Weds, June 24th but we want to get the files to
         Don Howarth ASAP for his review. Joe James will be helping us with the searches and
         will reach out to each of you to coordinate.


         Huy Dang Vu
         Chief Financial Officer
         100 Bayview Circle, Suite 5000
         Newport Beach, CA 92660
         Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                Begin forwarded message:

                From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                Subject: Searches
                Date: June 17, 2020 at 9:24:51 PM PDT
                To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                <bijeoma@allsafeit.com>, Roger Rosas <rrosas@allsafeit.com>
                Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim Clyde
                <tim.clyde@katzkin.com>, Peter Kim <peter.kim@katzkin.com>, 'Huy
                DangVu' <hdv@clearlightpartners.com>

                Joe, Roger, and Bones,

                I am attaching a few documents here pursuant to our conference this


                                                                                             JJ000044
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 72 of 379 PageID 16578
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 73 of 379 PageID 16579


    From:            Tomas Glaspy
    To:              Huy DangVu; Joe James
    Cc:              Michael S. Kaye; Joseph J. Schmidt; Jeff R. Manassero
    Subject:         RE: Katzkin litigation - Cell Phone Searches
    Date:            Thursday, June 18, 2020 10:50:57 AM


    Huy,

    The issue here is that plaintiffs have moved to extend the discovery period, which is set to expire on
    June 24. To the extent we can get these searches run and documents produced by the 24th, we
    want to do that, but the primary concern is that we want these searches done fully and correctly so
    we do not leave plaintiffs any opening to claim that we have been deficient or incomplete in
    responding to discovery. So bottom line, having everything done right is more important than
    having everything produced by the 24th.

    With that said, if Joe is able to get a start on some phones on Friday or Monday, that would certainly
    be preferable, but if there is some reason that this needs to be done on Tuesday, then we can live
    with that if that is what it takes to get this done right.

    Best,
    Tomas

    Tomas Glaspy
    Howarth & Smith
    523 W. 6th Street, Suite 728
    Los Angeles, CA 90014
    Phone (213) 955-9400
    Fax (213) 622-0791
    www.howarth-smith.com

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    telephone or reply email and destroy this email and all copies of it. Thank you.


    From: Huy DangVu <hdv@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 10:04 AM
    To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-smith.com>
    Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches

    [Warning: EXTERNAL SENDER.]
    Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday and Don and
    Tomas need time to review.

    Tomas - what are your thoughts?


                                                                                                JJ000046
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 74 of 379 PageID 16580



    Sent from my iPhone



         On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com> wrote:


         Michael, Joe, Jeff -

         Would it be possible for you gentleman to meet me at the ClearLight office on
         Tuesday? I will need about 30 minutes per device. Please let me know if that day works
         for everyone and what time would be best.

         Thank you,

         Joe James
         Senior Information Services Advisor
         Halcyon Financial Technology, L.P.
         Email: joe.james@halcyonft.com
         Direct: 415-960-4367

         HalcyonFT Support:
         Non-Urgent: help@halcyonft.com
         Urgent: 415-967-7276


         From: Huy DangVu <hdv@clearlightpartners.com>
         Sent: Thursday, June 18, 2020 7:34 AM
         To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-
         smith.com) <TGlaspy@howarth-smith.com>
         Subject: Katzkin litigation - Cell Phone Searches

         Michael, Joe, Jeff -

         With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to
         perform searches on cell phone text messages for certain search terms and for text
         messages to and from certain individuals which contain certain terms.

         We need to provide the files by next Weds, June 24th but we want to get the files to
         Don Howarth ASAP for his review. Joe James will be helping us with the searches and
         will reach out to each of you to coordinate.


         Huy Dang Vu
         Chief Financial Officer
         100 Bayview Circle, Suite 5000
         Newport Beach, CA 92660
         Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com

                                                                                             JJ000047
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 75 of 379 PageID 16581
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 76 of 379 PageID 16582


              Tomas


              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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                                                                                            JJ000049
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 77 of 379 PageID 16583


    From:             Michael S. Kaye
    To:               Tomas Glaspy; Huy DangVu; Joe James
    Cc:               Joseph J. Schmidt; Jeff R. Manassero
    Subject:          RE: Katzkin litigation - Cell Phone Searches
    Date:             Thursday, June 18, 2020 11:03:04 AM


    I can be in the office tomorrow Friday if that works. Jeff is saying he can so does that leave Joe S and
    Huy?

    Michael S. Kaye
    Managing Partner
    ClearLight Partners
    100 Bayview Circle - Suite #5000
    Newport Beach, CA 92660
    (949) 725-6628 - phone
    (949) 725-6611 - fax
    msk@clearlightpartners.com


    From: Tomas Glaspy <TGlaspy@howarth-smith.com>
    Sent: Thursday, June 18, 2020 10:51 AM
    To: Huy DangVu <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>
    Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: RE: Katzkin litigation - Cell Phone Searches

    Huy,

    The issue here is that plaintiffs have moved to extend the discovery period, which is set to expire on
    June 24. To the extent we can get these searches run and documents produced by the 24th, we
    want to do that, but the primary concern is that we want these searches done fully and correctly so
    we do not leave plaintiffs any opening to claim that we have been deficient or incomplete in
    responding to discovery. So bottom line, having everything done right is more important than
    having everything produced by the 24th.

    With that said, if Joe is able to get a start on some phones on Friday or Monday, that would certainly
    be preferable, but if there is some reason that this needs to be done on Tuesday, then we can live
    with that if that is what it takes to get this done right.

    Best,
    Tomas

    Tomas Glaspy
    Howarth & Smith
    523 W. 6th Street, Suite 728
    Los Angeles, CA 90014
    Phone (213) 955-9400
    Fax (213) 622-0791
    www.howarth-smith.com

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Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 78 of 379 PageID 16584



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    From: Huy DangVu <hdv@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 10:04 AM
    To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-smith.com>
    Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>;
    Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches

    [Warning: EXTERNAL SENDER.]
    Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday and Don and
    Tomas need time to review.

    Tomas - what are your thoughts?

    Sent from my iPhone


          On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com> wrote:


          Michael, Joe, Jeff -

          Would it be possible for you gentleman to meet me at the ClearLight office on
          Tuesday? I will need about 30 minutes per device. Please let me know if that day works
          for everyone and what time would be best.

          Thank you,

          Joe James
          Senior Information Services Advisor
          Halcyon Financial Technology, L.P.
          Email: joe.james@halcyonft.com
          Direct: 415-960-4367

          HalcyonFT Support:
          Non-Urgent: help@halcyonft.com
          Urgent: 415-967-7276


          From: Huy DangVu <hdv@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 7:34 AM
          To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
          <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
          Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy (tglaspy@howarth-
          smith.com) <TGlaspy@howarth-smith.com>



                                                                                                JJ000051
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 79 of 379 PageID 16585


         Subject: Katzkin litigation - Cell Phone Searches

         Michael, Joe, Jeff -

         With respect to the Katzkin - Roadwire litigation, we’ve been ordered by the Court to
         perform searches on cell phone text messages for certain search terms and for text
         messages to and from certain individuals which contain certain terms.

         We need to provide the files by next Weds, June 24th but we want to get the files to
         Don Howarth ASAP for his review. Joe James will be helping us with the searches and
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         Huy Dang Vu
         Chief Financial Officer
         100 Bayview Circle, Suite 5000
         Newport Beach, CA 92660
         Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                Begin forwarded message:

                From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                Subject: Searches
                Date: June 17, 2020 at 9:24:51 PM PDT
                To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                <bijeoma@allsafeit.com>, Roger Rosas <rrosas@allsafeit.com>
                Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim Clyde
                <tim.clyde@katzkin.com>, Peter Kim <peter.kim@katzkin.com>, 'Huy
                DangVu' <hdv@clearlightpartners.com>

                Joe, Roger, and Bones,

                I am attaching a few documents here pursuant to our conference this
                afternoon.

                First, you will find a spreadsheet that Peter and I prepared that spells out
                the specific searches to run. Note that the highlighted entries are
                searches that you do not need to run and can ignore for now.

                I am also attaching the certification that the court approved that you will
                need to sign once the searches are completed. I think you previously saw
                this when we were discussing the issue with the facilitator. Now that we



                                                                                               JJ000052
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 80 of 379 PageID 16586
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 81 of 379 PageID 16587


    From:             Joseph J. Schmidt
    To:               Michael S. Kaye
    Cc:               Tomas Glaspy; Huy DangVu; Joe James; Jeff R. Manassero
    Subject:          Re: Katzkin litigation - Cell Phone Searches
    Date:             Thursday, June 18, 2020 11:09:29 AM


    I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next week if
    needed

    Joe


           On Jun 18, 2020, at 11:02 AM, Michael S. Kaye <msk@clearlightpartners.com>
           wrote:



           I can be in the office tomorrow Friday if that works. Jeff is saying he can so does that
           leave Joe S and Huy?

           Michael S. Kaye
           Managing Partner
           ClearLight Partners
           100 Bayview Circle - Suite #5000
           Newport Beach, CA 92660
           (949) 725-6628 - phone
           (949) 725-6611 - fax
           msk@clearlightpartners.com


           From: Tomas Glaspy <TGlaspy@howarth-smith.com>
           Sent: Thursday, June 18, 2020 10:51 AM
           To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
           <joe.james@halcyonft.com>
           Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
           <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
           Subject: RE: Katzkin litigation - Cell Phone Searches

           Huy,

           The issue here is that plaintiffs have moved to extend the discovery period, which is set
           to expire on June 24. To the extent we can get these searches run and documents
           produced by the 24th, we want to do that, but the primary concern is that we want
           these searches done fully and correctly so we do not leave plaintiffs any opening to
           claim that we have been deficient or incomplete in responding to discovery. So bottom
           line, having everything done right is more important than having everything produced
           by the 24th.

           With that said, if Joe is able to get a start on some phones on Friday or Monday, that
           would certainly be preferable, but if there is some reason that this needs to be done on


                                                                                                  JJ000054
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 82 of 379 PageID 16588


         Tuesday, then we can live with that if that is what it takes to get this done right.

         Best,
         Tomas

         Tomas Glaspy
         Howarth & Smith
         523 W. 6th Street, Suite 728
         Los Angeles, CA 90014
         Phone (213) 955-9400
         Fax (213) 622-0791
         www.howarth-smith.com

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         of it. Thank you.


         From: Huy DangVu <hdv@clearlightpartners.com>
         Sent: Thursday, June 18, 2020 10:04 AM
         To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-
         smith.com>
         Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Subject: Re: Katzkin litigation - Cell Phone Searches

         [Warning: EXTERNAL SENDER.]
         Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday
         and Don and Tomas need time to review.

         Tomas - what are your thoughts?

         Sent from my iPhone


                 On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com>
                 wrote:


                 Michael, Joe, Jeff -

                 Would it be possible for you gentleman to meet me at the ClearLight
                 office on Tuesday? I will need about 30 minutes per device. Please let me
                 know if that day works for everyone and what time would be best.

                 Thank you,

                                                                                                JJ000055
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 83 of 379 PageID 16589



              Joe James
              Senior Information Services Advisor
              Halcyon Financial Technology, L.P.
              Email: joe.james@halcyonft.com
              Direct: 415-960-4367

              HalcyonFT Support:
              Non-Urgent: help@halcyonft.com
              Urgent: 415-967-7276


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 7:34 AM
              To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              (tglaspy@howarth-smith.com) <TGlaspy@howarth-smith.com>
              Subject: Katzkin litigation - Cell Phone Searches

              Michael, Joe, Jeff -

              With respect to the Katzkin - Roadwire litigation, we’ve been ordered by
              the Court to perform searches on cell phone text messages for certain
              search terms and for text messages to and from certain individuals which
              contain certain terms.

              We need to provide the files by next Weds, June 24th but we want to get
              the files to Don Howarth ASAP for his review. Joe James will be helping us
              with the searches and will reach out to each of you to coordinate.


              Huy Dang Vu
              Chief Financial Officer
              100 Bayview Circle, Suite 5000
              Newport Beach, CA 92660
              Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                     Begin forwarded message:

                     From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                     Subject: Searches
                     Date: June 17, 2020 at 9:24:51 PM PDT
                     To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                     <bijeoma@allsafeit.com>, Roger Rosas


                                                                                           JJ000056
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 84 of 379 PageID 16590
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 85 of 379 PageID 16591


                   Los Angeles, CA 90014
                   Phone (213) 955-9400
                   Fax (213) 622-0791
                   www.howarth-smith.com

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                                                                                  JJ000058
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 86 of 379 PageID 16592


    From:              Joe James
    To:                Joseph J. Schmidt; Michael S. Kaye
    Cc:                Tomas Glaspy; Huy DangVu; Jeff R. Manassero
    Subject:           RE: Katzkin litigation - Cell Phone Searches
    Date:              Thursday, June 18, 2020 3:15:00 PM


    Michael, Joe, Jeff –

    Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

    Would 1- 3 PM work for everyone? Each search should take about 30 minutes per device.

    Thank you,

    Joe James
    Senior Information Services Advisor
    Halcyon Financial Technology, L.P.
    Email: joe.james@halcyonft.com
    Direct: 415-960-4367

    HalcyonFT Support:
    Non-Urgent: help@halcyonft.com
    Urgent: 415-967-7276


    From: Joseph J. Schmidt <jjs@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 11:09 AM
    To: Michael S. Kaye <msk@clearlightpartners.com>
    Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Joe
    James <joe.james@halcyonft.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches

    I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next week if needed

    Joe



           On Jun 18, 2020, at 11:02 AM, Michael S. Kaye <msk@clearlightpartners.com> wrote:


           I can be in the office tomorrow Friday if that works. Jeff is saying he can so does that
           leave Joe S and Huy?

           Michael S. Kaye
           Managing Partner
           ClearLight Partners
           100 Bayview Circle - Suite #5000
           Newport Beach, CA 92660
           (949) 725-6628 - phone
           (949) 725-6611 - fax
           msk@clearlightpartners.com



                                                                                                  JJ000059
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 87 of 379 PageID 16593


         From: Tomas Glaspy <TGlaspy@howarth-smith.com>
         Sent: Thursday, June 18, 2020 10:51 AM
         To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
         <joe.james@halcyonft.com>
         Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Subject: RE: Katzkin litigation - Cell Phone Searches

         Huy,

         The issue here is that plaintiffs have moved to extend the discovery period, which is set
         to expire on June 24. To the extent we can get these searches run and documents
         produced by the 24th, we want to do that, but the primary concern is that we want
         these searches done fully and correctly so we do not leave plaintiffs any opening to
         claim that we have been deficient or incomplete in responding to discovery. So bottom
         line, having everything done right is more important than having everything produced
         by the 24th.

         With that said, if Joe is able to get a start on some phones on Friday or Monday, that
         would certainly be preferable, but if there is some reason that this needs to be done on
         Tuesday, then we can live with that if that is what it takes to get this done right.

         Best,
         Tomas

         Tomas Glaspy
         Howarth & Smith
         523 W. 6th Street, Suite 728
         Los Angeles, CA 90014
         Phone (213) 955-9400
         Fax (213) 622-0791
         www.howarth-smith.com

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         From: Huy DangVu <hdv@clearlightpartners.com>
         Sent: Thursday, June 18, 2020 10:04 AM
         To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-
         smith.com>
         Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Subject: Re: Katzkin litigation - Cell Phone Searches


                                                                                              JJ000060
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 88 of 379 PageID 16594



         [Warning: EXTERNAL SENDER.]
         Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday
         and Don and Tomas need time to review.

         Tomas - what are your thoughts?

         Sent from my iPhone


               On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com>
               wrote:


               Michael, Joe, Jeff -

               Would it be possible for you gentleman to meet me at the ClearLight
               office on Tuesday? I will need about 30 minutes per device. Please let me
               know if that day works for everyone and what time would be best.

               Thank you,

               Joe James
               Senior Information Services Advisor
               Halcyon Financial Technology, L.P.
               Email: joe.james@halcyonft.com
               Direct: 415-960-4367

               HalcyonFT Support:
               Non-Urgent: help@halcyonft.com
               Urgent: 415-967-7276


               From: Huy DangVu <hdv@clearlightpartners.com>
               Sent: Thursday, June 18, 2020 7:34 AM
               To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
               <jjs@clearlightpartners.com>; Jeff R. Manassero
               <jrm@clearlightpartners.com>
               Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
               (tglaspy@howarth-smith.com) <TGlaspy@howarth-smith.com>
               Subject: Katzkin litigation - Cell Phone Searches

               Michael, Joe, Jeff -

               With respect to the Katzkin - Roadwire litigation, we’ve been ordered by
               the Court to perform searches on cell phone text messages for certain
               search terms and for text messages to and from certain individuals which
               contain certain terms.

               We need to provide the files by next Weds, June 24th but we want to get


                                                                                              JJ000061
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 89 of 379 PageID 16595


              the files to Don Howarth ASAP for his review. Joe James will be helping us
              with the searches and will reach out to each of you to coordinate.


              Huy Dang Vu
              Chief Financial Officer
              100 Bayview Circle, Suite 5000
              Newport Beach, CA 92660
              Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                    Begin forwarded message:

                    From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                    Subject: Searches
                    Date: June 17, 2020 at 9:24:51 PM PDT
                    To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                    <bijeoma@allsafeit.com>, Roger Rosas
                    <rrosas@allsafeit.com>
                    Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim
                    Clyde <tim.clyde@katzkin.com>, Peter Kim
                    <peter.kim@katzkin.com>, 'Huy DangVu'
                    <hdv@clearlightpartners.com>

                    Joe, Roger, and Bones,

                    I am attaching a few documents here pursuant to our
                    conference this afternoon.

                    First, you will find a spreadsheet that Peter and I prepared
                    that spells out the specific searches to run. Note that the
                    highlighted entries are searches that you do not need to run
                    and can ignore for now.

                    I am also attaching the certification that the court approved
                    that you will need to sign once the searches are completed.
                    I think you previously saw this when we were discussing the
                    issue with the facilitator. Now that we know what searches
                    we are going to run, we will fill in the certification to reflect
                    everything that was searched for, but this will give you an
                    idea as to what you will ultimately be certifying.




                                                                                           JJ000062
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 90 of 379 PageID 16596
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 91 of 379 PageID 16597


    From:              Jeff R. Manassero
    To:                Joe James; Joseph J. Schmidt; Michael S. Kaye
    Cc:                Tomas Glaspy; Huy DangVu
    Subject:           RE: Katzkin litigation - Cell Phone Searches
    Date:              Thursday, June 18, 2020 3:17:19 PM


    That works for me


    From: Joe James <joe.james@halcyonft.com>
    Sent: Thursday, June 18, 2020 3:15 PM
    To: Joseph J. Schmidt <jjs@clearlightpartners.com>; Michael S. Kaye <msk@clearlightpartners.com>
    Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Jeff
    R. Manassero <jrm@clearlightpartners.com>
    Subject: RE: Katzkin litigation - Cell Phone Searches

    Michael, Joe, Jeff –

    Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

    Would 1- 3 PM work for everyone? Each search should take about 30 minutes per device.

    Thank you,

    Joe James
    Senior Information Services Advisor
    Halcyon Financial Technology, L.P.
    Email: joe.james@halcyonft.com
    Direct: 415-960-4367

    HalcyonFT Support:
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    Urgent: 415-967-7276


    From: Joseph J. Schmidt <jjs@clearlightpartners.com>
    Sent: Thursday, June 18, 2020 11:09 AM
    To: Michael S. Kaye <msk@clearlightpartners.com>
    Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Joe
    James <joe.james@halcyonft.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches

    I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next week if needed

    Joe


           On Jun 18, 2020, at 11:02 AM, Michael S. Kaye <msk@clearlightpartners.com> wrote:


           I can be in the office tomorrow Friday if that works. Jeff is saying he can so does that


                                                                                                  JJ000064
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 92 of 379 PageID 16598


         leave Joe S and Huy?

         Michael S. Kaye
         Managing Partner
         ClearLight Partners
         100 Bayview Circle - Suite #5000
         Newport Beach, CA 92660
         (949) 725-6628 - phone
         (949) 725-6611 - fax
         msk@clearlightpartners.com


         From: Tomas Glaspy <TGlaspy@howarth-smith.com>
         Sent: Thursday, June 18, 2020 10:51 AM
         To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
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         Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Subject: RE: Katzkin litigation - Cell Phone Searches

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         Tomas

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         Howarth & Smith
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         Los Angeles, CA 90014
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         Fax (213) 622-0791
         www.howarth-smith.com

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                                                                                              JJ000065
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 93 of 379 PageID 16599


         of it. Thank you.


         From: Huy DangVu <hdv@clearlightpartners.com>
         Sent: Thursday, June 18, 2020 10:04 AM
         To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-
         smith.com>
         Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
         <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
         Subject: Re: Katzkin litigation - Cell Phone Searches

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               Email: joe.james@halcyonft.com
               Direct: 415-960-4367

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               Non-Urgent: help@halcyonft.com
               Urgent: 415-967-7276


               From: Huy DangVu <hdv@clearlightpartners.com>
               Sent: Thursday, June 18, 2020 7:34 AM
               To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
               <jjs@clearlightpartners.com>; Jeff R. Manassero
               <jrm@clearlightpartners.com>
               Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
               (tglaspy@howarth-smith.com) <TGlaspy@howarth-smith.com>



                                                                                              JJ000066
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 94 of 379 PageID 16600


              Subject: Katzkin litigation - Cell Phone Searches

              Michael, Joe, Jeff -

              With respect to the Katzkin - Roadwire litigation, we’ve been ordered by
              the Court to perform searches on cell phone text messages for certain
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              Chief Financial Officer
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              Newport Beach, CA 92660
              Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




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                     Date: June 17, 2020 at 9:24:51 PM PDT
                     To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                     <bijeoma@allsafeit.com>, Roger Rosas
                     <rrosas@allsafeit.com>
                     Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim
                     Clyde <tim.clyde@katzkin.com>, Peter Kim
                     <peter.kim@katzkin.com>, 'Huy DangVu'
                     <hdv@clearlightpartners.com>

                     Joe, Roger, and Bones,

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                                                                                           JJ000067
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 95 of 379 PageID 16601
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 96 of 379 PageID 16602


    From:              Michael S. Kaye
    To:                Joe James; Joseph J. Schmidt
    Cc:                Tomas Glaspy; Huy DangVu; Jeff R. Manassero
    Subject:           RE: Katzkin litigation - Cell Phone Searches
    Date:              Thursday, June 18, 2020 3:17:49 PM


    Let’s make it in the morning Joe. I will come in to do a monthly ops call so I’ll be there from 8:30 to
    11:30 am. I’ll need to leave at 11:30 am.

    Michael S. Kaye
    Managing Partner
    ClearLight Partners
    100 Bayview Circle - Suite #5000
    Newport Beach, CA 92660
    (949) 725-6628 - phone
    (949) 725-6611 - fax
    msk@clearlightpartners.com


    From: Joe James <joe.james@halcyonft.com>
    Sent: Thursday, June 18, 2020 3:15 PM
    To: Joseph J. Schmidt <jjs@clearlightpartners.com>; Michael S. Kaye <msk@clearlightpartners.com>
    Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Jeff
    R. Manassero <jrm@clearlightpartners.com>
    Subject: RE: Katzkin litigation - Cell Phone Searches

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    James <joe.james@halcyonft.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
    Subject: Re: Katzkin litigation - Cell Phone Searches




                                                                                                  JJ000069
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 97 of 379 PageID 16603


    I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next week if needed

    Joe


          On Jun 18, 2020, at 11:02 AM, Michael S. Kaye <msk@clearlightpartners.com> wrote:


          I can be in the office tomorrow Friday if that works. Jeff is saying he can so does that
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          Michael S. Kaye
          Managing Partner
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          (949) 725-6628 - phone
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          Sent: Thursday, June 18, 2020 10:51 AM
          To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
          <joe.james@halcyonft.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
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          Subject: RE: Katzkin litigation - Cell Phone Searches

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          claim that we have been deficient or incomplete in responding to discovery. So bottom
          line, having everything done right is more important than having everything produced
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          With that said, if Joe is able to get a start on some phones on Friday or Monday, that
          would certainly be preferable, but if there is some reason that this needs to be done on
          Tuesday, then we can live with that if that is what it takes to get this done right.

          Best,
          Tomas

          Tomas Glaspy
          Howarth & Smith


                                                                                                 JJ000070
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 98 of 379 PageID 16604


         523 W. 6th Street, Suite 728
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         Phone (213) 955-9400
         Fax (213) 622-0791
         www.howarth-smith.com

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         Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
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                                                                                              JJ000071
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 99 of 379 PageID 16605




              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 7:34 AM
              To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
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              <jrm@clearlightpartners.com>
              Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
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                     Subject: Searches
                     Date: June 17, 2020 at 9:24:51 PM PDT
                     To: Joe James <joe.james@halcyonft.com>, Bones Ijeoma
                     <bijeoma@allsafeit.com>, Roger Rosas
                     <rrosas@allsafeit.com>
                     Cc: Don Howarth <DHowarth@howarth-smith.com>, Tim
                     Clyde <tim.clyde@katzkin.com>, Peter Kim
                     <peter.kim@katzkin.com>, 'Huy DangVu'
                     <hdv@clearlightpartners.com>

                     Joe, Roger, and Bones,


                                                                                           JJ000072
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 100 of 379 PageID 16606
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 101 of 379 PageID 16607


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                   email and all copies of it. Thank you.




                                                                                 JJ000074
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 102 of 379 PageID 16608


     From:              Joe James
     To:                Jeff R. Manassero
     Subject:           RE: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 3:20:00 PM


     Hi Joe,

     Will the 8:30 AM – 11:30 AM schedule work for you as well?

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Jeff R. Manassero <jrm@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:18 PM
     To: Joe James <joe.james@halcyonft.com>
     Subject: FW: Katzkin litigation - Cell Phone Searches

     This is fine with me too


     From: Michael S. Kaye <msk@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:18 PM
     To: Joe James <joe.james@halcyonft.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Jeff
     R. Manassero <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Let’s make it in the morning Joe. I will come in to do a monthly ops call so I’ll be there from 8:30 to
     11:30 am. I’ll need to leave at 11:30 am.

     Michael S. Kaye
     Managing Partner
     ClearLight Partners
     100 Bayview Circle - Suite #5000
     Newport Beach, CA 92660
     (949) 725-6628 - phone
     (949) 725-6611 - fax
     msk@clearlightpartners.com


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:15 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>; Michael S. Kaye <msk@clearlightpartners.com>


                                                                                                   JJ000075
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 103 of 379 PageID 16609


     Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Jeff
     R. Manassero <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Michael, Joe, Jeff –

     Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

     Would 1- 3 PM work for everyone? Each search should take about 30 minutes per device.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 11:09 AM
     To: Michael S. Kaye <msk@clearlightpartners.com>
     Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>; Joe
     James <joe.james@halcyonft.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next week if needed

     Joe


            On Jun 18, 2020, at 11:02 AM, Michael S. Kaye <msk@clearlightpartners.com> wrote:


            I can be in the office tomorrow Friday if that works. Jeff is saying he can so does that
            leave Joe S and Huy?

            Michael S. Kaye
            Managing Partner
            ClearLight Partners
            100 Bayview Circle - Suite #5000
            Newport Beach, CA 92660
            (949) 725-6628 - phone
            (949) 725-6611 - fax
            msk@clearlightpartners.com


            From: Tomas Glaspy <TGlaspy@howarth-smith.com>


                                                                                                   JJ000076
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 104 of 379 PageID 16610


          Sent: Thursday, June 18, 2020 10:51 AM
          To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
          <joe.james@halcyonft.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
          <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
          Subject: RE: Katzkin litigation - Cell Phone Searches

          Huy,

          The issue here is that plaintiffs have moved to extend the discovery period, which is set
          to expire on June 24. To the extent we can get these searches run and documents
          produced by the 24th, we want to do that, but the primary concern is that we want
          these searches done fully and correctly so we do not leave plaintiffs any opening to
          claim that we have been deficient or incomplete in responding to discovery. So bottom
          line, having everything done right is more important than having everything produced
          by the 24th.

          With that said, if Joe is able to get a start on some phones on Friday or Monday, that
          would certainly be preferable, but if there is some reason that this needs to be done on
          Tuesday, then we can live with that if that is what it takes to get this done right.

          Best,
          Tomas

          Tomas Glaspy
          Howarth & Smith
          523 W. 6th Street, Suite 728
          Los Angeles, CA 90014
          Phone (213) 955-9400
          Fax (213) 622-0791
          www.howarth-smith.com

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          contain confidential, privileged information. If you are not an intended recipient,
          please contact sender by telephone or reply email and destroy this email and all copies
          of it. Thank you.


          From: Huy DangVu <hdv@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 10:04 AM
          To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-
          smith.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
          <jjs@clearlightpartners.com>; Jeff R. Manassero <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches



                                                                                               JJ000077
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 105 of 379 PageID 16611


          [Warning: EXTERNAL SENDER.]
          Joe - I’m not sure this can wait until next Tuesday since it needs to be filed Wednesday
          and Don and Tomas need time to review.

          Tomas - what are your thoughts?

          Sent from my iPhone


                On Jun 18, 2020, at 10:01 AM, Joe James <joe.james@halcyonft.com>
                wrote:


                Michael, Joe, Jeff -

                Would it be possible for you gentleman to meet me at the ClearLight
                office on Tuesday? I will need about 30 minutes per device. Please let me
                know if that day works for everyone and what time would be best.

                Thank you,

                Joe James
                Senior Information Services Advisor
                Halcyon Financial Technology, L.P.
                Email: joe.james@halcyonft.com
                Direct: 415-960-4367

                HalcyonFT Support:
                Non-Urgent: help@halcyonft.com
                Urgent: 415-967-7276


                From: Huy DangVu <hdv@clearlightpartners.com>
                Sent: Thursday, June 18, 2020 7:34 AM
                To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
                <jjs@clearlightpartners.com>; Jeff R. Manassero
                <jrm@clearlightpartners.com>
                Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                (tglaspy@howarth-smith.com) <TGlaspy@howarth-smith.com>
                Subject: Katzkin litigation - Cell Phone Searches

                Michael, Joe, Jeff -

                With respect to the Katzkin - Roadwire litigation, we’ve been ordered by
                the Court to perform searches on cell phone text messages for certain
                search terms and for text messages to and from certain individuals which
                contain certain terms.

                We need to provide the files by next Weds, June 24th but we want to get
                the files to Don Howarth ASAP for his review. Joe James will be helping us


                                                                                               JJ000078
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 106 of 379 PageID 16612
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 107 of 379 PageID 16613
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 108 of 379 PageID 16614


     From:             Joseph J. Schmidt
     To:               Joe James
     Cc:               Michael S. Kaye; Jeff R. Manassero
     Subject:          Re: Katzkin litigation - Cell Phone Searches
     Date:             Thursday, June 18, 2020 3:29:55 PM


     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish
     with Michael’s or we can just do it at 1 PM if you want

     Joe


            On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:



            Michael, Joe, Jeff –

            Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

            Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
            device.

            Thank you,

            Joe James
            Senior Information Services Advisor
            Halcyon Financial Technology, L.P.
            Email: joe.james@halcyonft.com
            Direct: 415-960-4367

            HalcyonFT Support:
            Non-Urgent: help@halcyonft.com
            Urgent: 415-967-7276


            From: Joseph J. Schmidt <jjs@clearlightpartners.com>
            Sent: Thursday, June 18, 2020 11:09 AM
            To: Michael S. Kaye <msk@clearlightpartners.com>
            Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
            <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
            Manassero <jrm@clearlightpartners.com>
            Subject: Re: Katzkin litigation - Cell Phone Searches

            I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
            week if needed

            Joe



                   On Jun 18, 2020, at 11:02 AM, Michael S. Kaye


                                                                                                JJ000081
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 109 of 379 PageID 16615


              <msk@clearlightpartners.com> wrote:


              I can be in the office tomorrow Friday if that works. Jeff is saying he can
              so does that leave Joe S and Huy?

              Michael S. Kaye
              Managing Partner
              ClearLight Partners
              100 Bayview Circle - Suite #5000
              Newport Beach, CA 92660
              (949) 725-6628 - phone
              (949) 725-6611 - fax
              msk@clearlightpartners.com


              From: Tomas Glaspy <TGlaspy@howarth-smith.com>
              Sent: Thursday, June 18, 2020 10:51 AM
              To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
              <joe.james@halcyonft.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: RE: Katzkin litigation - Cell Phone Searches

              Huy,

              The issue here is that plaintiffs have moved to extend the discovery
              period, which is set to expire on June 24. To the extent we can get these
              searches run and documents produced by the 24th, we want to do that,
              but the primary concern is that we want these searches done fully and
              correctly so we do not leave plaintiffs any opening to claim that we have
              been deficient or incomplete in responding to discovery. So bottom line,
              having everything done right is more important than having everything
              produced by the 24th.

              With that said, if Joe is able to get a start on some phones on Friday or
              Monday, that would certainly be preferable, but if there is some reason
              that this needs to be done on Tuesday, then we can live with that if that is
              what it takes to get this done right.

              Best,
              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014


                                                                                             JJ000082
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 110 of 379 PageID 16616


              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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              not an intended recipient, please contact sender by telephone or reply
              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?

              Sent from my iPhone


                    On Jun 18, 2020, at 10:01 AM, Joe James
                    <joe.james@halcyonft.com> wrote:


                    Michael, Joe, Jeff -

                    Would it be possible for you gentleman to meet me at the
                    ClearLight office on Tuesday? I will need about 30 minutes
                    per device. Please let me know if that day works for
                    everyone and what time would be best.

                    Thank you,

                    Joe James
                    Senior Information Services Advisor
                    Halcyon Financial Technology, L.P.
                    Email: joe.james@halcyonft.com
                    Direct: 415-960-4367

                    HalcyonFT Support:
                    Non-Urgent: help@halcyonft.com
                    Urgent: 415-967-7276


                                                                                               JJ000083
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 111 of 379 PageID 16617




                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 7:34 AM
                   To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.


                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                          Begin forwarded message:

                          From: Tomas Glaspy <TGlaspy@howarth-
                          smith.com>
                          Subject: Searches
                          Date: June 17, 2020 at 9:24:51 PM PDT
                          To: Joe James <joe.james@halcyonft.com>,
                          Bones Ijeoma <bijeoma@allsafeit.com>, Roger
                          Rosas <rrosas@allsafeit.com>
                          Cc: Don Howarth <DHowarth@howarth-
                          smith.com>, Tim Clyde


                                                                                   JJ000084
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 112 of 379 PageID 16618
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 113 of 379 PageID 16619



                        Tomas Glaspy
                        Howarth & Smith
                        523 W. 6th Street, Suite 728
                        Los Angeles, CA 90014
                        Phone (213) 955-9400
                        Fax (213) 622-0791
                        www.howarth-smith.com

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                                                                           JJ000086
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 114 of 379 PageID 16620


     From:                Joe James
     To:                  Joseph J. Schmidt
     Cc:                  Michael S. Kaye; Jeff R. Manassero
     Subject:             RE: Katzkin litigation - Cell Phone Searches
     Date:                Thursday, June 18, 2020 3:32:00 PM


     Hi Joe,

     Let's schedule yours for noon.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want

     Joe



               On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


               Michael, Joe, Jeff –

               Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

               Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
               device.

               Thank you,

               Joe James
               Senior Information Services Advisor
               Halcyon Financial Technology, L.P.



                                                                                                 JJ000087
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 115 of 379 PageID 16621


          Email: joe.james@halcyonft.com
          Direct: 415-960-4367

          HalcyonFT Support:
          Non-Urgent: help@halcyonft.com
          Urgent: 415-967-7276


          From: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 11:09 AM
          To: Michael S. Kaye <msk@clearlightpartners.com>
          Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
          <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
          Manassero <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches

          I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
          week if needed

          Joe




                On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                <msk@clearlightpartners.com> wrote:


                I can be in the office tomorrow Friday if that works. Jeff is saying he can
                so does that leave Joe S and Huy?

                Michael S. Kaye
                Managing Partner
                ClearLight Partners
                100 Bayview Circle - Suite #5000
                Newport Beach, CA 92660
                (949) 725-6628 - phone
                (949) 725-6611 - fax
                msk@clearlightpartners.com


                From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                Sent: Thursday, June 18, 2020 10:51 AM
                To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
                <joe.james@halcyonft.com>
                Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
                <jjs@clearlightpartners.com>; Jeff R. Manassero
                <jrm@clearlightpartners.com>
                Subject: RE: Katzkin litigation - Cell Phone Searches

                Huy,


                                                                                              JJ000088
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 116 of 379 PageID 16622



              The issue here is that plaintiffs have moved to extend the discovery
              period, which is set to expire on June 24. To the extent we can get these
              searches run and documents produced by the 24th, we want to do that,
              but the primary concern is that we want these searches done fully and
              correctly so we do not leave plaintiffs any opening to claim that we have
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              having everything done right is more important than having everything
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              what it takes to get this done right.

              Best,
              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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              not an intended recipient, please contact sender by telephone or reply
              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?


                                                                                               JJ000089
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 117 of 379 PageID 16623



              Sent from my iPhone


                   On Jun 18, 2020, at 10:01 AM, Joe James
                   <joe.james@halcyonft.com> wrote:


                   Michael, Joe, Jeff -

                   Would it be possible for you gentleman to meet me at the
                   ClearLight office on Tuesday? I will need about 30 minutes
                   per device. Please let me know if that day works for
                   everyone and what time would be best.

                   Thank you,

                   Joe James
                   Senior Information Services Advisor
                   Halcyon Financial Technology, L.P.
                   Email: joe.james@halcyonft.com
                   Direct: 415-960-4367

                   HalcyonFT Support:
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                   Urgent: 415-967-7276


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 7:34 AM
                   To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.



                                                                                   JJ000090
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 118 of 379 PageID 16624



                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                         Begin forwarded message:

                         From: Tomas Glaspy <TGlaspy@howarth-
                         smith.com>
                         Subject: Searches
                         Date: June 17, 2020 at 9:24:51 PM PDT
                         To: Joe James <joe.james@halcyonft.com>,
                         Bones Ijeoma <bijeoma@allsafeit.com>, Roger
                         Rosas <rrosas@allsafeit.com>
                         Cc: Don Howarth <DHowarth@howarth-
                         smith.com>, Tim Clyde
                         <tim.clyde@katzkin.com>, Peter Kim
                         <peter.kim@katzkin.com>, 'Huy DangVu'
                         <hdv@clearlightpartners.com>

                         Joe, Roger, and Bones,

                         I am attaching a few documents here pursuant
                         to our conference this afternoon.

                         First, you will find a spreadsheet that Peter and
                         I prepared that spells out the specific searches
                         to run. Note that the highlighted entries are
                         searches that you do not need to run and can
                         ignore for now.

                         I am also attaching the certification that the
                         court approved that you will need to sign once
                         the searches are completed. I think you
                         previously saw this when we were discussing
                         the issue with the facilitator. Now that we
                         know what searches we are going to run, we
                         will fill in the certification to reflect everything



                                                                                JJ000091
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 119 of 379 PageID 16625
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 120 of 379 PageID 16626


     From:                Jeff R. Manassero
     To:                  Joe James
     Subject:             RE: Katzkin litigation - Cell Phone Searches
     Date:                Thursday, June 18, 2020 3:34:45 PM


     What time do you want me Joe? I can be pretty flexible while in the office since I have another
     phone.


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:32 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Hi Joe,

     Let's schedule yours for noon.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want

     Joe


               On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


               Michael, Joe, Jeff –



                                                                                                 JJ000093
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 121 of 379 PageID 16627


          Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

          Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
          device.

          Thank you,

          Joe James
          Senior Information Services Advisor
          Halcyon Financial Technology, L.P.
          Email: joe.james@halcyonft.com
          Direct: 415-960-4367

          HalcyonFT Support:
          Non-Urgent: help@halcyonft.com
          Urgent: 415-967-7276


          From: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 11:09 AM
          To: Michael S. Kaye <msk@clearlightpartners.com>
          Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
          <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
          Manassero <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches

          I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
          week if needed

          Joe




                 On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                 <msk@clearlightpartners.com> wrote:


                 I can be in the office tomorrow Friday if that works. Jeff is saying he can
                 so does that leave Joe S and Huy?

                 Michael S. Kaye
                 Managing Partner
                 ClearLight Partners
                 100 Bayview Circle - Suite #5000
                 Newport Beach, CA 92660
                 (949) 725-6628 - phone
                 (949) 725-6611 - fax
                 msk@clearlightpartners.com


                 From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                 Sent: Thursday, June 18, 2020 10:51 AM


                                                                                               JJ000094
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 122 of 379 PageID 16628


              To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
              <joe.james@halcyonft.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: RE: Katzkin litigation - Cell Phone Searches

              Huy,

              The issue here is that plaintiffs have moved to extend the discovery
              period, which is set to expire on June 24. To the extent we can get these
              searches run and documents produced by the 24th, we want to do that,
              but the primary concern is that we want these searches done fully and
              correctly so we do not leave plaintiffs any opening to claim that we have
              been deficient or incomplete in responding to discovery. So bottom line,
              having everything done right is more important than having everything
              produced by the 24th.

              With that said, if Joe is able to get a start on some phones on Friday or
              Monday, that would certainly be preferable, but if there is some reason
              that this needs to be done on Tuesday, then we can live with that if that is
              what it takes to get this done right.

              Best,
              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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              not an intended recipient, please contact sender by telephone or reply
              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero


                                                                                             JJ000095
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 123 of 379 PageID 16629


              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?

              Sent from my iPhone


                    On Jun 18, 2020, at 10:01 AM, Joe James
                    <joe.james@halcyonft.com> wrote:


                    Michael, Joe, Jeff -

                    Would it be possible for you gentleman to meet me at the
                    ClearLight office on Tuesday? I will need about 30 minutes
                    per device. Please let me know if that day works for
                    everyone and what time would be best.

                    Thank you,

                    Joe James
                    Senior Information Services Advisor
                    Halcyon Financial Technology, L.P.
                    Email: joe.james@halcyonft.com
                    Direct: 415-960-4367

                    HalcyonFT Support:
                    Non-Urgent: help@halcyonft.com
                    Urgent: 415-967-7276


                    From: Huy DangVu <hdv@clearlightpartners.com>
                    Sent: Thursday, June 18, 2020 7:34 AM
                    To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                    J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                    <jrm@clearlightpartners.com>
                    Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                    (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                    smith.com>
                    Subject: Katzkin litigation - Cell Phone Searches

                    Michael, Joe, Jeff -

                    With respect to the Katzkin - Roadwire litigation, we’ve been
                    ordered by the Court to perform searches on cell phone text


                                                                                               JJ000096
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 124 of 379 PageID 16630


                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.


                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                         Begin forwarded message:

                         From: Tomas Glaspy <TGlaspy@howarth-
                         smith.com>
                         Subject: Searches
                         Date: June 17, 2020 at 9:24:51 PM PDT
                         To: Joe James <joe.james@halcyonft.com>,
                         Bones Ijeoma <bijeoma@allsafeit.com>, Roger
                         Rosas <rrosas@allsafeit.com>
                         Cc: Don Howarth <DHowarth@howarth-
                         smith.com>, Tim Clyde
                         <tim.clyde@katzkin.com>, Peter Kim
                         <peter.kim@katzkin.com>, 'Huy DangVu'
                         <hdv@clearlightpartners.com>

                         Joe, Roger, and Bones,

                         I am attaching a few documents here pursuant
                         to our conference this afternoon.

                         First, you will find a spreadsheet that Peter and
                         I prepared that spells out the specific searches
                         to run. Note that the highlighted entries are
                         searches that you do not need to run and can
                         ignore for now.




                                                                                   JJ000097
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 125 of 379 PageID 16631
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 126 of 379 PageID 16632


                        you.




                                                                      JJ000099
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 127 of 379 PageID 16633


     From:              Joe James
     To:                Jeff R. Manassero
     Subject:           RE: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 3:47:00 PM


     I’ll start Michaels at 8:30 AM. How does 9:30 AM sound to you?

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Jeff R. Manassero <jrm@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:35 PM
     To: Joe James <joe.james@halcyonft.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     What time do you want me Joe? I can be pretty flexible while in the office since I have another
     phone.


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:32 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Hi Joe,

     Let's schedule yours for noon.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>



                                                                                                JJ000100
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 128 of 379 PageID 16634


     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want

     Joe


           On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


           Michael, Joe, Jeff –

           Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

           Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
           device.

           Thank you,

           Joe James
           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367

           HalcyonFT Support:
           Non-Urgent: help@halcyonft.com
           Urgent: 415-967-7276


           From: Joseph J. Schmidt <jjs@clearlightpartners.com>
           Sent: Thursday, June 18, 2020 11:09 AM
           To: Michael S. Kaye <msk@clearlightpartners.com>
           Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
           <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
           Manassero <jrm@clearlightpartners.com>
           Subject: Re: Katzkin litigation - Cell Phone Searches

           I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
           week if needed

           Joe


                  On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                  <msk@clearlightpartners.com> wrote:



                                                                                                 JJ000101
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 129 of 379 PageID 16635



              I can be in the office tomorrow Friday if that works. Jeff is saying he can
              so does that leave Joe S and Huy?

              Michael S. Kaye
              Managing Partner
              ClearLight Partners
              100 Bayview Circle - Suite #5000
              Newport Beach, CA 92660
              (949) 725-6628 - phone
              (949) 725-6611 - fax
              msk@clearlightpartners.com


              From: Tomas Glaspy <TGlaspy@howarth-smith.com>
              Sent: Thursday, June 18, 2020 10:51 AM
              To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
              <joe.james@halcyonft.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: RE: Katzkin litigation - Cell Phone Searches

              Huy,

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              that this needs to be done on Tuesday, then we can live with that if that is
              what it takes to get this done right.

              Best,
              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791


                                                                                             JJ000102
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              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?

              Sent from my iPhone


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                    <joe.james@halcyonft.com> wrote:


                    Michael, Joe, Jeff -

                    Would it be possible for you gentleman to meet me at the
                    ClearLight office on Tuesday? I will need about 30 minutes
                    per device. Please let me know if that day works for
                    everyone and what time would be best.

                    Thank you,

                    Joe James
                    Senior Information Services Advisor
                    Halcyon Financial Technology, L.P.
                    Email: joe.james@halcyonft.com
                    Direct: 415-960-4367

                    HalcyonFT Support:
                    Non-Urgent: help@halcyonft.com
                    Urgent: 415-967-7276




                                                                                               JJ000103
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 131 of 379 PageID 16637


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 7:34 AM
                   To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
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                   to each of you to coordinate.


                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                          Begin forwarded message:

                          From: Tomas Glaspy <TGlaspy@howarth-
                          smith.com>
                          Subject: Searches
                          Date: June 17, 2020 at 9:24:51 PM PDT
                          To: Joe James <joe.james@halcyonft.com>,
                          Bones Ijeoma <bijeoma@allsafeit.com>, Roger
                          Rosas <rrosas@allsafeit.com>
                          Cc: Don Howarth <DHowarth@howarth-
                          smith.com>, Tim Clyde
                          <tim.clyde@katzkin.com>, Peter Kim
                          <peter.kim@katzkin.com>, 'Huy DangVu'



                                                                                   JJ000104
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 132 of 379 PageID 16638
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 133 of 379 PageID 16639


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                        523 W. 6th Street, Suite 728
                        Los Angeles, CA 90014
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                        Fax (213) 622-0791
                        www.howarth-smith.com

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                        you.




                                                                           JJ000106
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 134 of 379 PageID 16640


     From:              Michael S. Kaye
     To:                Joe James; Joseph J. Schmidt
     Cc:                Jeff R. Manassero
     Subject:           RE: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 3:49:43 PM


     Let me know when for me Joe thanks.

     Michael S. Kaye
     Managing Partner
     ClearLight Partners
     100 Bayview Circle - Suite #5000
     Newport Beach, CA 92660
     (949) 725-6628 - phone
     (949) 725-6611 - fax
     msk@clearlightpartners.com


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:32 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

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     Let's schedule yours for noon.

     Thank you,

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     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want




                                                                                                 JJ000107
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 135 of 379 PageID 16641


     Joe


           On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


           Michael, Joe, Jeff –

           Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

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           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367

           HalcyonFT Support:
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           Urgent: 415-967-7276


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           Sent: Thursday, June 18, 2020 11:09 AM
           To: Michael S. Kaye <msk@clearlightpartners.com>
           Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
           <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
           Manassero <jrm@clearlightpartners.com>
           Subject: Re: Katzkin litigation - Cell Phone Searches

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           week if needed

           Joe




                  On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
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                  I can be in the office tomorrow Friday if that works. Jeff is saying he can
                  so does that leave Joe S and Huy?

                  Michael S. Kaye
                  Managing Partner



                                                                                                JJ000108
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 136 of 379 PageID 16642


              ClearLight Partners
              100 Bayview Circle - Suite #5000
              Newport Beach, CA 92660
              (949) 725-6628 - phone
              (949) 725-6611 - fax
              msk@clearlightpartners.com


              From: Tomas Glaspy <TGlaspy@howarth-smith.com>
              Sent: Thursday, June 18, 2020 10:51 AM
              To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
              <joe.james@halcyonft.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: RE: Katzkin litigation - Cell Phone Searches

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              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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                                                                                             JJ000109
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              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

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              Tomas - what are your thoughts?

              Sent from my iPhone


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                    Thank you,

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                    Senior Information Services Advisor
                    Halcyon Financial Technology, L.P.
                    Email: joe.james@halcyonft.com
                    Direct: 415-960-4367

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                    Non-Urgent: help@halcyonft.com
                    Urgent: 415-967-7276


                    From: Huy DangVu <hdv@clearlightpartners.com>
                    Sent: Thursday, June 18, 2020 7:34 AM
                    To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                    J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                    <jrm@clearlightpartners.com>



                                                                                               JJ000110
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 138 of 379 PageID 16644


                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.


                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                          Begin forwarded message:

                          From: Tomas Glaspy <TGlaspy@howarth-
                          smith.com>
                          Subject: Searches
                          Date: June 17, 2020 at 9:24:51 PM PDT
                          To: Joe James <joe.james@halcyonft.com>,
                          Bones Ijeoma <bijeoma@allsafeit.com>, Roger
                          Rosas <rrosas@allsafeit.com>
                          Cc: Don Howarth <DHowarth@howarth-
                          smith.com>, Tim Clyde
                          <tim.clyde@katzkin.com>, Peter Kim
                          <peter.kim@katzkin.com>, 'Huy DangVu'
                          <hdv@clearlightpartners.com>

                          Joe, Roger, and Bones,




                                                                                   JJ000111
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 139 of 379 PageID 16645
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 140 of 379 PageID 16646


                        Fax (213) 622-0791
                        www.howarth-smith.com

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                        contact sender by telephone or reply email and
                        destroy this email and all copies of it. Thank
                        you.




                                                                           JJ000113
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 141 of 379 PageID 16647


     From:              Joe James
     To:                Michael S. Kaye; Joseph J. Schmidt
     Cc:                Jeff R. Manassero
     Subject:           RE: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 3:52:00 PM


     Schedule:

     Michael Kaye – 8:30 AM – 9:30 AM
     Jeff Manassero – 9:30 AM – 10:30 AM
     Joe Schmidt – 12:00 PM – 1:00 PM

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Michael S. Kaye <msk@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:50 PM
     To: Joe James <joe.james@halcyonft.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Jeff R. Manassero <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Let me know when for me Joe thanks.

     Michael S. Kaye
     Managing Partner
     ClearLight Partners
     100 Bayview Circle - Suite #5000
     Newport Beach, CA 92660
     (949) 725-6628 - phone
     (949) 725-6611 - fax
     msk@clearlightpartners.com


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:32 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Hi Joe,




                                                                                           JJ000114
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 142 of 379 PageID 16648


     Let's schedule yours for noon.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want

     Joe


            On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


            Michael, Joe, Jeff –

            Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

            Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
            device.

            Thank you,

            Joe James
            Senior Information Services Advisor
            Halcyon Financial Technology, L.P.
            Email: joe.james@halcyonft.com
            Direct: 415-960-4367

            HalcyonFT Support:
            Non-Urgent: help@halcyonft.com
            Urgent: 415-967-7276


            From: Joseph J. Schmidt <jjs@clearlightpartners.com>
            Sent: Thursday, June 18, 2020 11:09 AM



                                                                                                 JJ000115
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 143 of 379 PageID 16649


          To: Michael S. Kaye <msk@clearlightpartners.com>
          Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
          <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
          Manassero <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches

          I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
          week if needed

          Joe


                On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                <msk@clearlightpartners.com> wrote:


                I can be in the office tomorrow Friday if that works. Jeff is saying he can
                so does that leave Joe S and Huy?

                Michael S. Kaye
                Managing Partner
                ClearLight Partners
                100 Bayview Circle - Suite #5000
                Newport Beach, CA 92660
                (949) 725-6628 - phone
                (949) 725-6611 - fax
                msk@clearlightpartners.com


                From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                Sent: Thursday, June 18, 2020 10:51 AM
                To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
                <joe.james@halcyonft.com>
                Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
                <jjs@clearlightpartners.com>; Jeff R. Manassero
                <jrm@clearlightpartners.com>
                Subject: RE: Katzkin litigation - Cell Phone Searches

                Huy,

                The issue here is that plaintiffs have moved to extend the discovery
                period, which is set to expire on June 24. To the extent we can get these
                searches run and documents produced by the 24th, we want to do that,
                but the primary concern is that we want these searches done fully and
                correctly so we do not leave plaintiffs any opening to claim that we have
                been deficient or incomplete in responding to discovery. So bottom line,
                having everything done right is more important than having everything
                produced by the 24th.


                                                                                              JJ000116
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 144 of 379 PageID 16650



              With that said, if Joe is able to get a start on some phones on Friday or
              Monday, that would certainly be preferable, but if there is some reason
              that this needs to be done on Tuesday, then we can live with that if that is
              what it takes to get this done right.

              Best,
              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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              recipients and may contain confidential, privileged information. If you are
              not an intended recipient, please contact sender by telephone or reply
              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?

              Sent from my iPhone


                      On Jun 18, 2020, at 10:01 AM, Joe James
                      <joe.james@halcyonft.com> wrote:


                      Michael, Joe, Jeff -



                                                                                               JJ000117
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 145 of 379 PageID 16651


                   Would it be possible for you gentleman to meet me at the
                   ClearLight office on Tuesday? I will need about 30 minutes
                   per device. Please let me know if that day works for
                   everyone and what time would be best.

                   Thank you,

                   Joe James
                   Senior Information Services Advisor
                   Halcyon Financial Technology, L.P.
                   Email: joe.james@halcyonft.com
                   Direct: 415-960-4367

                   HalcyonFT Support:
                   Non-Urgent: help@halcyonft.com
                   Urgent: 415-967-7276


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 7:34 AM
                   To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.


                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                                                                                   JJ000118
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 146 of 379 PageID 16652
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 147 of 379 PageID 16653
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 148 of 379 PageID 16654


     From:              Jeff R. Manassero
     To:                Joe James
     Subject:           RE: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 3:56:56 PM


     I’d be shocked if it takes you that long for me – I am not going to have any texts that meet most of
     those criteria. It might just be a short thread with Peter


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:53 PM
     To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Jeff R. Manassero <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Schedule:

     Michael Kaye – 8:30 AM – 9:30 AM
     Jeff Manassero – 9:30 AM – 10:30 AM
     Joe Schmidt – 12:00 PM – 1:00 PM

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Michael S. Kaye <msk@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:50 PM
     To: Joe James <joe.james@halcyonft.com>; Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Jeff R. Manassero <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Let me know when for me Joe thanks.

     Michael S. Kaye
     Managing Partner
     ClearLight Partners
     100 Bayview Circle - Suite #5000
     Newport Beach, CA 92660
     (949) 725-6628 - phone
     (949) 725-6611 - fax
     msk@clearlightpartners.com


     From: Joe James <joe.james@halcyonft.com>


                                                                                                 JJ000121
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 149 of 379 PageID 16655


     Sent: Thursday, June 18, 2020 3:32 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Hi Joe,

     Let's schedule yours for noon.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want

     Joe


               On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


               Michael, Joe, Jeff –

               Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

               Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
               device.

               Thank you,

               Joe James
               Senior Information Services Advisor



                                                                                                 JJ000122
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 150 of 379 PageID 16656


          Halcyon Financial Technology, L.P.
          Email: joe.james@halcyonft.com
          Direct: 415-960-4367

          HalcyonFT Support:
          Non-Urgent: help@halcyonft.com
          Urgent: 415-967-7276


          From: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 11:09 AM
          To: Michael S. Kaye <msk@clearlightpartners.com>
          Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
          <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
          Manassero <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches

          I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
          week if needed

          Joe


                 On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                 <msk@clearlightpartners.com> wrote:


                 I can be in the office tomorrow Friday if that works. Jeff is saying he can
                 so does that leave Joe S and Huy?

                 Michael S. Kaye
                 Managing Partner
                 ClearLight Partners
                 100 Bayview Circle - Suite #5000
                 Newport Beach, CA 92660
                 (949) 725-6628 - phone
                 (949) 725-6611 - fax
                 msk@clearlightpartners.com


                 From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                 Sent: Thursday, June 18, 2020 10:51 AM
                 To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
                 <joe.james@halcyonft.com>
                 Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
                 <jjs@clearlightpartners.com>; Jeff R. Manassero
                 <jrm@clearlightpartners.com>
                 Subject: RE: Katzkin litigation - Cell Phone Searches

                 Huy,



                                                                                               JJ000123
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 151 of 379 PageID 16657


              The issue here is that plaintiffs have moved to extend the discovery
              period, which is set to expire on June 24. To the extent we can get these
              searches run and documents produced by the 24th, we want to do that,
              but the primary concern is that we want these searches done fully and
              correctly so we do not leave plaintiffs any opening to claim that we have
              been deficient or incomplete in responding to discovery. So bottom line,
              having everything done right is more important than having everything
              produced by the 24th.

              With that said, if Joe is able to get a start on some phones on Friday or
              Monday, that would certainly be preferable, but if there is some reason
              that this needs to be done on Tuesday, then we can live with that if that is
              what it takes to get this done right.

              Best,
              Tomas

              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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              not an intended recipient, please contact sender by telephone or reply
              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?



                                                                                               JJ000124
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 152 of 379 PageID 16658


              Sent from my iPhone


                   On Jun 18, 2020, at 10:01 AM, Joe James
                   <joe.james@halcyonft.com> wrote:


                   Michael, Joe, Jeff -

                   Would it be possible for you gentleman to meet me at the
                   ClearLight office on Tuesday? I will need about 30 minutes
                   per device. Please let me know if that day works for
                   everyone and what time would be best.

                   Thank you,

                   Joe James
                   Senior Information Services Advisor
                   Halcyon Financial Technology, L.P.
                   Email: joe.james@halcyonft.com
                   Direct: 415-960-4367

                   HalcyonFT Support:
                   Non-Urgent: help@halcyonft.com
                   Urgent: 415-967-7276


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 7:34 AM
                   To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.




                                                                                   JJ000125
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 153 of 379 PageID 16659
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 154 of 379 PageID 16660
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 155 of 379 PageID 16661


     From:              Jeff R. Manassero
     To:                Joe James
     Subject:           RE: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 3:57:09 PM


     Fine thanks


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:48 PM
     To: Jeff R. Manassero <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     I’ll start Michaels at 8:30 AM. How does 9:30 AM sound to you?

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Jeff R. Manassero <jrm@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:35 PM
     To: Joe James <joe.james@halcyonft.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     What time do you want me Joe? I can be pretty flexible while in the office since I have another
     phone.


     From: Joe James <joe.james@halcyonft.com>
     Sent: Thursday, June 18, 2020 3:32 PM
     To: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: RE: Katzkin litigation - Cell Phone Searches

     Hi Joe,

     Let's schedule yours for noon.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367



                                                                                                JJ000128
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 156 of 379 PageID 16662



     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joseph J. Schmidt <jjs@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 3:30 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you finish with
     Michael’s or we can just do it at 1 PM if you want

     Joe


           On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com> wrote:


           Michael, Joe, Jeff –

           Can we set up a time tomorrow to meet at the CLP office for the cell phone searches?

           Would 1- 3 PM work for everyone? Each search should take about 30 minutes per
           device.

           Thank you,

           Joe James
           Senior Information Services Advisor
           Halcyon Financial Technology, L.P.
           Email: joe.james@halcyonft.com
           Direct: 415-960-4367

           HalcyonFT Support:
           Non-Urgent: help@halcyonft.com
           Urgent: 415-967-7276


           From: Joseph J. Schmidt <jjs@clearlightpartners.com>
           Sent: Thursday, June 18, 2020 11:09 AM
           To: Michael S. Kaye <msk@clearlightpartners.com>
           Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
           <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>; Jeff R.
           Manassero <jrm@clearlightpartners.com>
           Subject: Re: Katzkin litigation - Cell Phone Searches

           I can be at CLP tomorrow anytime from noon on if that helps...I’m also available next
           week if needed

                                                                                                 JJ000129
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 157 of 379 PageID 16663



          Joe


                On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                <msk@clearlightpartners.com> wrote:


                I can be in the office tomorrow Friday if that works. Jeff is saying he can
                so does that leave Joe S and Huy?

                Michael S. Kaye
                Managing Partner
                ClearLight Partners
                100 Bayview Circle - Suite #5000
                Newport Beach, CA 92660
                (949) 725-6628 - phone
                (949) 725-6611 - fax
                msk@clearlightpartners.com


                From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                Sent: Thursday, June 18, 2020 10:51 AM
                To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
                <joe.james@halcyonft.com>
                Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
                <jjs@clearlightpartners.com>; Jeff R. Manassero
                <jrm@clearlightpartners.com>
                Subject: RE: Katzkin litigation - Cell Phone Searches

                Huy,

                The issue here is that plaintiffs have moved to extend the discovery
                period, which is set to expire on June 24. To the extent we can get these
                searches run and documents produced by the 24th, we want to do that,
                but the primary concern is that we want these searches done fully and
                correctly so we do not leave plaintiffs any opening to claim that we have
                been deficient or incomplete in responding to discovery. So bottom line,
                having everything done right is more important than having everything
                produced by the 24th.

                With that said, if Joe is able to get a start on some phones on Friday or
                Monday, that would certainly be preferable, but if there is some reason
                that this needs to be done on Tuesday, then we can live with that if that is
                what it takes to get this done right.

                Best,
                Tomas


                                                                                               JJ000130
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 158 of 379 PageID 16664



              Tomas Glaspy
              Howarth & Smith
              523 W. 6th Street, Suite 728
              Los Angeles, CA 90014
              Phone (213) 955-9400
              Fax (213) 622-0791
              www.howarth-smith.com

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              recipients and may contain confidential, privileged information. If you are
              not an intended recipient, please contact sender by telephone or reply
              email and destroy this email and all copies of it. Thank you.


              From: Huy DangVu <hdv@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 10:04 AM
              To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
              <TGlaspy@howarth-smith.com>
              Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph J. Schmidt
              <jjs@clearlightpartners.com>; Jeff R. Manassero
              <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              [Warning: EXTERNAL SENDER.]
              Joe - I’m not sure this can wait until next Tuesday since it needs to be filed
              Wednesday and Don and Tomas need time to review.

              Tomas - what are your thoughts?

              Sent from my iPhone


                    On Jun 18, 2020, at 10:01 AM, Joe James
                    <joe.james@halcyonft.com> wrote:


                    Michael, Joe, Jeff -

                    Would it be possible for you gentleman to meet me at the
                    ClearLight office on Tuesday? I will need about 30 minutes
                    per device. Please let me know if that day works for
                    everyone and what time would be best.

                    Thank you,

                    Joe James


                                                                                               JJ000131
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 159 of 379 PageID 16665


                   Senior Information Services Advisor
                   Halcyon Financial Technology, L.P.
                   Email: joe.james@halcyonft.com
                   Direct: 415-960-4367

                   HalcyonFT Support:
                   Non-Urgent: help@halcyonft.com
                   Urgent: 415-967-7276


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 7:34 AM
                   To: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Cc: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   (tglaspy@howarth-smith.com) <TGlaspy@howarth-
                   smith.com>
                   Subject: Katzkin litigation - Cell Phone Searches

                   Michael, Joe, Jeff -

                   With respect to the Katzkin - Roadwire litigation, we’ve been
                   ordered by the Court to perform searches on cell phone text
                   messages for certain search terms and for text messages to
                   and from certain individuals which contain certain terms.

                   We need to provide the files by next Weds, June 24th but we
                   want to get the files to Don Howarth ASAP for his review. Joe
                   James will be helping us with the searches and will reach out
                   to each of you to coordinate.


                   Huy Dang Vu
                   Chief Financial Officer
                   100 Bayview Circle, Suite 5000
                   Newport Beach, CA 92660
                   Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




                          Begin forwarded message:

                          From: Tomas Glaspy <TGlaspy@howarth-
                          smith.com>
                          Subject: Searches
                          Date: June 17, 2020 at 9:24:51 PM PDT
                          To: Joe James <joe.james@halcyonft.com>,
                          Bones Ijeoma <bijeoma@allsafeit.com>, Roger


                                                                                   JJ000132
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 160 of 379 PageID 16666
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 161 of 379 PageID 16667


                        Best,
                        Tomas


                        Tomas Glaspy
                        Howarth & Smith
                        523 W. 6th Street, Suite 728
                        Los Angeles, CA 90014
                        Phone (213) 955-9400
                        Fax (213) 622-0791
                        www.howarth-smith.com

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                        you.




                                                                           JJ000134
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 162 of 379 PageID 16668


     From:              Michael S. Kaye
     To:                Joe James
     Cc:                Joseph J. Schmidt; Jeff R. Manassero
     Subject:           Re: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 4:48:09 PM


     Thanks.
     Please come by a little before 8:30 AM Joe as my zoom meeting is going to start at 8:30 thank
     you


            On Jun 18, 2020, at 3:52 PM, Joe James <joe.james@halcyonft.com> wrote:



            Schedule:

            Michael Kaye – 8:30 AM – 9:30 AM
            Jeff Manassero – 9:30 AM – 10:30 AM
            Joe Schmidt – 12:00 PM – 1:00 PM

            Thank you,

            Joe James
            Senior Information Services Advisor
            Halcyon Financial Technology, L.P.
            Email: joe.james@halcyonft.com
            Direct: 415-960-4367

            HalcyonFT Support:
            Non-Urgent: help@halcyonft.com
            Urgent: 415-967-7276


            From: Michael S. Kaye <msk@clearlightpartners.com>
            Sent: Thursday, June 18, 2020 3:50 PM
            To: Joe James <joe.james@halcyonft.com>; Joseph J. Schmidt
            <jjs@clearlightpartners.com>
            Cc: Jeff R. Manassero <jrm@clearlightpartners.com>
            Subject: RE: Katzkin litigation - Cell Phone Searches

            Let me know when for me Joe thanks.

            Michael S. Kaye
            Managing Partner
            ClearLight Partners
            100 Bayview Circle - Suite #5000
            Newport Beach, CA 92660
            (949) 725-6628 - phone
            (949) 725-6611 - fax
            msk@clearlightpartners.com


            From: Joe James <joe.james@halcyonft.com>

                                                                                         JJ000135
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 163 of 379 PageID 16669


          Sent: Thursday, June 18, 2020 3:32 PM
          To: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
          <jrm@clearlightpartners.com>
          Subject: RE: Katzkin litigation - Cell Phone Searches

          Hi Joe,

          Let's schedule yours for noon.

          Thank you,

          Joe James
          Senior Information Services Advisor
          Halcyon Financial Technology, L.P.
          Email: joe.james@halcyonft.com
          Direct: 415-960-4367

          HalcyonFT Support:
          Non-Urgent: help@halcyonft.com
          Urgent: 415-967-7276


          From: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 3:30 PM
          To: Joe James <joe.james@halcyonft.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
          <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches

          Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you
          finish with Michael’s or we can just do it at 1 PM if you want

          Joe


                    On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com>
                    wrote:


                    Michael, Joe, Jeff –

                    Can we set up a time tomorrow to meet at the CLP office for the cell
                    phone searches?

                    Would 1- 3 PM work for everyone? Each search should take about 30
                    minutes per device.

                    Thank you,



                                                                                              JJ000136
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 164 of 379 PageID 16670



              Joe James
              Senior Information Services Advisor
              Halcyon Financial Technology, L.P.
              Email: joe.james@halcyonft.com
              Direct: 415-960-4367

              HalcyonFT Support:
              Non-Urgent: help@halcyonft.com
              Urgent: 415-967-7276


              From: Joseph J. Schmidt <jjs@clearlightpartners.com>
              Sent: Thursday, June 18, 2020 11:09 AM
              To: Michael S. Kaye <msk@clearlightpartners.com>
              Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
              <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>;
              Jeff R. Manassero <jrm@clearlightpartners.com>
              Subject: Re: Katzkin litigation - Cell Phone Searches

              I can be at CLP tomorrow anytime from noon on if that helps...I’m also
              available next week if needed

              Joe


                     On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                     <msk@clearlightpartners.com> wrote:


                     I can be in the office tomorrow Friday if that works. Jeff is
                     saying he can so does that leave Joe S and Huy?

                     Michael S. Kaye
                     Managing Partner
                     ClearLight Partners
                     100 Bayview Circle - Suite #5000
                     Newport Beach, CA 92660
                     (949) 725-6628 - phone
                     (949) 725-6611 - fax
                     msk@clearlightpartners.com


                     From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                     Sent: Thursday, June 18, 2020 10:51 AM
                     To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
                     <joe.james@halcyonft.com>
                     Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                     J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                     <jrm@clearlightpartners.com>
                     Subject: RE: Katzkin litigation - Cell Phone Searches



                                                                                       JJ000137
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 165 of 379 PageID 16671


                   Huy,

                   The issue here is that plaintiffs have moved to extend the
                   discovery period, which is set to expire on June 24. To the
                   extent we can get these searches run and documents
                   produced by the 24th, we want to do that, but the primary
                   concern is that we want these searches done fully and
                   correctly so we do not leave plaintiffs any opening to claim
                   that we have been deficient or incomplete in responding to
                   discovery. So bottom line, having everything done right is
                   more important than having everything produced by the
                   24th.

                   With that said, if Joe is able to get a start on some phones on
                   Friday or Monday, that would certainly be preferable, but if
                   there is some reason that this needs to be done on Tuesday,
                   then we can live with that if that is what it takes to get this
                   done right.

                   Best,
                   Tomas

                   Tomas Glaspy
                   Howarth & Smith
                   523 W. 6th Street, Suite 728
                   Los Angeles, CA 90014
                   Phone (213) 955-9400
                   Fax (213) 622-0791
                   www.howarth-smith.com

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                   email and all copies of it. Thank you.


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 10:04 AM
                   To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   <TGlaspy@howarth-smith.com>
                   Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Subject: Re: Katzkin litigation - Cell Phone Searches



                                                                                     JJ000138
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 166 of 379 PageID 16672


                   [Warning: EXTERNAL SENDER.]
                   Joe - I’m not sure this can wait until next Tuesday since it
                   needs to be filed Wednesday and Don and Tomas need time
                   to review.

                   Tomas - what are your thoughts?

                   Sent from my iPhone


                         On Jun 18, 2020, at 10:01 AM, Joe James
                         <joe.james@halcyonft.com> wrote:


                         Michael, Joe, Jeff -

                         Would it be possible for you gentleman to
                         meet me at the ClearLight office on Tuesday? I
                         will need about 30 minutes per device. Please
                         let me know if that day works for everyone and
                         what time would be best.

                         Thank you,

                         Joe James
                         Senior Information Services Advisor
                         Halcyon Financial Technology, L.P.
                         Email: joe.james@halcyonft.com
                         Direct: 415-960-4367

                         HalcyonFT Support:
                         Non-Urgent: help@halcyonft.com
                         Urgent: 415-967-7276


                         From: Huy DangVu
                         <hdv@clearlightpartners.com>
                         Sent: Thursday, June 18, 2020 7:34 AM
                         To: Michael S. Kaye
                         <msk@clearlightpartners.com>; Joseph J.
                         Schmidt <jjs@clearlightpartners.com>; Jeff R.
                         Manassero <jrm@clearlightpartners.com>
                         Cc: Joe James <joe.james@halcyonft.com>;
                         Tomas Glaspy (tglaspy@howarth-smith.com)
                         <TGlaspy@howarth-smith.com>
                         Subject: Katzkin litigation - Cell Phone Searches

                         Michael, Joe, Jeff -

                         With respect to the Katzkin - Roadwire


                                                                                  JJ000139
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 167 of 379 PageID 16673


                        litigation, we’ve been ordered by the Court to
                        perform searches on cell phone text messages
                        for certain search terms and for text messages
                        to and from certain individuals which contain
                        certain terms.

                        We need to provide the files by next Weds,
                        June 24th but we want to get the files to Don
                        Howarth ASAP for his review. Joe James will be
                        helping us with the searches and will reach out
                        to each of you to coordinate.


                        Huy Dang Vu
                        Chief Financial Officer
                        100 Bayview Circle, Suite 5000
                        Newport Beach, CA 92660
                        Tel: (949) 725-6619 |
                        Email: hdv@clearlightpartners.com




                              Begin forwarded message:

                              From: Tomas Glaspy
                              <TGlaspy@howarth-smith.com>
                              Subject: Searches
                              Date: June 17, 2020 at 9:24:51
                              PM PDT
                              To: Joe James
                              <joe.james@halcyonft.com>,
                              Bones Ijeoma
                              <bijeoma@allsafeit.com>, Roger
                              Rosas <rrosas@allsafeit.com>
                              Cc: Don Howarth
                              <DHowarth@howarth-
                              smith.com>, Tim Clyde
                              <tim.clyde@katzkin.com>, Peter
                              Kim <peter.kim@katzkin.com>,
                              'Huy DangVu'
                              <hdv@clearlightpartners.com>

                              Joe, Roger, and Bones,




                                                                          JJ000140
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 168 of 379 PageID 16674
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 169 of 379 PageID 16675


                             there is anything you need from
                             us to expedite that process.

                             Best,
                             Tomas


                             Tomas Glaspy
                             Howarth & Smith
                             523 W. 6th Street, Suite 728
                             Los Angeles, CA 90014
                             Phone (213) 955-9400
                             Fax (213) 622-0791
                             www.howarth-smith.com

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                             all copies of it. Thank you.




                                                                      JJ000142
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 170 of 379 PageID 16676


     From:              Joe James
     To:                Michael S. Kaye
     Cc:                Joseph J. Schmidt; Jeff R. Manassero
     Subject:           Re: Katzkin litigation - Cell Phone Searches
     Date:              Thursday, June 18, 2020 5:06:56 PM


     No problem Michael. I'll stop by your office around 8:15 am

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     Halcyon Team:
     None-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     From: Michael S. Kaye <msk@clearlightpartners.com>
     Sent: Thursday, June 18, 2020 4:47:56 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: Joseph J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
     <jrm@clearlightpartners.com>
     Subject: Re: Katzkin litigation - Cell Phone Searches

     Thanks.
     Please come by a little before 8:30 AM Joe as my zoom meeting is going to start at 8:30 thank
     you


            On Jun 18, 2020, at 3:52 PM, Joe James <joe.james@halcyonft.com> wrote:



            Schedule:

            Michael Kaye – 8:30 AM – 9:30 AM
            Jeff Manassero – 9:30 AM – 10:30 AM
            Joe Schmidt – 12:00 PM – 1:00 PM

            Thank you,

            Joe James
            Senior Information Services Advisor
            Halcyon Financial Technology, L.P.
            Email: joe.james@halcyonft.com
            Direct: 415-960-4367

            HalcyonFT Support:
            Non-Urgent: help@halcyonft.com
            Urgent: 415-967-7276



                                                                                         JJ000143
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 171 of 379 PageID 16677




          From: Michael S. Kaye <msk@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 3:50 PM
          To: Joe James <joe.james@halcyonft.com>; Joseph J. Schmidt
          <jjs@clearlightpartners.com>
          Cc: Jeff R. Manassero <jrm@clearlightpartners.com>
          Subject: RE: Katzkin litigation - Cell Phone Searches

          Let me know when for me Joe thanks.

          Michael S. Kaye
          Managing Partner
          ClearLight Partners
          100 Bayview Circle - Suite #5000
          Newport Beach, CA 92660
          (949) 725-6628 - phone
          (949) 725-6611 - fax
          msk@clearlightpartners.com


          From: Joe James <joe.james@halcyonft.com>
          Sent: Thursday, June 18, 2020 3:32 PM
          To: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
          <jrm@clearlightpartners.com>
          Subject: RE: Katzkin litigation - Cell Phone Searches

          Hi Joe,

          Let's schedule yours for noon.

          Thank you,

          Joe James
          Senior Information Services Advisor
          Halcyon Financial Technology, L.P.
          Email: joe.james@halcyonft.com
          Direct: 415-960-4367

          HalcyonFT Support:
          Non-Urgent: help@halcyonft.com
          Urgent: 415-967-7276


          From: Joseph J. Schmidt <jjs@clearlightpartners.com>
          Sent: Thursday, June 18, 2020 3:30 PM
          To: Joe James <joe.james@halcyonft.com>
          Cc: Michael S. Kaye <msk@clearlightpartners.com>; Jeff R. Manassero
          <jrm@clearlightpartners.com>
          Subject: Re: Katzkin litigation - Cell Phone Searches



                                                                                JJ000144
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 172 of 379 PageID 16678


          Joe, I can be there tomorrow, I’ll come at noon in case you want to start mine after you
          finish with Michael’s or we can just do it at 1 PM if you want

          Joe


                On Jun 18, 2020, at 3:15 PM, Joe James <joe.james@halcyonft.com>
                wrote:


                Michael, Joe, Jeff –

                Can we set up a time tomorrow to meet at the CLP office for the cell
                phone searches?

                Would 1- 3 PM work for everyone? Each search should take about 30
                minutes per device.

                Thank you,

                Joe James
                Senior Information Services Advisor
                Halcyon Financial Technology, L.P.
                Email: joe.james@halcyonft.com
                Direct: 415-960-4367

                HalcyonFT Support:
                Non-Urgent: help@halcyonft.com
                Urgent: 415-967-7276


                From: Joseph J. Schmidt <jjs@clearlightpartners.com>
                Sent: Thursday, June 18, 2020 11:09 AM
                To: Michael S. Kaye <msk@clearlightpartners.com>
                Cc: Tomas Glaspy <TGlaspy@howarth-smith.com>; Huy DangVu
                <hdv@clearlightpartners.com>; Joe James <joe.james@halcyonft.com>;
                Jeff R. Manassero <jrm@clearlightpartners.com>
                Subject: Re: Katzkin litigation - Cell Phone Searches

                I can be at CLP tomorrow anytime from noon on if that helps...I’m also
                available next week if needed

                Joe


                       On Jun 18, 2020, at 11:02 AM, Michael S. Kaye
                       <msk@clearlightpartners.com> wrote:


                       I can be in the office tomorrow Friday if that works. Jeff is

                                                                                              JJ000145
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 173 of 379 PageID 16679


                   saying he can so does that leave Joe S and Huy?

                   Michael S. Kaye
                   Managing Partner
                   ClearLight Partners
                   100 Bayview Circle - Suite #5000
                   Newport Beach, CA 92660
                   (949) 725-6628 - phone
                   (949) 725-6611 - fax
                   msk@clearlightpartners.com


                   From: Tomas Glaspy <TGlaspy@howarth-smith.com>
                   Sent: Thursday, June 18, 2020 10:51 AM
                   To: Huy DangVu <hdv@clearlightpartners.com>; Joe James
                   <joe.james@halcyonft.com>
                   Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Subject: RE: Katzkin litigation - Cell Phone Searches

                   Huy,

                   The issue here is that plaintiffs have moved to extend the
                   discovery period, which is set to expire on June 24. To the
                   extent we can get these searches run and documents
                   produced by the 24th, we want to do that, but the primary
                   concern is that we want these searches done fully and
                   correctly so we do not leave plaintiffs any opening to claim
                   that we have been deficient or incomplete in responding to
                   discovery. So bottom line, having everything done right is
                   more important than having everything produced by the
                   24th.

                   With that said, if Joe is able to get a start on some phones on
                   Friday or Monday, that would certainly be preferable, but if
                   there is some reason that this needs to be done on Tuesday,
                   then we can live with that if that is what it takes to get this
                   done right.

                   Best,
                   Tomas

                   Tomas Glaspy
                   Howarth & Smith
                   523 W. 6th Street, Suite 728
                   Los Angeles, CA 90014
                   Phone (213) 955-9400

                                                                                     JJ000146
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 174 of 379 PageID 16680


                   Fax (213) 622-0791
                   www.howarth-smith.com

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                   email and all copies of it. Thank you.


                   From: Huy DangVu <hdv@clearlightpartners.com>
                   Sent: Thursday, June 18, 2020 10:04 AM
                   To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy
                   <TGlaspy@howarth-smith.com>
                   Cc: Michael S. Kaye <msk@clearlightpartners.com>; Joseph
                   J. Schmidt <jjs@clearlightpartners.com>; Jeff R. Manassero
                   <jrm@clearlightpartners.com>
                   Subject: Re: Katzkin litigation - Cell Phone Searches

                   [Warning: EXTERNAL SENDER.]
                   Joe - I’m not sure this can wait until next Tuesday since it
                   needs to be filed Wednesday and Don and Tomas need time
                   to review.

                   Tomas - what are your thoughts?

                   Sent from my iPhone


                         On Jun 18, 2020, at 10:01 AM, Joe James
                         <joe.james@halcyonft.com> wrote:


                         Michael, Joe, Jeff -

                         Would it be possible for you gentleman to
                         meet me at the ClearLight office on Tuesday? I
                         will need about 30 minutes per device. Please
                         let me know if that day works for everyone and
                         what time would be best.

                         Thank you,

                         Joe James
                         Senior Information Services Advisor
                         Halcyon Financial Technology, L.P.
                         Email: joe.james@halcyonft.com
                         Direct: 415-960-4367



                                                                                  JJ000147
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 175 of 379 PageID 16681



                        HalcyonFT Support:
                        Non-Urgent: help@halcyonft.com
                        Urgent: 415-967-7276


                        From: Huy DangVu
                        <hdv@clearlightpartners.com>
                        Sent: Thursday, June 18, 2020 7:34 AM
                        To: Michael S. Kaye
                        <msk@clearlightpartners.com>; Joseph J.
                        Schmidt <jjs@clearlightpartners.com>; Jeff R.
                        Manassero <jrm@clearlightpartners.com>
                        Cc: Joe James <joe.james@halcyonft.com>;
                        Tomas Glaspy (tglaspy@howarth-smith.com)
                        <TGlaspy@howarth-smith.com>
                        Subject: Katzkin litigation - Cell Phone Searches

                        Michael, Joe, Jeff -

                        With respect to the Katzkin - Roadwire
                        litigation, we’ve been ordered by the Court to
                        perform searches on cell phone text messages
                        for certain search terms and for text messages
                        to and from certain individuals which contain
                        certain terms.

                        We need to provide the files by next Weds,
                        June 24th but we want to get the files to Don
                        Howarth ASAP for his review. Joe James will be
                        helping us with the searches and will reach out
                        to each of you to coordinate.


                        Huy Dang Vu
                        Chief Financial Officer
                        100 Bayview Circle, Suite 5000
                        Newport Beach, CA 92660
                        Tel: (949) 725-6619 |
                        Email: hdv@clearlightpartners.com




                               Begin forwarded message:

                               From: Tomas Glaspy


                                                                            JJ000148
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                             <TGlaspy@howarth-smith.com>
                             Subject: Searches
                             Date: June 17, 2020 at 9:24:51
                             PM PDT
                             To: Joe James
                             <joe.james@halcyonft.com>,
                             Bones Ijeoma
                             <bijeoma@allsafeit.com>, Roger
                             Rosas <rrosas@allsafeit.com>
                             Cc: Don Howarth
                             <DHowarth@howarth-
                             smith.com>, Tim Clyde
                             <tim.clyde@katzkin.com>, Peter
                             Kim <peter.kim@katzkin.com>,
                             'Huy DangVu'
                             <hdv@clearlightpartners.com>

                             Joe, Roger, and Bones,

                             I am attaching a few documents
                             here pursuant to our conference
                             this afternoon.

                             First, you will find a spreadsheet
                             that Peter and I prepared that
                             spells out the specific searches to
                             run. Note that the highlighted
                             entries are searches that you
                             do not need to run and can ignore
                             for now.

                             I am also attaching the
                             certification that the court
                             approved that you will need to
                             sign once the searches are
                             completed. I think you previously
                             saw this when we were discussing
                             the issue with the facilitator. Now
                             that we know what searches we
                             are going to run, we will fill in the
                             certification to reflect everything
                             that was searched for, but this will
                             give you an idea as to what you
                             will ultimately be certifying.




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     In terms of phones, ClearLight will need to search the phones of (1) Michael Kaye, (2) Joe Schmidt, and (3) Jeff
     Manassero. Katzkin will need to search the phones of (1) Tim Clyde, (2) Brooks Mayberry, (3) Ron Leslie, (4) Dave
     Sheffler, (5) Bill North, and (6) Peter Kim.

     As we discussed today, collecting that material will obviously be the first priority, so let us know if there is anything you
     need from us to expedite that process.

     Best,
     Tomas


     Tomas Glaspy
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, CA 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     www.howarth-smith.com

     CONFIDENTIALITY NOTICE: This email is for the sole use of intended recipients and may contain confidential, privileged
     information. If you are not an intended recipient, please contact sender by telephone or reply email and destroy this
     email and all copies of it. Thank you.




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 Notes for Counsel

           Agenda Items

           a. Reiterate attorney client privilege reminders on communication
           b. Magistrate’s ruling
           c. Timeline
                 i. Search criteria
                 ii. Send on a rolling basis. Complete by Monday 22nd. End of day
                 iii. Submission to court/other side by June 24th if at all possible
           d. Walk through the spreadsheet on Zoom
                 i. Preliminary, still finishing it up
                 ii. But will give IT team and idea of scope, and whose phones and PST’s they need to get
           e. General search protocol points
                 ii. Texts – provide deleted and regular texts found – no need to document deleted or unrecoverable texts
                       1. IT needs to physically have the phone to recover deleted messages
                       2. Sign certification
                 iii. Emails – when searching the text of the email
                       1. Do we need IT to physically get computers, or can they examine, then get a PST via fedex on a USB drive?
                       2. Exclude attachments
                       3. When say "search text" of email, Exclude header block (subject, to, from etc.), signature block, and attachments?
                             a. May need to do this manually later on the sig block
                       4. Sign certification
                       Need email address for to/from searches


                v. Which search # and what was searched - to Tomas




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        25 [to be finalized]                                                                                                                                                           Need to discuss overall request (see separate tab)




Completed Items
Req 25                                 CLP operating agreement                                  Misc                                                                                   Completed - Howarth and Smith have docs
Req 30-32                              Market Share Source Documents                                                                                                                   Completed - Howarth and Smith have docs


Note:       * Text message searches include: text message applicatinos, chat applications, other text related applications
           the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.
           See separate tab with cell phone numbers to aid in search
           ** Search text of email (ignore header, sig block, attachments)




                                                                                                                                                                                                                        JJ000158
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 Notes for Counsel

 Cell Phone Numbers (to be confirmed) for search protocols
  * Text message searches include: text message applicatinos, chat applications, other text related applications
 the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.


            ClearLight Phone Numbers
            Michael Kaye      (949) 338-8001
            Joe Schmidt       (714) 322-1798
            Orlan Davies      (551) 427-4911
            John Mcalpine     (714) 381-8219
            Jeff Manassero (714) 801-0186
            Elysha Thomas     (562) 234-9215
            Rachel Keal       (949) 378-3043
            Huy Dang Vu       (714) 717-3466




            Other Phone numbers
            John Held




                                                                                                                                                                                         JJ000159
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                            UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
    CLASSIC SOFT TRIM, INC.
    and ROADWIRE LLC,

                        Plaintiffs,

    v.                                                     Case No: 6:18-cv-1237-Orl-78GJK

    ROSS ALBERT, KATZKIN LEATHER,
    INC., CLEARLIGHT PARTNERS, LLC,
    and CLEARLIGHT PARTNERS
    MANAGEMENT, LLC,

                      Defendants.
    ______________________________

                                          ORDER
          This cause came on for consideration without oral argument on the following motions:

          MOTION:       PLAINTIFF ROADWIRE’S MOTION TO COMPEL
                        FURTHER RESPONSES TO PLAINTIFF’S RULE 34
                        DEMAND, AND REQUEST FOR COURT ORDERED
                        FORENSIC EXAMINATION OF CLEARLIGHT
                        PARTNERS, LLC ELECTRONIC DEVICES (Doc. No. 228)

          FILED:        March 10, 2020

          THEREON it is ORDERED that the Motion is GRANTED in part and
          DENIED in part.

          _______________________________________________________________

          MOTION:       PLAINTIFF ROADWIRE’S MOTION TO COMPEL
                        FURTHER RESPONSES TO PLAINTIFF’S RULE 34
                        DEMAND, AND REQUEST FOR COURT ORDERED
                        FORENSIC EXAMINATION OF KATZKIN LEATHER,
                        INC.’S ELECTRONIC DEVICES (Doc. No. 230)

          FILED:        MARCH 14, 2020

          ________________________________________________________________




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               THEREON it is ORDERED that the motion is GRANTED in part and
               DENIED in part.

               On March 10, 2020, Roadwire filed a Motion to Compel Further Responses to Plaintiff’s

    Rule 34 Demand, and Request for Court Ordered Forensic Examination of Clearlight Partners,

    LLC Electronic Devices (“Roadwire’s Motion to Compel Clearlight”). Doc. No. 228. On March

    24, 2020, Clearlight filed an opposition in response to Roadwire’s Motion to Compel Clearlight

    (“Clearlight’s Response to the Motion to Compel”). Doc. No. 243.

               On March 14, 2020, Roadwire filed a Motion to Compel Further Responses to Plaintiff’s

    Rule 34 Demand, and Request for Court Ordered Forensic Examination of Katzkin Leather, Inc.’s

    Electronic Devices (“Roadwire’s Motion to Compel Katzkin”). Doc. No. 230. On March 30,

    2020, Katzkin filed a response in opposition to Roadwire’s Motion to Compel Katzkin (“Katzkin’s

    Response to the Motion to Compel”). Doc. No. 250.

               On May 5, 2020, the Court issued an order deferring any ruling on these motions pending

    an additional meet and confer between the parties. Doc. No. 267. The parties were encouraged to

    employ a neutral mediator/facilitator to work through the meet and confer with them. Id. The

    parties hired attorney Carolyn K. Alvarez to assist them. Doc. No. 282. On June 4, 2020 and

    June 8, 2020, Ms. Alvarez, filed an initial report (“Initial Report”) and a supplemental report

    (“Supplemental Report”) on behalf of the parties. 1 Doc. Nos. 282 and 283. The parties have

    resolved multiple disputes as detailed in the Initial Report and the Supplemental Report but

    disputed issues remain. Doc. Nos. 282-1, 283 at 2.

               With respect to the remaining disputed requests to produce, identified in both reports, the

    Court finds as follows:




    1
        The facilitator’s full reports are incorporated herein by reference.



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              Request No. 25 to Clearlight Partners

              Clearlight shall disclose the operating agreement referenced in the Initial Report to

    Plaintiffs’ counsel. Doc. No. 282-2 at 1. The Operating Agreement shall be disclosed as an

    Attorneys’ Eyes Only document.

              Requests Nos. 30-32 to Clearlight Partners

              Defendants shall provide the source documents they offered to provide to Plaintiffs in lieu

    of “all documents that mention the market share held by Katzkin, CST, or Roadwire from 2007 to

    the present.” Doc. No. 282-2 at 2.

              Request No. 38 to Clearlight Partners

              Defendants shall conduct an ESI search (including Microsoft Outlook .pst files, text

    messaging, and email archival systems) and regular document search for any responsive

    documents which reference Greg Vogel from January 1, 2016 to June 1, 2016. 2 Doc. No. 282-2

    at 3-4.

              ESI Certification Request

              Defendants have agreed to provide an ESI Certification as part of this process. Doc. No.

    282 at 2-3. Both parties have submitted proposed ESI Certifications, and Ms. Alvarez has

    provided a redlined copy as well. Doc. Nos. 282-5, 282-6, 282-7. While the Court does not pass

    on the necessity of the ESI Certification, it finds that Defendants’ proposed ESI Certification is

    sufficient. Doc. No. 282-5.

              ESI Search Protocols

              In the Supplemental Report, the parties have addressed twenty-five specifically

    enumerated ESI search requests.             Doc. No. 283.         Defendants have proposed compromise


    2
      This directive includes the disputed ESI searches referenced in the Supplemental Report with respect to Mr. Vogel
    as well. Doc. No. 283.



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    searches for each of these ESI requests made by Plaintiffs, and Plaintiffs have offered responses

    to those proposals accepting some, accepting some with conditions, and objecting to others in

    whole or in part. Id. In response, Defendants have made additional concessions. Id. Having

    reviewed the parties’ positions, the Court finds that the ESI searches shall be performed as

    proposed by Defendants with the following modifications 3: 1) as to search number 6, Defendants

    shall perform the identified ESI search for emails from Michael Kaye to Peter Kim for the time

    period December 1, 2014 to July 1, 2015; and 2) as to search number 25, Defendants shall search

    for references to the employees identified by Plaintiffs in this request for a time period from six

    months before the employees’ hiring date to three months after their hiring date.

            Accordingly, it is ORDERED that Roadwire’s Motion to Compel Clearlight (Doc. No.

    228) and Roadwire’s Motion to Compel Katzkin (Doc. No. 230) are GRANTED in part and

    DENIED in part as follows:

            1.       Defendants Clearlight and Katzkin shall provide responses to discovery and

                     conduct ESI searches as set forth in this Order;

            2.       Defendants Clearlight and Katzkin shall provide responses to discovery as agreed

                     by the parties as reflected in the facilitator’s Initial Report and Supplemental Report

                     (Doc. Nos. 282 and 283); and

            3.       The Motions are otherwise DENIED.

            DONE in Orlando, Florida on June 17, 2020.




    3
      The Court intends that Defendants’ proposed searches include the concessions made by Defendants in response to
    Plaintiffs’ concerns which may not appear in the original proposed compromise search as stated. Doc. No. 283.



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    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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          Joint Statement on ESI Search Compromise
           Note each of these recitations of the requests are summarized versions provided by Defendants.
            They do not reflect the offers of Plaintiffs made in several joint facilitated sessions as part of a
            global compromise and they are not accurate wording of the disputed requests. Plaintiffs will
            provide the actual version of each request a issue in the motions, and if Plaintiffs are submitting a
            more narrowed request, it will be noted, with the narrowed version placed in italics.
           Defendants’ response to Plaintiffs’ note: These are not summarized versions of requests.
            Defendants’ numbered proposals are offers to compromise based on the requests noted in
            brackets. The original requests are recited below. The compromises tried to combine similar
            requests and used time periods or other limitations agreed upon during the joint conference. There
            now appear to be disputes regarding what limitations were agreed to by Plaintiffs during that
            conference, which are addressed in Defendants’ position below.
           Plaintiff’s Reply: The Facilitator was part of the discussion and did not invite either party to
            discuss the negotiations. Where Defendants have inserted their version of the negotiation,
            Plaintiffs will reply.



    1.Documents or emails regarding CLP or
      Katzkin visits to Florida to meet with
      Albert (July 1, 2015 to April 1, 2016)
      [Katzkin 31, 32]
                     Note Plaintiffs object to this rewording of Katzkin 31 and 32, and did not propose this. It appears
                      to have combined requests 30-34 with unilateral changes to them. Here are the actual requests at
                      issue:
                     Defendants’ response: Defendants proposed compromise is not a rewording of the requests. It is a
                      proposal to compromise.

    31.   All Writings related to visits by CLM and or CLP employees to Florida to meet with
    Ross Albert.
    32.        All Writings related to visits by Katzkin employees to Florida to meet with Ross Albert.

    33.        All Writings related to visits by Katzkin employees to Florida to meet with Danny
    Valencia.
    34.    All Writings related to visits by Katzkin employees to Florida to meet with a leather
    Restyler(s).


              Defendants’ proposed compromise:
              Katzkin will do an ESI search of .pst
              files of Tim Clyde, Brooks Mayberry,
              Ron Leslie, Dave Sheffler, and Bill


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           North for emails containing the terms
           “Florida visit” or “Orlando visit,” and
           will search its hard copy files for
           responsive documents for the time
           period July 1, 2015 to April 1, 2016.
    Plaintiffs’ Position:

    These four seek an “all writings” search as stored reports and memos are known to exist that
    include these terms, in addition to emails. Eliminating a complete ESI search pursuant to the
    totality of data bases, and instead only searching the CLP “Global Rely Email Archive”
    materially alters the IT certification procedure that is under submission. The IT certification is
    designed to include confirmation that all ESI back up locations for both defendants have been
    searched, not just selective back up locations. The totality of the Orlando events during this time
    frame, including the involvement of Katzkin employees meetings with Plaintiffs’ customers,
    former employees, and confidential financial information is highly relevant to Plaintiffs’ antitrust
    claims. If after the complete “Writings” search is performed, including ESI searches, the volume
    of records returned is certified as voluminous, the parties can further meet and confer to refine
    the searches.

    Defendants’ Position:

    Defendants are not proposing to search ClearLight’s Global Relay Email Archive in connection
    with this Request. As to these requests, Katzkin proposed “Florida visit” and “Orlando visit” as
    search terms in an effort to conduct a reasonable search. In order to get this resolved, Defendants
    can represent that the only individuals who traveled to Florida to meet with Ross Albert in this
    time period were Joe Schmidt, Tim Clyde, Ron Leslie, and Dave Sheffler. Katzkin and
    ClearLight are willing search the files of these individuals for anything related to these visits to
    Florida. This provides Plaintiffs what they said they wanted, and manually reviewing “all
    writings” in Katzkin’s possession to determine if that writing is responsive would be unduly
    burdensome and disproportionate to the needs of the case, and totally unnecessary since
    Defendants will provide what is in the files of these individuals, who are the only ones to travel
    to Florida for the time period Plaintiffs agreed upon, July 1, 2015 to April 1, 2016 to visit Ross
    Albert.

    Plaintiffs Reply: This is the only requests that Defendant have substitute the word “files” for
    the ESI search. It is concerning as it appears that it is designed not to actually search ESI on the
    computers of several of the individuals, but only their “files”. Plaintiffs do not know what form
    the records have been kept, and are seeking a review of both ESI and hard copies, such as reports
    for each visit.




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       2.“Ron Leslie” and “Ross” or “Albert” in
        the same document or email (January 1,
        2015 to July 1, 2018) [Katzkin 76, CLP
        80]

                  Note Plaintiffs object to this rewording of Katzkin 76 and CLP 80 and did not propose this. Here
                   are the actual requests at issue:
                  Defendants’ Response: Defendants’ compromise position is set out below. Plaintiffs agreed to
                   some limitations as discussed there, but this is Defendants’ proposal, not Plaintiffs’.

    76. All Writings that contain the name Ron Leslie (Leslie) and Ross or Albert in the
    same document.
    80. All text message that that were sent to or from Ron Leslie, on which Ron Leslie is
    copied, or which reflect, mention, refer to, bear upon, or relate to Ron Leslie.


           Defendants’ proposed compromise:
           Katzkin and ClearLight will perform an
           ESI search of the individuals likely to
           have responsive information, which are
           the same ones Plaintiffs have focused
           on as the relevant individuals to
           search, as follows: ClearLight will
           search its Global Relay Email Archive
           for emails to or from Michael Kaye, Joe
           Schmidt, Jeff Manassero, Orlan Davies
           and Peter Kim, and Katzkin will search
           the .pst files of Tim Clyde, Brooks
           Mayberry, Ron Leslie, Dave Sheffler,
           and Bill North. That search will be
           limited to emails that contain the
           words “Ron Leslie” and “Ross” or

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           “Albert” in the text of the email for
           the time period January 1, 2015 to July
           1, 2018.

    Plaintiffs’ Position:

    This is an “all writings” search as stored reports and memos are known to exist that include these
    terms, in addition to emails. Eliminating a complete ESI search pursuant to the totality of data
    bases, and instead only searching the CLP “Global Rely Email Archive” materially alters the IT
    certification procedure that is under submission. The IT certification is designed to include
    confirmation that all ESI back up locations for both defendants have been searched, not just
    selective back up locations. The totality of the Orlando events during this time frame, including
    the involvement of Leslie with Plaintiffs’ customers, former employees, and confidential
    financial information is highly relevant to Plaintiffs’ antitrust claims. If after the complete
    “Writings” search is performed, including ESI searches, the volume of records returned is
    certified as voluminous, the parties can further meet and confer to refine the searches.

    Defendants’ Position:

    During the parties joint conference, Plaintiffs agreed to limit Request 76 to Katzkin and Request
    80 to ClearLight to emails to or from Michael Kaye, Joe Schmidt, Jeff Manassero, Orlan Davies,
    Peter Kim, Tim Clyde, Brooks Mayberry, Ron Leslie, Dave Sheffler, and Bill North for the
    period July 1, 2015 to April 1, 2016, which contain the names Ron Leslie and Ross Albert.
    Defendants’ compromise proposal was in response to those limitations, which make it reasonably
    manageable.

    Defendants are not proposing to modify the IT certification that they have submitted, nor are
    they excluding relevant databases of potential responsive documents. ClearLight’s Global Relay
    archive system is the most accurate and comprehensive way to search ClearLight’s emails. It is
    not just a “backup,” it is the archival system that is used, and emails cannot be deleted from it.
    The system captures all emails sent or received by ClearLight, and even if an individual deletes
    an email for their account, the email is preserved nonetheless in the Global Relay archive.
    Having ClearLight generate and search .PST files would simply be a redundant and less accurate
    version of the Global Rely Archive. The IT certification was intended as a way for the relevant
    IT consultants to confirm that the searches agreed to by the parties were executed, not a way to
    define the scope of the searches themselves. Defendants’ proposal is fully in keeping with the
    certification submitted.




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    Plaintiffs Reply: Plaintiffs proposed several suggestions limitations as part of a global
    compromise, and Defendants rejected those proposals. Plainitffs do not object to the limitations
    of names, but do not agree to the time frame limitation. Conduct back to 2007 is at issues.
    Plaintiffs also have requested an IT person verify what Defense counsel understands about the
    CLP archive system. Once verified by and IT person, it may be acceptable.



    3.Text messages from Michael Kaye to Orlan
      Davies (January 1, 2014 to Davies’
      departure from CLP) [Katzkin 96, CLP 93]
                Note Plaintiffs object to this rewording of Katzkin 96 and CLP 93 and did not
                 propose this. Here are the actual requests at issue:
                Defendants’ response: These are not rewording of requests. They are Defendants’
                 compromise proposals.
           96. All text messages to or from Michael Kaye to Orlan Davies that discuss any topic
           related to Katzkin, Roadwire or CST.
           93. All text messages to or from Michael Kaye to Orlan Davies that discuss any topic
            Related to Roadwire or CST.

    Defendants’ proposed compromise: Michael
    Kaye’s cell phone is not owned by
    ClearLight and is not used to conduct
    substantive business matters by text
    message. Nonetheless, Mr. Kaye will make
    his phone available for limited searches of
    text message that are narrowly tailored to
    business matters as follows: ClearLight
    will have its IT consultant obtain the cell
    phone, power it up, and, using password
    access as appropriate, will do a search for
    responsive text messages including all text
    message applications, chat applications,


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    and other text related applications for the
    period January 1, 2014 to Mr. Davies’
    departure from ClearLight in 2018.
     Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from. The date ranges are appropriate to
    include 2007 to Mr. Davies departure in 2014 as 2007 to the present is relevant to Plaintiffs’
    antitrust claims.

    Defendants’ Position:

    During the parties’ joint conference, Plaintiffs agreed to limit Request 96 to Katzkin and Request
    93 to ClearLight to the time period of January 1, 2014 through Orlan Davies’ departure from
    ClearLight in 2018. As Defendants have informed Plaintiffs, the search performed by the IT
    consultants will include both deleted and current text messages to or from the relevant
    individuals. Responsive text messages will be produced whether they are current or deleted. If
    Plaintiffs wish to again alter the time period to 2007 to 2014, that is acceptable to Defendants.



    Plaintiffs Reply: As long as this search is certified, Defendants position is acceptable.



    4.Text messages from Orlan Davies to
      Katzkin (January 1, 2014 to Davies’
      departure from CLP) [Katzkin 103]
                Note Plaintiffs object to this rewording of Katzkin 103 and did not propose this.
                 Here is the actual request at issue:
                Defendants’ response: These are not rewording of requests. They are Defendants’
                 compromise proposals
    103.    All text messages to or from Orlan Davies for the dates of March 1, 2016 to April 1,
            2016 sent to any Katzkin employee
            Defendants’ proposed compromise: Orlan
            Davies is no longer employed by
            ClearLight, and ClearLight does not


                                                                                            JJ000171
Case
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           own, possess, or control Mr. Davies
           cell phone to perform a search.
           Katzkin will perform an ESI search of
           the text messages received by
           individuals likely to have responsive
           information and which Plaintiffs have
           focused on as the relevant individuals
           to search, as follows: Tim Clyde,
           Brooks Mayberry, Ron Leslie, Dave
           Sheffler, and Bill North. Katzkin will
           have its IT consultant obtain or, for
           remote individuals such as Ron Leslie,
           Dave Sheffler, Bill North, and Brooks
           Mayberry, remotely access the cell
           phones. For each phone, the IT
           consultant will power it up, and, using
           password access as appropriate, will do
           a search for responsive text messages
           including all text message
           applications, chat applications, and
           other text related applications for
           text messages sent by Orlan Davies for
           the period January 1, 2014 to Mr.
           Davies’ departure from ClearLight in
           2018.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from.

    Defendants’ Position:



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Case
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    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted. During the parties joint
    conference, Plaintiffs proposed a time limit of January 1, 2014 to Orlan Davies’ departure from
    CLP in 2018. If Plaintiffs wish to again alter the time period for the search to March 1, 2016 to
    April 1, 2016, that is acceptable to Defendants.

    Plaintiffs Reply: As long as this search is certified, Defendants position is acceptable



    5.Does Michael Kaye have other email
      addresses besides CLP one? [Katzkin 8,
      CLM 10]
                Note Plaintiffs object to this rewording of Katzkin 8 and did not propose this.
                 Although the parties discussed whether Michael Kaye has other emails, that has
                 not been certified by any IT person. Here is the actual request at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of the
                 requests. It is a response to what was asked by Plaintiffs in the joint session, in
                 order to reach a compromise.
    Request No. 8 All Michael Kaye emails to any and all Katzkin employees between January 2014
    and the present that discuss Classic Soft Trim, or any version of their name.

    Request No.10. All Michael Kaye emails to any and all CLM employees between January 2014
    and the present that discuss Katzkin business.


           Defendants’ response to Plaintiffs:
           msk@clearlightpartners.com is the only
           email address that Mr. Kaye uses to
           conduct ClearLight business, whether in
           connection with Katzkin or otherwise.
    Plaintiffs Position

    The CLP control of Katzkin, including but not limited to the method by which it exercised its
    voting control on the Katzkin board of directors as Class II directors, who have two to one votes
    over non CLP employees that also were on the Katzkin board, is a material dispute. The content




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    of Senior partner Kaye’s emails to and from Katkzin will provide material evidence on this
    dispute. Attachments also must be included with no editing or deleting.

    Defendants’ Position:

    Defendants discussed in the joint session that these requests were burdensome and duplicative of
    resolutions previously agreed upon with Plaintiffs and searches done as agreed. Plaintiffs asked
    whether the msk@clearlightpartners.com was the only email address that Mr. Kaye uses to
    conduct ClearLight business, whether in connection with Katzkin or otherwise, and Defendants
    confirmed in this response that it was. That was supposed to resolve these requests as having
    already been addressed by the prior agreement and search for emails to or from Michael Kaye at
    his email address msk@clearlightpartners.com. During the parties’ joint conference, Plaintiffs
    took the position that those prior requests were not sufficient because Michael Kaye could have
    other relevant email addresses that were not searched. Defendants have confirmed that there is
    no other relevant email address for Mr. Kaye. As to email attachments, which Plaintiffs raise in
    their statement, but which are not relevant here since this was supposed to be resolved, as
    Defendants have informed Plaintiffs, where relevant its IT consultants will certify the search was
    done and that all emails were turned over to counsel with attachments, so that they can be
    reviewed by counsel for purposes such as responsiveness and privilege prior to production to
    Plaintiffs.



    Plaintiffs Reply: This response avoids making any commitment to actually search Michal Kaye
    emails. Plaintiffs did not offer to resolve this by an uncertified statement of counsel that Mr.
    Kaye does not have or use for business a personal email. Once certified, that would eliminate
    that personal email account, but not the request to search and produce these highly probative
    emails which go to the disputed issue of CLP control.



    6.Emails from Michael Kaye to Peter Kim
      (December 1, 2014 to July 1, 2015)
      [Katzkin 43]
     43. Produce all emails from Michael Kaye to Peter Kim between December 1, 2014 and
         July 1, 2015.


           Defendants’ proposed compromise:
           ClearLight will conduct an ESI search



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           of its Global Relay Email Archive for
           emails from Michael Kaye to Peter Kim
           for the time period December 31, 2014
           to June 1, 2015. As Mr. Kim continued
           to perform services in his capacity as
           a board member of unrelated ClearLight
           portfolio companies, that search will
           be limited to emails relating to
           Katzkin.
    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.
    Eliminating the month of December 2014 is unacceptable as Kim testified that on or about
    December 1, 2014 he made a transition to Katzkin. Limiting content to Katzkin is the call of the
    request. Attachments also must be included with no editing or deleting.

    Defendants’ Position:

    As set forth above, ClearLight’s Global Relay archive system is the most accurate and
    comprehensive way to search ClearLight’s emails. It is not just a “backup,” it is the archival
    system that is used, and emails cannot be deleted from it. The system captures all emails sent or
    received by ClearLight, and even if an individual deletes an email for their account, the email is
    preserved nonetheless in the Global Relay archive. Having ClearLight generate and search .PST
    files would simply be a redundant and less accurate version of the Global Rely Archive, and
    Plaintiffs have offered no explanation as to why ClearLight should generate and search .PST files
    where such action would not result in the production of any additional emails and would only
    serve to increase the time and expense of this process to ClearLight.. As to email attachments, as
    set forth above, the IT consultants will certify the search was done and that all emails were
    turned over to counsel with attachments, so that they can be reviewed by counsel for purposes
    such as responsiveness and privilege prior to production to Plaintiffs.

    As to Peter Kim, it is not true that he “made a transition to Katzkin” on or about December 1,
    2014. At his deposition Mr. Kim testified that he “left ClearLight Partners in late 2014 ” and
    “became an employee of Katzkin Leather on June 1, 2015.”




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    Plaintiffs Reply: Mr. Kims involvement with CLP and Katzkin is alleged in the complaint as a
    key fact to CLP’s joint liability. Searching one year for emails is not burdensome. As to
    redundancy, Plaintiffs do not have any IT certification that states this, but if one is signed, then
    that moots this issue. Plaintiffs do not want to waive that certification point up front.



    7.Michael Kaye texts to Katzkin employees
    (March 1, 2015 to April 1, 2016). [Katzkin
    90]
                Note: Plaintiffs object to Defendants rewording of Katzkin 90 and did not propose
                 this. Here is the actual request at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of the
                 requests. It is a proposal to compromise.
                   90. For all phones: All text messages to or from Michael Kaye for the dates of
                   March 1, 2015 to April 1, 2016 sent to any Katzkin employee.

           Defendants’ proposed compromise:
           Michael Kaye’s cell phone is not owned
           by ClearLight and is not used to
           conduct substantive business matters by
           text message. Nonetheless, Mr. Kaye
           will make his phone available for
           limited searches of text message that
           are narrowly tailored to business
           matters as follows: ClearLight will
           have its IT consultant obtain the cell
           phone, power it up, and, using password
           access as appropriate, will do an
           search for responsive text messages
           including all text message
           applications, chat applications, and
           other text related applications for


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           text messages sent by Michael Kaye to
           employees of Katzkin for the period
           March 1, 2015 to April 1, 2016.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from.

    Defendants’ Position:

    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted.

    Plaintiffs Reply: As long as this search is certified, Defendants position is acceptable

    8.Michael Kaye texts to CLP employees re:
    Katzkin (March 1, 2015 to April 1, 2016)
    [CLP 87]
                Note: Plaintiffs object to Defendants rewording of CLP 87 and did not propose
                 this. It appears the date ranges have been expanded beyond what was requested.
                 Here is the actual request at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of the
                 requests. It is a proposal to compromise. As to the date ranges, the version of
                 Defendants’ proposal that Plaintiffs reference contained a typo with respect to the
                 date range to be searched. The correct time period is March 1, 2016 to April 1,
                 2016, which ClearLight is not proposing to change for its search.
        87. All text messages to or from Michael Kaye for the dates of March 1, 2016 to April 1,
           2016 sent to any CLP/CLM employee.


           Defendants’ proposed compromise:
           Michael Kaye’s cell phone is not owned
           by ClearLight and is not used to
           conduct substantive business matters by



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           text message. Nonetheless, Mr. Kaye
           will make his phone available for
           limited searches of text message that
           are narrowly tailored to business
           matters as follows: ClearLight will
           have its IT consultant obtain the cell
           phone, power it up, and, using password
           access as appropriate, will do an
           search for responsive text messages
           including all text message
           applications, chat applications, and
           other text related applications for
           messages sent by Michael Kaye to
           employees of ClearLight regarding
           Katzkin for the period March 1, 2016 to
           April 1, 2016.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from. Plaintiffs do not object to the
    expanded date range.

    Defendants’ Position:

    As Defendants have previously informed Plaintiffs, the search performed by the IT consultants
    will include both deleted and current text messages to or from the relevant individuals.
    Responsive text messages will be produced whether they are current or deleted.

    Plaintiffs Reply: As long as this search is certified, Defendants position is acceptable



    9.Michael Kay texts to Brooks Mayberry, Tim
    Clyde, Mike Wattles, Peter Kim, John



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    McAlpine, Orlan Davies, Jeff Manassero,
    Elysha Thomas, Rachel Keal, Elizabeth
    Chavez, or Huy discussing CST, RW, or
    instructing Katzkin people on what to do
    (July 1, 2015 to July 1, 2018) [Katzkin 91,
    92, 93, 94, 95, 96, 97, 98, 99, 100, 101;
    CLP 88, 89, 90, 91, 92, 93, 94, 95, 96, 97,
    98]


                Note: Plaintiffs object to Defendants rewording of Katzkin 91-101 and related
                 CLP questions, and did not propose this. Here are the actual requests at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of the
                 requests. It is a proposal to compromise.
    91. (CLP 88)All text messages to or from Michael Kaye to Brooks Mayberry that discuss any
    topic related to Katzkin, Roadwire or CST.
    92. (CLP 89) All text messages to or from Michael Kaye to Tim Clyde that discuss any topic
    related to Katzkin, Roadwire or CST.
     93. (CLP 90) All text messages to or from Michael Kaye to Mike Wattles that discuss any topic
     related to Katzkin, Roadwire or CST.
    94. (CLP 91) All text messages to or from Michael Kaye to Peter Kim that discuss any topic
        related to Katzkin, Roadwire or CST.
    95. (CLP 92) All text messages to or from Michael Kaye to John McAlpine that discuss any
        topic related to Katzkin, Roadwire or CST.
    96. (CLP 93) All text messages to or from Michael Kaye to Orlan Davies that discuss any
        topic related toKatzkin, Roadwire or CST.
    97. (CLP 94) All text messages to or from Michael Kaye to Jeff Manassero that discuss any
        topic related to Katzkin, Roadwire or CST.
    98. (CLP 95) All text messages to or from Michael Kaye to Elysha Thomas that discuss any
        topic related to Roadwire, Katzkin or CST.
    99. (CLP 96) All text messages to or from Michael Kaye to Rachel Keal that discuss any topic
        related to Katzkin, Roadwire or CST.
    100.(CLP 97) All text messages to or from Michael Kaye to Elizabeth Chavez that discuss any
        topic related to Katzkin, Roadwire or CST.
    101.(CLP 98)
    (CLP 99) All text messages to or from Michael Kaye to Huy Dan g Vu that discuss any topic
    related to Roadwire or CST.




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           Defendants’ proposed compromise

    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from. Creating a subjective screening for
    counsel to eliminate text messages from CLP if they do not “instruct Katzkin people on what to
    do” deprives Plaintiffs of evidence of control by CLP of Katzkin, which is a material dispute.
    Plaintiffs proposed alternative language such any text messages to “Katzkin’s agents approving
    or disapproving conduct or directing conduct.”

    Defendants’ Position:

    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted. Defendants have also agreed to
    accept the language proposed by Plaintiffs and will produce text messages to “Katzkin’s agents
    approving or disapproving conduct or directing conduct,” as requested by Plaintiffs.

    Plaintiffs Reply: As long as this search is certified, Defendants position is acceptable. The
    subjective review by counsel of each email, if adopted, is requested to have some parameters.
    Control is the issue and circumstantial evidence as well as direct evidence is potentially
    admissible on this.



    10.Peter Kim text messages to or from
    Michael Kaye, Joe Schmidt, Jeff Manassero,
    Orlan Davies, Tim Clyde, Dave Sheffler, Ron
    Leslie, Bill North, Brooks Mayberry (March
    1, 2016 to April 1, 2016). [Katzkin 89, CLP
    86]
                Note: Plaintiffs object to Defendants rewording of Katzkin 89 and CLP 86 and did
                 not propose this. Here are the actual requests at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of the
                 requests. It is a proposal to compromise.
        89. For all phones, except Peter Kims: All text messages to or from Peter Kim for the dates



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        of March 1, 2016 to April 1, 2016.
        86. All text messages to or from Peter Kim for the dates of March 1, 2016 to April 1, 2016
        sent to any CLP/CLM employee.

           Defendants’ proposed compromise:
           Katzkin will have its IT consultant
           obtain Peter Kim’s cell phone, power it
           up, and, using password access as
           appropriate, will do an search for
           responsive text messages including all
           text message applications, chat
           applications, and other text related
           applications for text messages to or
           from Michael Kaye, Joe Schmidt, Jeff
           Manassero, Orlan Davies, Tim Clyde,
           Dave Sheffler, Ron Leslie, Bill North,
           and Brooks Mayberry for the time period
           March 1, 2016 to April 1, 2016.

    Plaintiffs’ Position:

           The process must include IT certification that deleted text messages have been searched
           for, including from backup storage locations, or if they are not retrievable, the reasons
           why. Both to and from text messages must be searched for, not just from

    Defendants’ Position:

    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted.

    Plaintiffs Reply: As long as this search is certified, Defendants position is acceptable



    11.Emails to or from Michael Kaye, Joe
    Schmidt, Jeff Manassero, Orlan Davies, Tim


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    Clyde, Dave Sheffler, Ron Leslie, Bill
    North, and Brooks Mayberry that mention
    Peter Kim [Katzkin 109, CLP 106]
              Note: Plaintiffs object to Defendants rewording of Katzkin 109 and CLP 106 and
               did not propose this. The dates were transposed in the original requests and
               Plaintiffs agree that the intended date range is 12/1/14 -12/31/15. Here are the
               actual requests at issue:
              Defendants’ response: Defendants’ proposed compromise is not a rewording of the
               requests. It is a proposal to compromise.

       109. Search All Microsoft Outlook .pst files that contain the name Peter Kim, or any version
       thereof, in any email dated between December 1, 2014 and December 31, 2015.
       106.Search All Microsoft Outlook .pst files that contain the name Peter Kim, or any version
       thereof, in any email dated between December 1, 2014 and December 31, 2015.


          Defendants’ proposed compromise:
          Katzkin and ClearLight will perform an
          ESI search of the individuals
          identified by Plaintiffs as follows:
          ClearLight will search its Global Rely
          Email Archive for emails to or from
          Michael Kaye, Joe Schmidt, Jeff
          Manassero, and Orlan Davies, and
          Katzkin will search the .pst files of
          Tim Clyde, Brooks Mayberry, Ron Leslie,
          Dave Sheffler, and Bill North. That
          search will be limited to the time
          period December 31, 2014 to June 1,
          2015 and to emails that contain the
          words “Peter Kim” and “Katzkin” in the
          text of the emails because Mr. Kim
          continued to perform services in his


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           capacity as a board member of unrelated
           ClearLight portfolio companies in this
           time period.
    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.
    Eliminating the months of June 1, 2015 to December 2015 is unacceptable as Kim testified that
    he was involved with Ross Albert’s hire during that time frame. Also arbitrarily limiting the
    emails to one that have “Katzkin” and “Kim” is certain to deprive Plaintiffs of most if not all
    relevant emails. Attachments also must be included with no editing or deleting.

    Defendants’ Position:

    During the joint conference Plaintiffs agreed to limit these requests to the time period December
    2014 to June 2015, and Defendants proposed their compromise accordingly. As explained in
    Defendants’ proposal above, during the relevant time period, Mr. Kim continued to perform
    services in his capacity as a board member of unrelated ClearLight portfolio companies and so
    Defendants included “Katzkin” as an additional search term to narrow the request to eliminate
    irrelevant correspondence solely relating to those unrelated companies. The Requests call for
    emails to and from ClearLight and Katzkin individuals which mention Peter Kim. “Peter Kim” is
    thus a search term included within the request itself, so we do not understand the objection to it.
    Defendants have offered to use alternative terms such as “Albert,” “Classic Soft Trim” or
    “Roadwire” instead of Katzkin, along with “Peter Kim”.



    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to search
    ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and emails
    cannot be deleted from it. The system captures all emails sent or received by ClearLight, and
    even if an individual deletes an email for their account, the email is preserved nonetheless in the
    Global Relay archive. Having ClearLight generate and search .PST files would simply be a
    redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the
    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.




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    Plaintiffs Reply: As long as an IT specialist certifies the subparts of the proposed form, and
    identifies what if any data base exist but was not searched, Defendants position is acceptable

    12.“Ron Leslie” and “Orlando” in same
    document or email (January 1, 2015 to July
    1, 2018) [Katzkin 75]
                Note: Plaintiffs object to Defendants rewording of Katzkin 75 and did not propose
                 this, however they do agree to a date range limitation. Here is the actual request
                 now at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of
                 the requests. It is a proposal to compromise.

                   75. All Writings that contain the name Ron Leslie (Leslie) and Orlando in the
                   same document from January 1, 2015 to July 1, 2018.


           Defendants’ proposed compromise:
           Katzkin and ClearLight will perform an
           ESI search of the individuals likely to
           have responsive information and which
           Plaintiffs have focused on as the
           relevant individuals to search, as
           follows: ClearLight will search its
           Global Rely Email Archive for emails to
           or from Michael Kaye, Joe Schmidt, Jeff
           Manassero, Orlan Davies and Peter Kim,
           and Katzkin will search the .pst files
           of Tim Clyde, Brooks Mayberry, Ron
           Leslie, Dave Sheffler, and Bill North.
           Defendants require a narrower time
           period or additional search terms in
           beyond “Ron Leslie” and “Orlando” in
           the text of an email or document in


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           order to conduct a reasonable search as
           these terms alone would include a high
           volume of routine and irrelevant
           documents concerning product reports,
           customer files, new customer
           applications, and other routine
           business transactions that are beyond
           the scope or relevance of this case.
    Plaintiffs’ Position

    This is an “all writings” search as stored reports and memos are known to exist that include these
    terms, in addition to emails. Eliminating a complete ESI search pursuant to the totality of data
    bases, and instead only searching the CLP “Global Rely Email Archive” materially alters the IT
    certification procedure that is under submission. The IT certification is designed to include
    confirmation that all ESI back up locations for both defendants have been searched, not just
    selective back up locations. The totality of the Orlando events during this time frame, including
    the involvement of Leslie with Plaintiffs’ customers, former employees, and confidential
    financial information is highly relevant to Plaintiffs’ antitrust claims. If after the complete
    “Writings” search is performed, including ESI searches, the volume of records returned is
    certified as voluminous, the parties can further meet and confer to refine the searches.

    Defendants’ Position:

    During the joint conference Plaintiffs agreed to limit these requests to the time period January 1,
    2015 to July 1, 2018, and Defendants proposed their compromise accordingly. And as set forth
    above, Defendants are not proposing to modify the IT certification that they have submitted, nor
    are they excluding relevant databases of potential responsive documents. ClearLight’s Global
    Relay archive system is the most accurate and comprehensive way to search ClearLight’s emails.
    It is not just a “backup,” it is the archival system that is used, and emails cannot be deleted from
    it. The system captures all emails sent or received by ClearLight, and even if an individual
    deletes an email for their account, the email is preserved nonetheless in the Global Relay archive.
    Having ClearLight generate and search .PST files would simply be a redundant and less accurate
    version of the Global Rely Archive. The IT certification was intended as a way for the relevant
    IT consultants to confirm that the searches agreed to by the parties were executed, not a way to
    define the scope of the searches themselves. Defendants’ proposal is fully in keeping with the
    certification submitted.




                                                                                            JJ000185
Case
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    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving other parts.

    13.Text messages to/from Ron Leslie that
    reference Ross Albert, Dave Sheffler, or
    John Held (January 1, 2015 to July 1, 2018)
    [Katzkin 85]


                Note: Plaintiffs object to Defendants rewording of Katzkin 85 and did not propose
                 this, however they do agree to a date range limitation. Here is the actual request
                 now at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of
                 the requests. It is a proposal to compromise.

               85. For all phones: All text message that that were sent to or from Ron Leslie from
               January 1, 2015 to July 1, 2018.


           Defendants’ proposed compromise:
           Katzkin and ClearLight will perform an
           ESI search of the individuals likely to
           have responsive information and which
           Plaintiffs have focused on as the
           relevant individuals to search, as
           follows: ClearLight does not own the
           cell phones of Michael Kaye, Joe
           Schmidt, or Jeff Manassero, and those
           phones are not used to conduct
           substantive business matters by text
           message. Nonetheless, these
           individuals will make their phones
           available for limited searches of text
           message that are narrowly tailored to

                                                                                             JJ000186
Case
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          business matters as follows.
          ClearLight will have its IT consultant
          obtain the cell phones of Michael Kaye,
          Joe Schmidt, and Jeff Manassero, power
          them up, and, using password access as
          appropriate, will do an search for
          responsive text messages including all
          text message applications, chat
          applications, and other text related
          applications, and, although the cell
          phones of Tim Clyde and certain others
          at Katzkin are not owned by Katzkin,
          those individuals will nonetheless make
          those phone available for Katzkin to
          have its IT consultant obtain or, for
          remote individuals such as Ron Leslie,
          Dave Sheffler, Bill North, and Brooks
          Mayberry, remotely access the cell
          phones of Tim Clyde, Brooks Mayberry,
          Ron Leslie, Dave Sheffler, and Bill
          North, and for each phone the IT
          consultant will power it up, and, using
          password access as appropriate, will do
          a search for responsive text messages
          including all text message
          applications, chat applications, and
          other text related applications. These
          searches will be limited to text
          messages to or from Ron Leslie that
          reference Ross Albert, Dave Sheffler,


                                                                         JJ000187
Case
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                                                                        51 PageID 16721




           or John Held in the text for the time
           period January 1, 2015 to July 1, 2018.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from.

    Limiting the text messages to “referencing” only three individuals, eliminates by design material
    evidence including circumstantial evidence of CLP and Katzkin’s involvement in the CST branch
    elimination antitrust conduct which is a material dispute

    Defendants’ Position:

    Defendants’ proposed compromise above must be read in conjunction with item 15 below, which
    sets out the further search proposed by Defendants with regard to this request. During the joint
    conference, Plaintiffs requested all of Ron Leslie’s text messages for the period January 1, 2015
    to July 1, 2018 to or from Michael Kaye, Joe Schmidt, and Jeff Manassero, Tim Clyde, Brooks
    Mayberry, Ron Leslie, Dave Sheffler, and Bill North that reference Ross Albert, Dave Sheffler,
    or John Held. Plaintiffs also requested all Ron Leslie text messages for that same time period to
    or from Ross Albert, Dave Sheffler, or John Held, which is the search described below at 15. As
    Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations.

    14.Emails to/from anyone that have “Ron
    Leslie” within 50 words of “Roadwire” or do
    we need a time limit, or limit on whose
    emails. [Katzkin 116, CLP 113]


                Note: Plaintiffs object to Defendants rewording of Katzkin 116 and CLP 113 and
                 did not propose this. Here are the actual requests now at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of
                 the requests. It is a proposal to compromise.



                                                                                             JJ000188
Case
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    Request No. 116 to Katzin
    Search All Microsoft Outlook .pst files that contain the name Ron Leslie with in 50
    words or less and the word Roadwire, or any version thereof, in any email.
    Revised Request No. 113 to CLP

     Search All Microsoft Outlook .pst files that contain the name Ron Leslie with in 50 words or
    less and the word Roadwire, or any version thereof, in any email.


           Defendants’ proposed compromise:
           Katzkin and ClearLight will perform an
           ESI search of the individuals likely to
           have responsive information and which
           Plaintiffs have focused on as the
           relevant individuals to search, as
           follows: ClearLight will search its
           Global Rely Email Archive for emails to
           or from Michael Kaye, Joe Schmidt, Jeff
           Manassero, Orlan Davies and Peter Kim,
           and Katzkin will search the .pst files
           of Tim Clyde, Brooks Mayberry, Ron
           Leslie, Dave Sheffler, and Bill North.
           This search will be limited to emails
           which contain the words “Ron Leslie”
           within 20 words of “Roadwire,” in the
           text of the email, which is the
           proximity limitation that the parties
           agreed to in connection with the prior
           ESI search performed by ClearLight.
           This proposal is contingent on
           Plaintiffs providing a reasonable
           limitation on the time period to be

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Case
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           searched as the absence of a time
           period here would make the search and
           review process needlessly burdensome by
           including a high volume of materials
           that are not relevant to this
           litigation.


    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.
    Limiting to emails which contain the words “Ron Leslie” within 20 words of “Roadwire,” or
    “Ron Leslie” within 20 words of “Classic, is arbitrary and designed to remove the most relevant
    emails. Any prior alleged search before CLP and Katzkin were parties does not alter that current
    evidence supports the within 50 word search. Attachments also must be included with no editing
    or deleting.

    Defendants’ Position:

    The parties previously agreed to use the “within 20 words” limit for the prior search protocols for
    ClearLight, which lead to the production of a substantial amount of materials to Plaintiffs.
    Enlarging the search parameter to “within 50 words” will increase the volume of irrelevant hits
    and increase the amount of time it will take to process and review these materials before they can
    be produced to Plaintiffs. As a compromise, Defendants will agree to search for these terms
    within 30 words of each other.

    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to search
    ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and emails
    cannot be deleted from it. The system captures all emails sent or received by ClearLight, and
    even if an individual deletes an email for their account, the email is preserved nonetheless in the
    Global Relay archive. Having ClearLight generate and search .PST files would simply be a
    redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the




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    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations as 30 words is about one sentence of words and is too restricitive.




    15.Ron Leslie text messages to/from Ross
    Albert, Dave Sheffler, and John Held
    (January 1, 2015 to July 1, 2018).


                Note: Plaintiffs object to Defendants rewording of Katzkin 85 and did not propose
                 this. However Plaintiffs do agree to the limitation of the senders and recipients
                 and date range limitation. Here are the actual requests now at issue:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of
                 the requests. It is a proposal to compromise.

    Revised Request No. 85 to Katzkin

    All text message that that were sent to or from Ron Leslie between January 1, 2015 and July 1,
    2018 from Michael Kaye, Joe Schmidt, Jeff Manassero, Orlan Davies and Peter Kim, Tim Clyde,
    Brooks Mayberry, Ron Leslie, Dave Sheffler, Ross Albert, John Held, and Bill North.



           Response: In connection with its
           response to Plaintiffs’ third set of
           document demands to Katzkin, Katzkin
           previously searched and produced all
           Ron Leslie text messages to or from
           Ross Albert for the time period January
           1, 2015 through May 31, 2016, to or
           from John Held for the period July 1,


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           2015 to April 15, 2016. Katzkin will
           have its IT consultant obtain Ron
           Leslie’s cell phone, power it up, and,
           using password access as appropriate,
           will do an search for responsive text
           messages including all text message
           applications, chat applications, and
           other text related applications for
           messages to or from Dave Sheffler for
           the period January 1, 2015 through May
           31, 2016.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from.

    Limiting the text messages to “referencing” only three individuals, eliminates by design material
    evidence including circumstantial evidence of CLP and Katzkin’s involvement in the CST branch
    elimination antitrust conduct which is a material dispute

    Defendants’ Position:

    As set forth above, this proposal must be read in conjunction with item 13, above as Defendants
    have proposed to run searches for text messages to or from Ron Leslie that reference Ross
    Albert, Dave Sheffler, and John Held, as well as for text messages between Ron Leslie and those
    three individuals.

    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations of names as that is too restrictive. . If it is true a voluminous response occurs,
    Plaintiffs will then further discuss, but it is speculation at this stage.




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    16.Emails to/from anyone that have “Ron
     Leslie” within 50 words of “Classic Soft
     Trim” or do we need a time limit, or limit
     on whose emails [Katzkin 115, CLP 112]
               Note: Plaintiffs object to Defendants rewording of Katzkin 115/CLP 112 and did
                not propose this. However Plaintiffs do agree to the limitation of the senders and
                recipients limitation. Here are the actual requests now at issue:
               Defendants’ response: Defendants’ proposed compromise is not a rewording of
                the requests. It is a proposal to compromise.




    Revised Request No. 112 to CLP/115 to Katzkin

    Search All Microsoft Outlook .pst files from Kaye, Schmidt, Davies, Monassero, Kim Mayberry,
    Clyde, Sheffler, Leslie, Albert and North that contain the name Ron Leslie with in 50 words or
    less and the word Classic Soft Trim, or any version thereof, in any email.



           Plaintiffs’ proposed compromise:
           Katzkin and ClearLight will perform an
           ESI search of the individuals likely to
           have responsive information and which
           Plaintiffs have focused on as the
           relevant individuals to search, as
           follows: ClearLight will search its
           Global Rely Email Archive for emails to
           or from Michael Kaye, Joe Schmidt, Jeff
           Manassero, Orlan Davies and Peter Kim,
           and Katzkin will search the .pst files
           of Tim Clyde, Brooks Mayberry, Ron
           Leslie, Dave Sheffler, and Bill North.
           This search will be limited to emails
           which contain the words “Ron Leslie”

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           within 20 words of “Classic Soft Trim,”
           in the text of the email, which is the
           proximity limitation that the parties
           agreed to in connection with the prior
           ESI search performed by ClearLight.
           This proposal is contingent on
           Plaintiffs providing a reasonable
           limitation on the time period to be
           searched as the absence of a time
           period here would make the search and
           review process needlessly burdensome by
           including a high volume of materials
           that are not relevant to this
           litigation.
    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.
    Limiting to emails which contain the words “Ron Leslie” within 20 words of “Roadwire,” or
    “Ron Leslie” within 20 words of “Classic, is arbitrary and designed to remove the most relevant
    emails. Any prior alleged search before CLP and Katzkin were parties does not alter that current
    evidence supports the within 50 word search. Attachments also must be included with no editing
    or deleting.

    Defendants’ Position:

    During the joint conference, Plaintiffs agreed to limit this request to emails sent to or from
    Michael Kaye, Joe Schmidt, Jeff Manassero, Orlan Davies Peter Kim, Tim Clyde, Brooks
    Mayberry, Ron Leslie, Dave Sheffler, and Bill North, and Defendants’ constructed the above
    compromise accordingly.

    The parties previously agreed to use the “within 20 words” limit for the prior search protocols for
    ClearLight, which led to the production of a substantial amount of materials to Plaintiffs.
    Enlarging the search parameter to “within 50 words” will increase the volume of irrelevant hits




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    and increase the amount of time it will take to process and review these materials before they can
    be produced to Plaintiffs. As a compromise, Defendants will agree to search for these terms
    within 30 words of each other.

    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to search
    ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and emails
    cannot be deleted from it. The system captures all emails sent or received by ClearLight, and
    even if an individual deletes an email for their account, the email is preserved nonetheless in the
    Global Relay archive. Having ClearLight generate and search .PST files would simply be a
    redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the
    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations of within words as that is too restrictive. If it is true a voluminous response occurs,
    Plaintiffs will then further discuss, but it is speculation at this stage.



    17.“Dave Sheffler” and “Orlando” in same
      document or email (January 1, 2015 to
      July 1, 2018) [Katzkin 78, 114; CLP 111]


                Note: Plaintiffs object to Defendants rewording of Katzkin 78,114/CLP 111and
                 did not propose this. However Plaintiffs do agree to the limitation of the senders
                 and recipients limitation on Katzkin 114. Here are the actual requests now at
                 issue:
                Defendants’s compromise position is set out below. It is not a rewording of the
                 requests. Plaintiffs agreed to some limitations as discussed there, but this is
                 Defendants’ proposal, not Plaintiffs’.

    Request 78 To Katzkin All Writings that contain the name David Sheffler (Sheffler or Dave)
    and Orlando in the same document.

    Request 114 To Katzkin Search All Microsoft Outlook .pst files to or from Kaye, Schmidt,
    Davies, Monassero, Kim, Clyde, Mayberry, Leslie, North and Albert that contain the name Dave



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    Sheffler with in 50 words or less and the words Orlando Florida, or any version thereof, in any
    email.
    Defendants’ proposed compromise: Katzkin
    and ClearLight will perform an ESI search
    of the individuals likely to have
    responsive information and which Plaintiffs
    have focused on as the relevant individuals
    to search, as follows: ClearLight will
    search its Global Rely Email Archive for
    emails to or from Michael Kaye, Joe
    Schmidt, Jeff Manassero, Orlan Davies and
    Peter Kim, and Katzkin will search the .pst
    files of Tim Clyde, Brooks Mayberry, Ron
    Leslie, Dave Sheffler, and Bill North.
    Defendants require a narrower time period
    or additional search terms beyond “Dave
    Sheffler” and “Orlando” in the text of an
    email or document in order to conduct a
    reasonable search as these terms alone
    would include a high volume of routine and
    irrelevant documents concerning product
    reports, customer files, new customer
    applications, and other routine business
    transactions that are beyond the scope or
    relevance of this case.

    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.



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    Limiting to emails which contain the words “Ron Leslie” within 20 words of “Roadwire,” or
    “Ron Leslie” within 20 words of “Classic, is arbitrary and designed to remove the most relevant
    emails. Any prior alleged search before CLP and Katzkin were parties does not alter that current
    evidence supports the within 50 word search. Attachments also must be included with no editing
    or deleting.

    Defendants’ Position:

    During the joint conference, Plaintiffs agreed to limit this request to emails sent to or from
    Michael Kaye, Joe Schmidt, Jeff Manassero, Orlan Davies Peter Kim, Tim Clyde, Brooks
    Mayberry, Ron Leslie, Dave Sheffler, and Bill North, and Defendants’ constructed the above
    compromise accordingly.

    In their position above, Plaintiffs suggest limiting the search to emails where the text contains the
    words “Ron Leslie” within 50 words of “Roadwire” or of “Classic.” Defendants proposed to
    limit this to emails that contain “Dave Sheffler” within 20 words of “Classic Soft Trim.” This is
    overbroad, and Defendants will agree to limiting the search to where these terms occur within 30
    words, and attachments will be produced with any emails produced.

    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to
    search ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and
    emails cannot be deleted from it. The system captures all emails sent or received by ClearLight,
    and even if an individual deletes an email for their account, the email is preserved nonetheless
    in the Global Relay archive. Having ClearLight generate and search .PST files would simply be
    a redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the
    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.


    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations of word count as that is too restrictive.. If it is true a voluminous response occurs,
    Plaintiffs will then further discuss, but it is speculation at this stage.

    18.“Dave Sheffler” and “Classic Soft Trim”
      in same email (January 1, 2015 to July 1,
      2018) [Katzkin 112, CLP 109]
                Note: Plaintiffs object to Defendants rewording of Katzkin 112/CLP 109and did



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                 not propose this. However Plaintiffs do agree to the limitation of the senders and
                 recipients and date range limitation. Here are the actual requests now at issue:
                Defendants’ response: Defendants are not rewording the requests. They are
                 proposing a compromise position as set out below. Plaintiffs agreed to some
                 limitations as discussed there, but this is Defendants’ proposal, not Plaintiffs’.


    Revised Request No. 112 to Katzkin/CLP 109

    Search All Microsoft Outlook .pst files from Kaye, Schmidt, Davies, Monassero, Kim, Clyde,
    Mayberry, Leslie, North and Albert that contain the name Dave Sheffler between January 1,
    2015 and July 31, 2018 that contain the name Dave Sheffler with in 50 words or less and the
    words Classic Soft Trim, or any version thereof, in any email.



           Defendants’ proposed compromise:
           Katzkin and ClearLight will perform an
           ESI search of the individuals likely to
           have responsive information and which
           Plaintiffs have focused on as the
           relevant individuals to search, as
           follows: ClearLight will search its
           Global Rely Email Archive for emails to
           or from Michael Kaye, Joe Schmidt, Jeff
           Manassero, Orlan Davies and Peter Kim,
           and Katzkin will search the .pst files
           of Tim Clyde, Brooks Mayberry, Ron
           Leslie, Dave Sheffler, and Bill North.
           This search will be limited to emails
           for the time period January 1, 2015 to
           July 1, 2018 which contain the words
           “Dave Sheffler” within 20 words of
           “Classic Soft Trim,” in the text of the
           email, which is the proximity


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           limitation that the parties agreed to
           in connection with the prior ESI search
           performed by ClearLight.
    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.
    Limiting to emails which contain the words “Dave Sheffler” within 20 words of “Roadwire,” or
    “Dave Sheffler” within 20 words of “Classic, is arbitrary and designed to remove the most
    relevant emails. Any prior alleged search before CLP and Katzkin were parties does not alter that
    current evidence supports the within 50 word search. Attachments also must be included with no
    editing or deleting.

    Defendants’ Position:

    During the joint conference, Plaintiffs agreed to limit this request to emails sent to or from
    Michael Kaye, Joe Schmidt, Jeff Manassero, Orlan Davies Peter Kim, Tim Clyde, Brooks
    Mayberry, Ron Leslie, Dave Sheffler, and Bill North, and Defendants’ constructed the above
    compromise accordingly.

    As set forth above, to conduct a reasonable search, Defendants require additional search terms to
    narrow the request as a demand for all document that contain “Dave Sheffler” and “Classic Soft
    Trim” as manually reviewing “all writings” in ClearLight’s and Katzkin’s possession to
    determine if that writing is responsive would be unduly burdensome and disproportionate to the
    needs of the case, The parties previously agreed to use the “within 20 words” limit for the prior
    search protocols for ClearLight, which lead to the production of a substantial amount of
    materials to Plaintiffs. Enlarging the search parameter to “within 50 words” will increase the
    volume of irrelevant hits and increase the amount of time it will take to process and review these
    materials before they can be produced to Plaintiffs. As a compromise, Defendants will agree to
    search for these terms within 30 words of each other.



    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to search
    ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and emails
    cannot be deleted from it. The system captures all emails sent or received by ClearLight, and
    even if an individual deletes an email for their account, the email is preserved nonetheless in the




                                                                                            JJ000199
Case
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    Global Relay archive. Having ClearLight generate and search .PST files would simply be a
    redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the
    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations of word count as that is too restrictive.. If it is true a voluminous response occurs,
    Plaintiffs will then further discuss, but it is speculation at this stage.




    19.“Dave Sheffler” and “Roadwire” in same
      email (January 1, 2015 to July 1, 2018)


              Note: Plaintiffs object to Defendants rewording of Katzkin 113/CLP 110 and did
                 not propose this. However Plaintiffs do agree to the date range limitation. Here
                 are the actual requests now at issue:
              Defendants’ response: Defendants are not rewording the requests. They are
                 proposing a compromise position as set out below. Plaintiffs agreed to some
                 limitations as discussed there, but this is Defendants’ proposal, not Plaintiffs’.
    Request No. 113 (CLP 110) to Katzkin.
    Search All Microsoft Outlook .pst files from January 1, 2015 to July 1, 2018 that contain the
    name Dave Sheffler with in 50 words or less and the word Roadwire, or any version thereof, in
    any email.




    Defendants’ proposed compromise: Katzkin
    and ClearLight will perform an ESI search
    of the individuals likely to have
    responsive information and which Plaintiffs
    have focused on as the relevant individuals


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    to search, as follows: ClearLight will
    search its Global Rely Email Archive for
    emails to or from Michael Kaye, Joe
    Schmidt, Jeff Manassero, Orlan Davies and
    Peter Kim, and Katzkin will search the .pst
    files of Tim Clyde, Brooks Mayberry, Ron
    Leslie, Dave Sheffler, and Bill North.
    This search will be limited to emails for
    the time period January 1, 2015 to July 1,
    2018 which contain the words “Dave
    Sheffler” within 20 words of “Roadwire,” in
    the text of the email, which is the
    proximity limitation that the parties
    agreed to in connection with the prior ESI
    search performed by ClearLight.

    Plaintiffs’ Position:

    Eliminating a complete ESI search pursuant to the totality of data bases, and instead only
    searching the CLP “Global Rely Email Archive” materially alters the IT certification procedure
    that is under submission. The IT certification is designed to include confirmation that all ESI
    back up locations for both defendants have been searched, not just selective back up locations.
    Limiting to emails which contain the words “Dave Sheffler” within 20 words of “Roadwire,” or
    “Dave Sheffler” within 20 words of “Classic, is arbitrary and designed to remove the most
    relevant emails. Any prior alleged search before CLP and Katzkin were parties does not alter that
    current evidence supports the within 50 word search. Attachments also must be included with no
    editing or deleting.

    Defendants’ Position:

    During the joint conference, Plaintiffs agreed to limit this request to emails sent to or from
    Michael Kaye, Joe Schmidt, Jeff Manassero, Orlan Davies Peter Kim, Tim Clyde, Brooks
    Mayberry, Ron Leslie, Dave Sheffler, and Bill North, and Defendants’ constructed the above
    compromise accordingly.




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    As set forth above, to conduct a reasonable search, Defendants require additional search terms to
    narrow the request as a demand for all document that contain “Dave Sheffler” and “Roadwire” as
    manually reviewing “all writings” in ClearLight’s and Katzkin’s possession to determine if that
    writing is responsive would be unduly burdensome and disproportionate to the needs of the case,
    The parties previously agreed to use the “within 20 words” limit for the prior search protocols for
    ClearLight, which lead to the production of a substantial amount of materials to Plaintiffs.
    Enlarging the search parameter to “within 50 words” will increase the volume of irrelevant hits
    and increase the amount of time it will take to process and review these materials before they can
    be produced to Plaintiffs. As a compromise, Defendants will agree to search for these terms
    within 30 words of each other.

    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to search
    ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and emails
    cannot be deleted from it. The system captures all emails sent or received by ClearLight, and
    even if an individual deletes an email for their account, the email is preserved nonetheless in the
    Global Relay archive. Having ClearLight generate and search .PST files would simply be a
    redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the
    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    limitations of word count as that is too restrictive.. If it is true a voluminous response occurs,
    Plaintiffs will then further discuss, but it is speculation at this stage.




    20.Joe Schmidt texts to Katzkin employees
      (March 1, 2016 to April 1, 2016) [Katzkin
      102]
                Plaintiffs agree to wording.

                Defendants’ response to Plaintiffs’ note: the Parties agree that this is the correct
                 wording of the Request and Defendants’ compromise proposal is set forth below.




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           Defendants’ proposed compromise:
           ClearLight does not own the cell phone
           of Joe Schmidt, and that phone is not
           used to conduct substantive business
           matters by text message. Nonetheless,
           Mr. Schmidt will make his phone
           available for limited searches of text
           messages that are narrowly tailored to
           business matters as follows: ClearLight
           will have its IT consultant obtain the
           cell phone, power it up, and, using
           password access as appropriate, will do
           an search for responsive text messages
           including all text message
           applications, chat applications, and
           other text related applications for
           messages sent to Katzkin employees for
           the period March 1, 2016 to April 1,
           2016.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from. Creating a subjective screening for
    counsel to eliminate text messages from CLP if they do not “instruct Katzkin people on what to
    do” deprives Plaintiffs of evidence of control by CLP of Katzkin, which is a material dispute.

    Defendants’ Position:

    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted. Defendants have also agreed to
    accept the language proposed by Plaintiffs and will produce text messages addressed to




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    “Katzkin’s agents approving or disapproving conduct or directing conduct,” as requested by
    Plaintiffs.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to the
    subjective review of counsel on what proves control Plaintiffs are entitled to direct and
    circumstantial evidence discovery.



    21.Joe Schmidt texts to ClearLight
      employees (March 1, 2016 to April 1,
      2016) [CLP 99]
                Plaintiffs agree to wording.

                Defendants’ response to Plaintiffs’ note: the Parties agree that this is the correct
                 wording of the Request and Defendants’ compromise proposal is set forth below.
                 Plaintiffs have offered no position or statement as to this Request and appear to
                 have accepted Defendants’ compromise proposal.

           Defendants’ proposed compromise:
           ClearLight does not own the cell phone
           of Joe Schmidt, and that phone is not
           used to conduct substantive business
           matters by text message. Nonetheless,
           Mr. Schmidt will make his phone
           available for limited searches of text
           message that are narrowly tailored to
           business matters as follows: ClearLight
           will have its IT consultant obtain the
           cell phone, power it up, and, using
           password access as appropriate, will do
           an search for responsive text messages
           including all text message


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          applications, chat applications, and
          other text related applications for
          text messages sent to ClearLight
          employees regarding Katzkin for the
          period March 1, 2016 to April 1, 2016.
    22.Documents like 2016 CST Branch summary
      that discuss how Katzkin will expand or
      grow in Orlando, Cleveland, Pittsburg,
      NYC, Houston, etc. (July 1, 2015 to July
      1, 2018). [Katzkin 25, 26, 27, 47, 48,
      49, 50, 51, 52, 53, 54, 55, 57, 58]
               Note Plaintiffs do not agree to the re-wording of these requess by Defendants.
                There were many items discussed in the meet and confers and this wording is not
                what Plaintiffs proposed as part of a global ESI resolution. Here is the final
                wording that Plaintiff will agree to which does narrow the original requests.
         Defendants’ response: Defendants’ proposed compromise is not a rewording of the
          requests. It is a proposal to compromise.


                 Revised Requests Nos. 25-27, 47-58 to Katzkin

    All Writings such as the 2016 CST Branch summary that discuss how Katzkin will expand or
    grow in Orlando, Cleveland, Ohio, Pittsburg, Houston, NYC, Philadelphia, Southern California,
    Baltimore, Washington DC, San Antonio, Austin, and Las Vegas between July 1, 2015 to July 1,
    2018.



          Katzkin will conduct a search of the
          computers of Tim Clyde, Peter Kim, and
          Ron Leslie for documents that discuss
          how Katzkin will expand or grow in
          Orlando, Cleveland, Pittsburg, NYC,
          Houston, Philadelphia, Los Angeles,


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           Southern California, Baltimore,
           Washington D.C., San Antonio, Austin,
           and Las Vegas for the period July 1,
           2015 to July 1, 2018.
    Plaintiffs’ Position:

    This is an “all writings” search as stored reports and memos are known to exist that include these
    terms, in addition to emails. Eliminating a complete ESI search pursuant to the totality of data
    bases, and instead only searching selected “computers”, as opposed to all ESI storage locations,
    materially alters the IT certification procedure that is under submission. The IT certification is
    designed to include confirmation that all ESI back up locations for both defendants have been
    searched, not just selective back up locations.

    Defendants’ Position:

    The computers of Tim Clyde, Peter Kim, and Ron Leslie were selected because they are the most
    likely places where “reports, data and analysis of this expansion” would be present. To reach
    agreement, Katzkin is willing include its server in the areas searched for this request. The IT
    certification was intended as a way for the relevant IT consultants to confirm that the searches
    agreed to by the parties were executed, not a way to define the scope of the searches themselves.
    Defendants’ proposal is fully in keeping with the certification submitted by identifying the
    locations where responsive documents would be located and searching those locations.

    Plaintiffs Reply: All ESI wherever located on this critical topic should be searched and verified.
    There has been substantial resistance to producing all ESI that relates to the Orlando events. It is
    concerning that this response only suggest hat three computers be searched, where the archive
    system is offered on many others.



    23.Emails or file folders that refer to
      “Naomi Soto,” “Danny Valencia,” “Aaron
      Forrister,” or “Dwight
      Forrister” (January 1, 2015 to January 1,
      2018) [Katzkin 66, 67, 74, 87]




                                                                                             JJ000206
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                Plaintiffs do not agree to Defendants re wording of Katzkin 66, 67, 74 and 87.
                 Here are the actual requests in dispute:
                Defendants’ response: Defendants’ proposed compromise is not a rewording of
                 the requests. It is a proposal to compromise.


    66. All Writings that refer to Naomi Soto.
    67. All Writings that refer to Daniel Valencia.
    74. All Writings that refer to the name “Forrister”.
    87. For all phones: All text message that that were sent to or from Aaron Forrister, on which
    Aaron Forrister is copied, or which reflect, mention, refer to, bear upon, or relate to
    Aaron Forrister.




    Defendants’ proposed compromise: Katzkin
    and ClearLight will perform an ESI search
    of the individuals likely to have
    responsive information and which Plaintiffs
    have focused on as the relevant individuals
    to search, as follows: ClearLight will
    search its Global Rely Email Archive for
    emails to or from Michael Kaye, Joe
    Schmidt, Jeff Manassero, Orlan Davies and
    Peter Kim, and Katzkin will search the .pst
    files of Tim Clyde, Brooks Mayberry, Ron
    Leslie, Dave Sheffler, and Bill North.
    Those email searches will be limited to
    emails that contain the reference “Naomi
    Soto,” “Danny Valencia,” “Aaron Forrister,”
    or “Dwight Forrister” in the text of an
    email for the period January 1, 2015 to
    January 1, 2018.



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    ClearLight and Katzkin will also perform a
    search of its hard copy file materials for
    any file folders bearing the names “Naomi
    Soto,” “Danny Valencia,” “Aaron Forrister,”
    or “Dwight Forrister” for the period
    January 1, 2015 to January 1, 2018.
    Plaintiffs’ Position:

    These are an “all writings” search of key CST employees that are at issue in multiple parts of the
    complaint. Eliminating a complete Writings search and then eliminating an ESI search pursuant
    to the totality of data bases, and instead only searching the CLP “Global Rely Email Archive”
    materially alters the IT certification procedure that is under submission. The IT certification is
    designed to include confirmation that all ESI back up locations for both defendants have been
    searched, not just selective back up locations. Searching “hard copy files” is included in the
    Writings search but that is not all that is included in the definition of writings.

    Defendants’ Position:

    During the parties joint conference, Plaintiffs agreed to limit these requests to emails and hard
    copy folders bearing the names of “Naomi Soto,” “Danny Valencia,” “Aaron Forrister,” or
    “Dwight Forrister” and Defendants’ proposed compromise was crafted with those limitations.

    And as set forth above, Defendants are not proposing to modify the IT certification that they
    have submitted, nor are they excluding relevant databases of potential responsive documents.
    ClearLight’s Global Relay archive system is the most accurate and comprehensive way to search
    ClearLight’s emails. It is not just a “backup,” it is the archival system that is used, and emails
    cannot be deleted from it. The system captures all emails sent or received by ClearLight, and
    even if an individual deletes an email for their account, the email is preserved nonetheless in the
    Global Relay archive. Having ClearLight generate and search .PST files would simply be a
    redundant and less accurate version of the Global Rely Archive. The IT certification was
    intended as a way for the relevant IT consultants to confirm that the searches agreed to by the
    parties were executed, not a way to define the scope of the searches themselves. Defendants’
    proposal is fully in keeping with the certification submitted.

    Plaintiffs Reply: As to the ESI portion of this requests, as long as an IT specialist certifies the
    subparts of the proposed form, and identifies what if any data base exist but was not searched,
    Defendants position is acceptable. Plaintiffs are not waiving their other objections to not
    searching hard copy files.




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    24.Text messages to or from Ross Albert
      (July 2015 to July 2018) [Katzkin 80, CLP
      75]
                Plaintiffs have agreed to the following request.

                Defendants’ response to Plaintiffs’ note: Defendants’s compromise position is set
                 out below. Plaintiffs agreed to some limitations as discussed there, but this is
                 Defendants’ proposal, not Plaintiffs’.

    Revised Request No. 80 to Katzkin

    All text messages that were sent to or from Ross Albert from January 1, 2015 to July 1, 2018
    from Michael Kaye, Orlan Davies, Jeff Manaserro, Joseph Schmidt, Peter Kim, Tim Clyde,
    Brooks Mayberry, Ron Leslie, Bill North, John Held and Dave Sheffler.



           Response: Katzkin and ClearLight will
           perform an ESI search of the
           individuals likely to have responsive
           information and which Plaintiffs have
           focused on as the relevant individuals
           to search, as follows: ClearLight does
           not own the cell phones of Michael
           Kaye, Joe Schmidt, or Jeff Manassero,
           and those phones are not used to
           conduct substantive business matters by
           text message. Nonetheless, these
           individuals will make their phones
           available for limited searches of text
           message that are narrowly tailored to
           business matters. ClearLight will have
           its IT consultant obtain the cell
           phones of Michael Kaye, Joe Schmidt,


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           and Jeff Manassero, power them up, and,
           using password access as appropriate,
           will do an search for responsive text
           messages including all text message
           applications, chat applications, and
           although the cell phones of Tim Clyde
           and certain others at Katzkin are not
           owned by Katzkin, those individuals
           will nonetheless make those phone
           available for Katzkin to have its IT
           consultant obtain or, for remote
           individuals, remotely access the cell
           phones of Tim Clyde, Brooks Mayberry,
           Ron Leslie, Dave Sheffler, and Bill
           North, and for each phone the IT
           consultant will power it up, and, using
           password access as appropriate, will do
           a search for responsive text messages
           including all text message
           applications, chat applications, and
           other text related applications. These
           searches will be limited to text
           messages to or from Ross Albert for the
           time period January 1, 2015 to July 1,
           2018.
    Plaintiffs’ Position:

    The process must include IT certification that deleted text messages have been searched for,
    including from backup storage locations, or if they are not retrievable, the reasons why. Both to
    and from text messages must be searched for, not just from. Arbitrarily eliminating the text
    messages from June and July 2016 is not acceptable.




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    Refusing to include a search from Ross Albert’s phone(s), when he is an employee of Katzkin
    like the other individuals, and when testimony supports that Katzkin purchased and pays for the
    phone service, is unacceptable and causes delays.

    Defendants’ Position:

    This Request as written was limited to “For all phones, except Ross Albert’s,” and Defendants’
    accordingly tailored their proposed compromise to search the phones of relevant individuals
    identified by Plaintiffs. Ross Albert is a separately named defendant in this action with his own
    counsel, and Defendants have advised Plaintiffs that requests directed at the search of Mr.
    Albert’s devices should be directed at Mr. Albert and his counsel and not at Katzkin, and
    Plaintiffs counsel has advised that he is dealing directly with Mr. Albert’s counsel.

    As Defendants have informed Plaintiffs, the search performed by the IT consultants will include
    both deleted and current text messages to or from the relevant individuals. Responsive text
    messages will be produced whether they are current or deleted.



    Plaintiffs Reply. The refusal to produce Ross Alberts phone when his deposition is now less
    than two weeks away is a substantial delay which causes prejudice.



    25.As to searches regarding CST employees
      leaving CST or being hired by Katzkin,
      Defendants have pointed out that many
      lower-level employees such as sewers and
      factory workers move back and forth in
      this business and Katzkin cannot identify
      they all, nor is it willing to search for
      them all. Katzkin will consider a
      reasonably limited ESI search if
      Plaintiffs will provide the specific
      names they are interested in and limiting
      search terms. [Katzkin 28, 29]


                Note These are the requests at issue:



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                 Defendants’ response to Plaintiffs’ note: Defendants agree that the below
                  accurately reflects the text of the original requests.
    28.All Writings related to the hiring of former Classic Soft Trim employees by Katzkin.

    29.All Writings that discussed Classic Soft Trim employees quitting their employment
    with CST.


    Plaintiffs’ Position:

    The names are Ross Albert, Greg Vogel, Jeff Gambill, Dave Sheffler, Daniel Valencia, Naomi
    Soto, Doug Brown, Sandy Tickle, Tony Pacetti, Dave Solomon, John Gangler, Dan Buchannan,
    Kyle Blake, Gary Siden, Mandy Hedrick, Diana Breschler, Richard Breshler, Dave Taylor. Cody
    Glueck, and Mr. Waller. This is an “all writings” search as stored reports and memos are known
    to exist that include these terms, in addition to emails. Eliminating a complete ESI search
    pursuant to the totality of data bases, and instead only searching selected archives or computers,
    as opposed to all ESI storage locations, materially alters the IT certification procedure that is
    under submission. The IT certification is designed to include confirmation that all ESI back up
    locations for both defendants have been searched, not just selective back up locations.

    Defendants’ Position:

    The names set forth above by Plaintiffs were provided to Defendants for the first time today,
    June 8, shortly before the supplemental report needs to be filed by the Facilitator. As to the
    names Plaintiff now proposed to limit this request to, Defendants will need to consult with their
    clients and IT consultants to determine what part of Plaintiffs’ limitation is reasonable and
    possible. However, Defendants certainly cannot agree to search “all writings” as manually
    reviewing “all writings” in ClearLight’s and Katzkin’s possession to determine if that writing is
    responsive would be unduly burdensome and disproportionate to the needs of the case, Any
    search would have to be for electronic materials. Defendants will also not be able to agree to
    searches related to former CST employees who are now working for Katzkin unless those
    searches are limited to the time period before they became Katzkin employees, as otherwise
    these requests would call for the review of voluminous amounts of irrelevant and routine
    materials as to employees that have nothing to do with this case. The same is true for individuals
    on the list who have left CST and have since become customers of Katzkin, and those searches
    will need to be limited in time as well to exclude irrelevant and routine correspondence between
    Katzkin and one of its customers. Defendants will discuss these names with their clients and
    relevant IT people.

    Plaintiffs Reply: These former employees and their involvement with Katzkin are critical
    disputes. At a minimum records within a six month time frame after their employment should be




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    included to fully develop the parameters of their hiring by Katzkin and involvement in the
    alleged unfair business practices and anti trust activity



    Defendants’ note: the remaining items set forth below are disputed items which the parties have
    not been able to agree on, and Defendants’ comments are below at the end of this document.



    Request No. 79 to Katzkin

    Produce for imaging and searching the following employee cell phones:

       1. Ross Albert

       2. David Sheffler

       3. Ron Leslie

       4. Peter Kim

       5. Tim Clyde

       6. Brooks Mayberry

    Request No. 73 to CLP

     Produce for the purpose of imaging and searching all .pst files that backed up all Microsoft
    Outlook emails for the time frame of 2007 to the present.
    Request No. 61 to Katzkin

    Produce for the purpose of imaging and searching all .pst files that created a copy of all
    Microsoft Outlook emails for the time frame of 2007 to the present.


    Parties Joint Position:

    The list and breadth of the data bases that will be searched and verified is being submitted as part
    of the unresolved dispute over the versions of the IT search certification form.



    Request that Defendants refuse to conduct and have no compromise position on.
    Request No. 101 to CLP 101. Search All Microsoft Outlook .pst files that contain the name
    Ross Albert, or any version thereof, in any email dated July 1, 2015 to July 1, 2016.

    Plaintiffs Position




                                                                                             JJ000213
Case
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    The full discussion by CLP and Katzkin of Ross Albert’s hiring and the arrangements that were
    made for him to solicit all of CST’s Orlando dealerships, all of CST’s Orlando employees, and
    provide all of CST’s internal financial details are highly relevant to numerous claims. If after the
    complete .pst file search is performed, the volume of records returned for this one year is
    certified as voluminous, the parties can further meet and confer to refine the searches. However,
    Ross Albert was only an employee of Katzkin from March 21, 2016 to July 1, 2016 and thus it is
    not likely the responsive writings will be voluminous

    Revised Request No. 102 to CLP (105 to Katzkin). Search All Microsoft Outlook .pst files that
    contain the name Greg Vogel, or any version thereof, in any email dated July 1, 2015 to July 1,
    2016.

    Plaintiffs’ Position

    The full discussion by CLP and Katzkin of Greg Vogels’s, CST’s Senior VP who had full access
    to CST’s internal financial and customer data bases, and the arrangements that were made for
    him to purchase a Ohio restyler and work with former CST GM Jeff Gambill, and the allegation
    that Mr. Vogel provided all of CST’s internal financial details in late 2015/early 2016 are highly
    relevant to numerous claims. If after the complete .pst file search is performed, the volume of
    records returned for this one year is certified as voluminous, the parties can further meet and
    confer to refine the searches. However, Greg Vogel was only the owner of a customer of Katzkin
    as an employee of Katzkin from April 1, 2016 to July 1, 2016 and thus it is not likely the
    responsive writings will be voluminous


    Rvised Request No. 60 to CLP (Katzkin 68)
     All Writings that were sent to or from Greg Vogel, on which Greg Vogel was copied, or which
    reflect, mention, refer to, bear upon, or relate to Greg Vogel dated July 1, 2015 to July 1, 2016.
    Plaintiffs’ Position

    The full discussion by CLP and Katzkin of Greg Vogels’s, CST’s Senior VP who had full access
    to CST’s internal financial and customer data bases, and the arrangements that were made for
    him to purchase a Ohio restyler and work with former CST GM Jeff Gambill, and the allegation
    that Mr. Vogel provided all of CST’s internal financial details in late 2015/early 2016 are highly
    relevant to numerous claims. If after the complete .pst file search is performed, the volume of
    records returned for this one year is certified as voluminous, the parties can further meet and
    confer to refine the searches. However, Greg Vogel was only the owner of a customer of Katzkin
    as an employee of Katzkin from April 1, 2016 to July 1, 2016 and thus it is not likely the
    responsive writings will be voluminous

    .
    Revisd Request No. 79 to CLP (Katzkin 84) All text message that that were sent to or from
    Greg Vogel, on which Greg Vogel is copied, or which reflect, mention, refer to, bear upon, or
    relate to Greg Vogel July 1, 2015 to July 1, 2016.

    Request No. 81 to CLP (Katzkin 86) All text message that that were sent to or from Greg
    Vogel, on which Greg Vogel is copied, or which reflect, mention, refer to, bear upon, or relate to



                                                                                             JJ000214
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    Greg Vogel July 1, 2015 to July 1, 2016.

    Plaintiffs’ Position

    The full discussion by CLP and Katzkin of Greg Vogels’s, CST’s Senior VP who had full access
    to CST’s internal financial and customer data bases, and the arrangements that were made for
    him to purchase a Ohio restyler and work with former CST GM Jeff Gambill, and the allegation
    that Mr. Vogel provided all of CST’s internal financial details in late 2015/early 2016 are highly
    relevant to numerous claims. If after the complete .pst file search is performed, the volume of
    records returned for this one year is certified as voluminous, the parties can further meet and
    confer to refine the searches. However, Greg Vogel was only the owner of a customer of Katzkin
    as an employee of Katzkin from April 1, 2016 to July 1, 2016 and thus it is not likely the
    responsive writings will be voluminous


    Defendants’ collected response:
    As set forth in the Facilitator’s prior report (Doc. 282), the above requests were discussed during
    the parties’ joint conference and the parties could not come to an agreement resolving them.
    With regard to Plaintiffs’ demands for imaging of Defendants’ phones and emails, Defendants
    above have set forth above detailed proposals encompassing searches for texts and emails to be
    performed and certified by qualified IT consultants. There is no basis for imaging of such
    devices. As to the request to ClearLight regarding emails that mention Ross Albert, Plaintiffs
    have offered no compromise and the parties’ respective positions have been fully briefed to the
    Court in connection with Plaintiffs’ motions to compel and Defendants will not repeat those
    arguments here. As to those directed to Mr. Albert’s devices, as opposed to what Defendants
    propose above as to those who communicated with him, Plaintiffs chose to name Mr. Albert as a
    Defendant and he has separate counsel. Defendants will not in such circumstance come between
    Mr. Albert and his counsel. As to the requests concerning Greg Vogel, The Facilitator’s prior
    report covered these requests. Plaintiffs took the position that they would not agree to any
    limitation on those requests as to Mr. Vogel, and Defendants have explained that they were never
    given and do not have a copy of the non-solicitation agreement between Plaintiffs and Mr. Vogel.
    It appears that Plaintiffs now have some willingness to provide at least some limitations on these
    searches, but these come when Defendants must provide their input to the Facilitator and not
    when they have had an opportunity to review these with their clients or IT consultants.



    Plaintiffs Reply: The refusal of Katzkin’s counsel to reach out to Ross Albert’s counsel when
    they have both been actively defending this case has not been explained. The Vogel searches are
    highly probative to disputed facts and there is no reason his name cannot be searched in ESI
    files. It is speculative that the results will be burdensome. Defendants will not even search all
    ESI and certify the search as to responsive records before he formed a company that serviced
    most of CST’s Ohio customers. These request seek highly probative evidence.




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                                                                         JJ000216
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                                                                      JJ000219
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                                                                      JJ000221
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                                                                      JJ000222
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     From:              Joe James
     To:                Tomas Glaspy; Roger Rosas; Bones Ijeoma
     Cc:                Don Howarth; Tim Clyde; Peter Kim; "Huy DangVu"
     Subject:           RE: Searches
     Date:              Friday, June 19, 2020 5:05:00 PM
     Attachments:       image001.png
                        image002.png
                        image003.png
                        image004.png
                        image005.png
                        image006.png


     Team,

     Cell phone searches for all named CLP employees are now complete. Tomas, I will add the findings to the OneDrive file
     later tonight.

     All current email searches are now complete, and PST requests submitted to Global Relay.

     Search results:

     Search Req 38 – 23 emails
     Search # 2 – 525 emails
     Search # 6 – 70 emails
     Search # 11 - 128 emails
     Search # 12 – 950 - emails
     Search # 14 – 46 emails
     Search # 16 - 1 email
     Search # 17 - 6 emails
     Search # 18 - 2 emails
     Search # 19 – 0 emails ( No .PST needed)
     Search # 23 – 11 emails

     Thank you,


     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Tomas Glaspy <TGlaspy@howarth-smith.com>
     Sent: Thursday, June 18, 2020 8:35 PM
     To: Roger Rosas <rrosas@allsafeit.com>; Joe James <joe.james@halcyonft.com>; Bones Ijeoma
     <bijeoma@allsafeit.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; Tim Clyde <tim.clyde@katzkin.com>; Peter Kim
     <peter.kim@katzkin.com>; 'Huy DangVu' <hdv@clearlightpartners.com>
     Subject: RE: Searches

     Roger, Bones, and Joe,

     Further to our conversation yesterday, there are some additional searches we will need you to run. We have updated
     the attached chart that was circulated last night, but to summarize those additional searches are as follows:

     Search 12: The phrase “Ron Leslie” and the word “Orlando” in the text of emails for the period January 1, 2015 to July


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                                                                      JJ000225
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                                                                      JJ000226
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     information. If you are not an intended recipient, please contact sender by telephone or reply email and destroy this
     email and all copies of it. Thank you.




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                                                                      JJ000231
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                                                                      JJ000234
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                                                                      JJ000235
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     From:           Peter Kim
     To:             Tomas Glaspy (tglaspy@howarth-smith.com); Bones Ijeoma; rrosas@allsafeit.com; Joe James; Tim Clyde;
                     Brooks Mayberry
     Subject:        Attorney Client Communication - Discovery
     Date:           Monday, June 22, 2020 5:00:48 PM
     Attachments:    Attorney Client - Notes for Counsel new searches.xlsx


     Privileged – Attorney Client Communication:

     Tomas and team:
        1. Please find attached the additional searches we agreed upon
        2. Tomas – please email the users directly re: hardcopy searches at the bottom of the page

     Peter




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                                                                                      JJ000237
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     From:              Joe James
     To:                Peter Kim; Tomas Glaspy (tglaspy@howarth-smith.com); Bones Ijeoma; rrosas@allsafeit.com; Tim Clyde; Brooks
                        Mayberry
     Subject:           RE: Attorney Client Communication - Discovery
     Date:              Tuesday, June 23, 2020 3:11:00 PM


     Team,

     Search # 1 – 3 emails discovered
     Search # 22 – 20 emails discovered
     Search # 25 - 2 emails discovered

     Tomas – I will keep you updated once I get the PST files and upload them to the Howarth & Smith
     OneDrive.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Peter Kim <peter.kim@katzkin.com>
     Sent: Monday, June 22, 2020 5:00 PM
     To: Tomas Glaspy (tglaspy@howarth-smith.com) <tglaspy@howarth-smith.com>; Bones Ijeoma
     <bijeoma@allsafeit.com>; rrosas@allsafeit.com; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>; Brooks Mayberry <brooks@katzkin.com>
     Subject: Attorney Client Communication - Discovery

     Privileged – Attorney Client Communication:

     Tomas and team:
        1. Please find attached the additional searches we agreed upon
        2. Tomas – please email the users directly re: hardcopy searches at the bottom of the page

     Peter




                                                                                                                     JJ000238
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     From:              Joe James
     To:                Peter Kim; Tomas Glaspy (tglaspy@howarth-smith.com); Bones Ijeoma; rrosas@allsafeit.com; Tim Clyde; Brooks
                        Mayberry
     Subject:           RE: Attorney Client Communication - Discovery
     Date:              Tuesday, June 23, 2020 8:58:00 PM


     Team,

     I have uploaded the requested email searches to the Howarth & Smith CLP OneDrive.

     Filename: Katzkin Litigation Email Searches 6-23-20

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Joe James
     Sent: Tuesday, June 23, 2020 3:19 PM
     To: Peter Kim <peter.kim@katzkin.com>; Tomas Glaspy (tglaspy@howarth-smith.com)
     <tglaspy@howarth-smith.com>; Bones Ijeoma <bijeoma@allsafeit.com>; rrosas@allsafeit.com; Tim
     Clyde <tim.clyde@katzkin.com>; Brooks Mayberry <brooks@katzkin.com>
     Subject: RE: Attorney Client Communication - Discovery

     Team,

     I also verified with Joseph Schmidt that there are no hardcopy files from him in regards to the
     following:

     Non IT searches
     Search # 1

     Orlando or Florida visit to meet with Ross Albert during the time period of 7/1/2015 – 4/1/2016

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276



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     From: Peter Kim <peter.kim@katzkin.com>
     Sent: Monday, June 22, 2020 5:00 PM
     To: Tomas Glaspy (tglaspy@howarth-smith.com) <tglaspy@howarth-smith.com>; Bones Ijeoma
     <bijeoma@allsafeit.com>; rrosas@allsafeit.com; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>; Brooks Mayberry <brooks@katzkin.com>
     Subject: Attorney Client Communication - Discovery

     Privileged – Attorney Client Communication:

     Tomas and team:
        1. Please find attached the additional searches we agreed upon
        2. Tomas – please email the users directly re: hardcopy searches at the bottom of the page

     Peter




                                                                                             JJ000240
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     As we discussed today, collecting that material will obviously be the first priority, so let us know if
     there is anything you need from us to expedite that process.

     Best,
     Tomas


     Tomas Glaspy
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, CA 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     www.howarth-smith.com

     CONFIDENTIALITY NOTICE: This email is for the sole use of intended recipients and may contain
     confidential, privileged information. If you are not an intended recipient, please contact sender by
     telephone or reply email and destroy this email and all copies of it. Thank you.




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     From:              Peter Kim
     To:                Joe James; Tomas Glaspy; Bones Ijeoma; Roger Rosas
     Cc:                Don Howarth; Tim Clyde; "Huy DangVu"
     Subject:           Attorney Client Communication RE: Searches
     Date:              Thursday, June 25, 2020 9:41:11 AM


     Joe – Thanks. I believe that Tomas will fill in the certification based on the searches actually
     performed, then you and Allsafe will review and sign.

     Tomas – could you confirm?

     Peter


     From: Joe James
     Sent: Thursday, June 25, 2020 9:39 AM
     To: Tomas Glaspy <TGlaspy@howarth-smith.com>; Bones Ijeoma <bijeoma@allsafeit.com>; Roger
     Rosas <rrosas@allsafeit.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; Tim Clyde <tim.clyde@katzkin.com>; Peter Kim
     <peter.kim@katzkin.com>; 'Huy DangVu' <hdv@clearlightpartners.com>
     Subject: RE: Searches

     Team – I have not filled out the certification yet. Please let me know when you need it.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Tomas Glaspy <TGlaspy@howarth-smith.com>
     Sent: Wednesday, June 17, 2020 9:25 PM
     To: Joe James <joe.james@halcyonft.com>; Bones Ijeoma <bijeoma@allsafeit.com>; Roger Rosas
     <rrosas@allsafeit.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; Tim Clyde <tim.clyde@katzkin.com>; Peter Kim
     <peter.kim@katzkin.com>; 'Huy DangVu' <hdv@clearlightpartners.com>
     Subject: Searches

     Joe, Roger, and Bones,

     I am attaching a few documents here pursuant to our conference this afternoon.

     First, you will find a spreadsheet that Peter and I prepared that spells out the specific searches to
     run. Note that the highlighted entries are searches that you do not need to run and can ignore for


                                                                                                   JJ000243
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     From:             Don Howarth
     To:               Peter Kim; Joe James; Tomas Glaspy; Bones Ijeoma; Roger Rosas
     Cc:               Tim Clyde; "Huy DangVu"
     Subject:          RE: Attorney Client Communication RE: Searches
     Date:             Thursday, June 25, 2020 9:50:59 AM



     Peter,
     Maybe we should have a quick call on this.
     Don
     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax   (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com
     CONFIDENTIALITY NOTICE: This email is for the
     sole use of intended recipients and may contain
     confidential, privileged information. If you
     are not an intended recipient, please contact
     sender by telephone or reply email and destroy
     this email and all copies of it. Thank you.

     From: Peter Kim <peter.kim@katzkin.com>
     Sent: Thursday, June 25, 2020 9:41 AM
     To: Joe James <joe.james@halcyonft.com>; Tomas Glaspy <TGlaspy@howarth-smith.com>; Bones
     Ijeoma <bijeoma@allsafeit.com>; Roger Rosas <rrosas@allsafeit.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; Tim Clyde <tim.clyde@katzkin.com>; 'Huy
     DangVu' <hdv@clearlightpartners.com>
     Subject: Attorney Client Communication RE: Searches

     [Warning: EXTERNAL SENDER.]
     Joe – Thanks. I believe that Tomas will fill in the certification based on the searches actually
     performed, then you and Allsafe will review and sign.

     Tomas – could you confirm?

     Peter


     From: Joe James


                                                                                                   JJ000245
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                              PRIVILEGED - NOTES FOR COUNSEL
     ESI CERTIFICATION OF UNIVERSE OF DATA BASES AND SEARCH PROTOCOL
                                 DEPLOYED


    I Joe James hereby certify as follows;


    1.     Pursuant to the agreement of the parties pursuant to the Court’s order that they
    meet and confer with a Facilitator (Doc. 267) in the matter CST vs Katzkin, et al, Case No.
    6:18-cv-01237-WWB-GJKMDFLA, I am a qualified Information Technology professional
    and have ___________years of experience in IT systems

    2.      I am employed by Halcyon Financial Technology, LP in the role of Senior
    Information Services Advisor and I am familiar with all of the current ClearLight IT
    systems, including data storage, and I have inquired from their Chief Financial Officer as
    to their historical IT systems dating back to 2007. Halcyon has provided IT support to
    ClearLight since 2007, and I have also inquired about ClearLight’s systems from Hugo
    Gonzalez of Halcyon, who provided IT support to ClearLight prior to my IT support of
    ClearLight. Hugo Gonzalez or I have provided IT support to ClearLight for all periods
    dating back to 2007.

    3.     I have identified the following data bases that store electronic information (ESI):

           a. .pst files maintained on each computer of Michael Kaye, Joe Schmidt, and Jeff
                Manassero
           b. Cell phones used by Michael Kaye, Joe Schmidt, and Jeff Manassero
           c. The data storage locations in the following [specify device] used for Katzkin
                networked devices for data sharing: I have not identified any data storage
                locations of Katzkin.
           d. The data storage locations in the following Global Relay email archive used for
                CLP/CLM networked devices for data sharing.
           e. The historical backups, if any, from [the agreed upon time period] that backed
                up data from Katzkin’s devices: Not applicable, I have not worked with
                Katzkin.1
           f. The historical backups, if any, from the time periods reflected on the attached
                Court order and Joint ESI Statement that backed up data from CLP/CLM’s
                devices.
           g.f. All existing mainframe computers, if any, which are as follows: No mainframe
                computers used.
           h.g.All personal servers identified as being in existence, if any, for the following
                persons: No personal servers used.




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              i.h. The following personal devices: The cell phones of Michael Kaye, Joe Schmidt,
                   and Jeff Manassero.
           l. I did not identify any other sources of ESI.
           4. The following ESI locations were identified but were not searched: individual .pst files
           for Michael Kaye, Joe Schmidt, and Jeff Manassero were not searched because the global
           archive system captures all such electronic data. The Global Relay system is the most
           accurate and comprehensive way to search ClearLight’s emails because the system captures
           all emails sent or received by ClearLight, and even if an individual deletes an email for their
           account, the email is preserved nonetheless in the Global Relay archive.
           5. Each of the ESI locations were searched as follows:
               a. .pst files maintained on each computer of Michael Kaye, Joe Schmidt, and Jeff
                    Manassero are captured by the Global Relay Email Archive which was searched
                    for the years and the following searches: as specified on the attached Court
                    order and Joint ESI Statement
               b. Cell phones used by Michael Kaye, Joe Schmidt, and Jeff Manassero were
                    obtained and powered up and the text message applications, chat applications,
                    and all other text related applications were opened, using password access as
                    appropriate and searched using software to retrieve text messages (including
                    recoverable deleted messages) as per the attached Joint ESI Statement as
                    modified by the attached Court order.
               c. I obtained password access and accessed the following back up storage for each
                    of the following cell phones: Michael Kaye, Joe Schmidt, and Jeff Manssero
                    and for the following dates specified on the attached Court order and Joint ESI
                    Statement.2
               d.c. The data storage locations in the following [specify device] used for Katzkin
                    networked devices for data sharing, were accessed by inserting the appropriate
                    passwords which provided access: Not applicable, I have not worked with
                    Katzkin.
               e.d. The data storage locations in the following: Global Relay email archive used
                    for CLP/CLM networked devices for data sharing. were accessed by inserting
                    the appropriate passwords which provided access.3
               f.e. The historical backups, if any, for [the agreed-upon time period] that backed up
                    data from Katzkin’s devices were searched as per the parties’ agreement as
                    follows: Not applicable, I have not worked with Katzkin
               g.f. The historical backups, if any, for the time periods noted on the attached Court
                    order and Joint ESI Statement that backed up data from CLP/CLM’s devices
                    were searched as per the attached Joint ESI Statement as modified by the
                    attached Court order
               h.g.All existing mainframe computers, if any, which are as follows:
                                               were accessed through the appropriate passwords: No
                    mainframe computers used.

    2
        I don’t believe there were backͲup storage for phone devices available/searched
    3
        Joe likely had administrator access to Global Relay and did not need individual passwords, Joe can confirm.



                                                                                                             JJ000250
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          i.h. All personal servers, if any, identified as being in existence for the following
               persons:                  ______ were accessed through appropriate passwords.
               No personal servers used.
       The following personal devices: the cell phones of Michael Kaye, Joe Schmidt, and Jeff
       Manassero, were provided with passwords for searching all resident data bases.
       m. The following desktops were made available and searched for resident documents: No
       desktops used.
       6. I was provided or confirmed that the following devices had data deleted for the time
       frames agreed upon: searches conducted on the cell phones and Global Relay email archives
       included deleted messages. Any such deleted messages that met the search criteria set forth
       above and attached hereto were provided with all other messages
       I conducted the following searches on the above data bases:


       The searches were performed as set forth in the Joint ESI Statement attached hereto, as
       modified by the attached Court order.


    I declare under penalty of perjury that the foregoing is true and correct and this certification was
    executed on __________________________, 2020 at ________________________

                   __________________________
                   Joe James




                                                                                              JJ000251
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Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 280 of 379 PageID 16786
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 281 of 379 PageID 16787


     From:             Huy DangVu
     To:               Joe James; Don Howarth
     Cc:               Peter Kim; Tim Clyde; Tomas Glaspy
     Subject:          Re: Attorney Client Communications
     Date:             Monday, July 6, 2020 12:25:01 PM


     Joe - I think technically, Hugo provided support since 2007 but Halcyon did not. I’ve edited
     the paragraph below.

     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com



            On Jul 6, 2020, at 12:10 PM, Joe James <joe.james@halcyonft.com> wrote:

            I think Peters edit for section 2 is exactly what we want to translate to the other side.
            Thank you Peter.

            2.      I am employed by Halcyon Financial Technology, LP in the role of
            Senior Information Services Advisor and I am familiar with all of the
            current ClearLight IT systems, including data storage, and I have inquired
            from their Chief Financial Officer as to their historical IT systems dating
            back to 2007. Halcyon has provided IT support to ClearLight since 2007,
            and I have also inquired about ClearLight’s systems from Hugo Gonzalez,
            a current Partner of Halcyon, who provided IT support to ClearLight prior
            to my IT support of ClearLight. Hugo Gonzalez or I have provided IT
            support to ClearLight for all periods dating back to 2007.


            Joe James
            Senior Information Services Advisor
            Halcyon Financial Technology, L.P.
            Email: joe.james@halcyonft.com
            Direct: 415-960-4367

            HalcyonFT Support:
            Non-Urgent: help@halcyonft.com
            Urgent: 415-967-7276


            From: Don Howarth <DHowarth@howarth-smith.com>
            Sent: Monday, July 6, 2020 12:08 PM
            To: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>
            Cc: Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy <TGlaspy@howarth-
            smith.com>; 'Huy Dang Vu (HDV@clearlightpartners.com)'
            <HDV@clearlightpartners.com>
            Subject: RE: Attorney Client Communications




                                                                                                    JJ000254
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Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 283 of 379 PageID 16789
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 284 of 379 PageID 16790




                                                                      JJ000257
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Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 286 of 379 PageID 16792


     From:              Joe James
     To:                Huy DangVu; Don Howarth
     Cc:                Peter Kim; Tim Clyde; Tomas Glaspy
     Subject:           RE: Attorney Client Communications
     Date:              Monday, July 6, 2020 12:43:00 PM


     Thank you Huy.

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Huy DangVu <hdv@clearlightpartners.com>
     Sent: Monday, July 6, 2020 12:25 PM
     To: Joe James <joe.james@halcyonft.com>; Don Howarth <DHowarth@howarth-smith.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: Re: Attorney Client Communications

     Joe - I think technically, Hugo provided support since 2007 but Halcyon did not. I’ve edited the
     paragraph below.

     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com




            On Jul 6, 2020, at 12:10 PM, Joe James <joe.james@halcyonft.com> wrote:

            I think Peters edit for section 2 is exactly what we want to translate to the other side.
            Thank you Peter.

            2.      I am employed by Halcyon Financial Technology, LP in the role of
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            current ClearLight IT systems, including data storage, and I have inquired
            from their Chief Financial Officer as to their historical IT systems dating
            back to 2007. Halcyon has provided IT support to ClearLight since 2007,
            and I have also inquired about ClearLight’s systems from Hugo Gonzalez,
            a current Partner of Halcyon, who provided IT support to ClearLight prior
            to my IT support of ClearLight. Hugo Gonzalez or I have provided IT
            support to ClearLight for all periods dating back to 2007.

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Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 288 of 379 PageID 16794
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 289 of 379 PageID 16795


     From:               Don Howarth
     To:                 Joe James; Huy DangVu
     Cc:                 Peter Kim; Tim Clyde; Tomas Glaspy
     Subject:            RE: Search Certifications Katzkin, CLP
     Date:               Wednesday, July 8, 2020 12:12:15 PM




     Thanks, Joe.

     Regarding paragraph 5, section h and I, they are left in to show that we complied with the Court order, but our
     response is that no mainframe computers or personal servers were used at CLP. Advise if that is not correct.

     The date will be the date of signature once we are all agreed.

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     privileged information. If you are not an intended recipient, please contact sender by telephone or reply email and
     destroy this email and all copies of it. Thank you.

     -----Original Message-----
     From: Joe James <joe.james@halcyonft.com>
     Sent: Wednesday, July 8, 2020 9:07 AM
     To: Don Howarth <DHowarth@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don, we are reviewing the document now.

     Regarding paragraph 5, section h and i. What is the purpose of the lines?

     h.   All existing mainframe computers, if any, which are as follows: ____________________ were accessed
     through the appropriate passwords: No mainframe computers used.
     i.   All personal servers, if any, identified as being in existence for the following persons: ___________________
     were accessed through appropriate passwords. No personal servers used.

     Also, for the date field. Are you looking for the date of signature or date of search?

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367



                                                                                                              JJ000262
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 290 of 379 PageID 16796


     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Don Howarth <DHowarth@howarth-smith.com>
     Sent: Wednesday, July 8, 2020 8:59 AM
     To: Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Huy.

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     privileged information. If you are not an intended recipient, please contact sender by telephone or reply email and
     destroy this email and all copies of it. Thank you.

     -----Original Message-----
     From: Huy DangVu <hdv@clearlightpartners.com>
     Sent: Wednesday, July 8, 2020 8:47 AM
     To: Don Howarth <DHowarth@howarth-smith.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: Re: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don - Changes look good to me.

     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com


     > On Jul 8, 2020, at 8:43 AM, Don Howarth <DHowarth@howarth-smith.com> wrote:
     >
     > <CLP Cert redline 707.docx>




                                                                                                              JJ000263
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 291 of 379 PageID 16797


     From:               Joe James
     To:                 Don Howarth; Huy DangVu
     Cc:                 Peter Kim; Tim Clyde; Tomas Glaspy
     Subject:            RE: Search Certifications Katzkin, CLP
     Date:               Wednesday, July 8, 2020 1:01:00 PM




     Thank you, Don. HalcyonFT has reviewed the document and we are good to sign it when the final edits are
     complete.

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Don Howarth <DHowarth@howarth-smith.com>
     Sent: Wednesday, July 8, 2020 12:12 PM
     To: Joe James <joe.james@halcyonft.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Joe.

     Regarding paragraph 5, section h and I, they are left in to show that we complied with the Court order, but our
     response is that no mainframe computers or personal servers were used at CLP. Advise if that is not correct.

     The date will be the date of signature once we are all agreed.

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     -----Original Message-----
     From: Joe James <joe.james@halcyonft.com>
     Sent: Wednesday, July 8, 2020 9:07 AM
     To: Don Howarth <DHowarth@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP



                                                                                                              JJ000264
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     [Warning: EXTERNAL SENDER.]

     Don, we are reviewing the document now.

     Regarding paragraph 5, section h and i. What is the purpose of the lines?

     h.   All existing mainframe computers, if any, which are as follows: ____________________ were accessed
     through the appropriate passwords: No mainframe computers used.
     i.   All personal servers, if any, identified as being in existence for the following persons: ___________________
     were accessed through appropriate passwords. No personal servers used.

     Also, for the date field. Are you looking for the date of signature or date of search?

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Don Howarth <DHowarth@howarth-smith.com>
     Sent: Wednesday, July 8, 2020 8:59 AM
     To: Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Huy.

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     -----Original Message-----
     From: Huy DangVu <hdv@clearlightpartners.com>
     Sent: Wednesday, July 8, 2020 8:47 AM
     To: Don Howarth <DHowarth@howarth-smith.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>



                                                                                                              JJ000265
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     Subject: Re: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don - Changes look good to me.

     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com


     > On Jul 8, 2020, at 8:43 AM, Don Howarth <DHowarth@howarth-smith.com> wrote:
     >
     > <CLP Cert redline 707.docx>




                                                                                     JJ000266
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                                                                      JJ000267
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 295 of 379 PageID 16801


     Sent: Wednesday, July 8, 2020 8:44 AM
     To: Peter Kim <peter.kim@katzkin.com>; Huy DangVu <hdv@clearlightpartners.com>; Joe James
     <joe.james@halcyonft.com>
     Cc: Tim Clyde <tim.clyde@katzkin.com>
     Subject: Search Certifications Katzkin, CLP

     Peter, Huy, and Joe,
     Thank you all for your input on the draft
     certification we circulated earlier.
     Attached here is a revised version that
     builds off Peter’s edits and everyone
     else’s input. In addition to
     incorporating Joe’s full name, years of
     experience, and location, we made the
     following changes:
            1. Paragraph 2: We have incorporated
                Peter’s edits regarding Hugo and
                Halycon’s history with ClearLight,
                which we tweaked to reflect the
                fact that Hugo was not always
                working for Halycon and to remove
                Hugo’s name so we don’t give
                plaintiffs any additional names of
                people involved here.

            2. Paragraphs 3.e. and footnote 1:
                Peter removed this paragraph as it
                concerns Katzkin and thus is
                outside Joe’s assignment for this
                project. While that is true, we
                want to submit this certification
                in as unchanged a form as possible
                from the version that was filed
                with the court. Every change we
                make from that version will be an
                opportunity for Mahaffey to assert

                                                                                        JJ000268
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                that we are not complying with the
                court order. So by leaving it as
                it was, but adding language to
                explain why this is not applicable,
                we head this off. Footnote 1 to
                this paragraph concerns how Katzkin
                should respond to this request as
                to backup tapes. Again, we want to
                try to keep the certification
                unchanged from what the court
                approved, and since it specifically
                calls out that the search is for
                backups, “if any” we think we can
                leave this in so that it is clear
                that we did not exclude something
                that exists.

          3. Paragraph 3.f.: this follows the
              same approach as for Paragraph
              3.e., we added this language back
              in to conform to the version of the
              certification that was filed with
              the court, and added the language
              covering backups.

          4. Paragraph 5.b.: again, we put back
              in the language about opening the
              phone and applications “as
              appropriate” as that came from the
              certification filed with the court,
              but we have incorporated Peter’s
              language about using software to
              retrieve the text messages.

          5. Paragraph 5.c. and footnote 2: as

                                                                      JJ000269
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                                                                      JJ000270
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     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax   (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com
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                                                                      JJ000271
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 299 of 379 PageID 16805


     From:               Joe James
     To:                 Tomas Glaspy
     Cc:                 dhowarth@howarth-smith.com; peter.kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject:            RE: Search Certifications Katzkin, CLP
     Date:               Friday, July 10, 2020 12:07:00 PM




     Tomas,

     Can you please reattach the final document for signature.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Tomas Glaspy <tglaspy@howarth-smith.com>
     Sent: Friday, July 10, 2020 10:27 AM
     To: Joe James <joe.james@halcyonft.com>
     Cc: dhowarth@howarth-smith.com; peter kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject: RE: Search Certifications Katzkin, CLP

     Joe,

     There are no further edits to the certification, so please go ahead and date, sign, and send us back a scan of your
     signature page so we can produce the executed certification today to plaintiffs with the documents.

     Best,
     Tomas

     Tomas Glaspy
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, CA 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     www.howarth-smith.com

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     -----Original Message-----
     From: Don Howarth <DHowarth@howarth-smith.com>
     Sent: Wednesday, July 8, 2020 1:04 PM
     To: Joe James <joe.james@halcyonft.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>



                                                                                                                    JJ000272
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 300 of 379 PageID 16806


     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, we will let you know when everyone has approved,

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     -----Original Message-----
     From: Joe James <joe.james@halcyonft.com>
     Sent: Wednesday, July 8, 2020 1:02 PM
     To: Don Howarth <DHowarth@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Thank you, Don. HalcyonFT has reviewed the document and we are good to sign it when the final edits are
     complete.

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
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     Sent: Wednesday, July 8, 2020 12:12 PM
     To: Joe James <joe.james@halcyonft.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Joe.

     Regarding paragraph 5, section h and I, they are left in to show that we complied with the Court order, but our
     response is that no mainframe computers or personal servers were used at CLP. Advise if that is not correct.

     The date will be the date of signature once we are all agreed.



                                                                                                              JJ000273
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 301 of 379 PageID 16807


     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     -----Original Message-----
     From: Joe James <joe.james@halcyonft.com>
     Sent: Wednesday, July 8, 2020 9:07 AM
     To: Don Howarth <DHowarth@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don, we are reviewing the document now.

     Regarding paragraph 5, section h and i. What is the purpose of the lines?

     h.   All existing mainframe computers, if any, which are as follows: ____________________ were accessed
     through the appropriate passwords: No mainframe computers used.
     i.   All personal servers, if any, identified as being in existence for the following persons: ___________________
     were accessed through appropriate passwords. No personal servers used.

     Also, for the date field. Are you looking for the date of signature or date of search?

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Don Howarth <DHowarth@howarth-smith.com>
     Sent: Wednesday, July 8, 2020 8:59 AM
     To: Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Huy.



                                                                                                              JJ000274
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 302 of 379 PageID 16808


     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     privileged information. If you are not an intended recipient, please contact sender by telephone or reply email and
     destroy this email and all copies of it. Thank you.

     -----Original Message-----
     From: Huy DangVu <hdv@clearlightpartners.com>
     Sent: Wednesday, July 8, 2020 8:47 AM
     To: Don Howarth <DHowarth@howarth-smith.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: Re: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don - Changes look good to me.

     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com


     > On Jul 8, 2020, at 8:43 AM, Don Howarth <DHowarth@howarth-smith.com> wrote:
     >
     > <CLP Cert redline 707.docx>




                                                                                                              JJ000275
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 303 of 379 PageID 16809


     From:               Tomas Glaspy
     To:                 Joe James
     Cc:                 dhowarth@howarth-smith.com; peter.kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject:            RE: Search Certifications Katzkin, CLP
     Date:               Friday, July 10, 2020 12:42:51 PM
     Attachments:        CLP Certification 710.docx




     Joe,

     The final version is attached here for your signature.

     Thanks,
     Tomas

     Tomas Glaspy
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, CA 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     www.howarth-smith.com

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     -----Original Message-----
     From: Joe James <joe.james@halcyonft.com>
     Sent: Friday, July 10, 2020 12:08 PM
     To: Tomas Glaspy <TGlaspy@howarth-smith.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; peter kim@katzkin.com; tim.clyde@katzkin.com;
     hdv@clearlightpartners.com
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Tomas,

     Can you please reattach the final document for signature.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Tomas Glaspy <tglaspy@howarth-smith.com>
     Sent: Friday, July 10, 2020 10:27 AM



                                                                                                                    JJ000276
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 304 of 379 PageID 16810


     To: Joe James <joe.james@halcyonft.com>
     Cc: dhowarth@howarth-smith.com; peter kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject: RE: Search Certifications Katzkin, CLP

     Joe,

     There are no further edits to the certification, so please go ahead and date, sign, and send us back a scan of your
     signature page so we can produce the executed certification today to plaintiffs with the documents.

     Best,
     Tomas

     Tomas Glaspy
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, CA 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     www.howarth-smith.com

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     Sent: Wednesday, July 8, 2020 1:04 PM
     To: Joe James <joe.james@halcyonft.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, we will let you know when everyone has approved,

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
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     Sent: Wednesday, July 8, 2020 1:02 PM
     To: Don Howarth <DHowarth@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP



                                                                                                                 JJ000277
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     [Warning: EXTERNAL SENDER.]

     Thank you, Don. HalcyonFT has reviewed the document and we are good to sign it when the final edits are
     complete.

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Don Howarth <DHowarth@howarth-smith.com>
     Sent: Wednesday, July 8, 2020 12:12 PM
     To: Joe James <joe.james@halcyonft.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Joe.

     Regarding paragraph 5, section h and I, they are left in to show that we complied with the Court order, but our
     response is that no mainframe computers or personal servers were used at CLP. Advise if that is not correct.

     The date will be the date of signature once we are all agreed.

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
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     From: Joe James <joe.james@halcyonft.com>
     Sent: Wednesday, July 8, 2020 9:07 AM
     To: Don Howarth <DHowarth@howarth-smith.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don, we are reviewing the document now.

     Regarding paragraph 5, section h and i. What is the purpose of the lines?


                                                                                                              JJ000278
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     h.   All existing mainframe computers, if any, which are as follows: ____________________ were accessed
     through the appropriate passwords: No mainframe computers used.
     i.   All personal servers, if any, identified as being in existence for the following persons: ___________________
     were accessed through appropriate passwords. No personal servers used.

     Also, for the date field. Are you looking for the date of signature or date of search?

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
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     To: Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Huy.

     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     To: Don Howarth <DHowarth@howarth-smith.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: Re: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don - Changes look good to me.



                                                                                                              JJ000279
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     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com


     > On Jul 8, 2020, at 8:43 AM, Don Howarth <DHowarth@howarth-smith.com> wrote:
     >
     > <CLP Cert redline 707.docx>




                                                                                     JJ000280
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 308 of 379 PageID 16814




                               PRIVILEGED - NOTES FOR COUNSEL
     ESI CERTIFICATION OF UNIVERSE OF DATA BASES AND SEARCH PROTOCOL
                                 DEPLOYED


    I Joseph D. James, Jr. hereby certify as follows;


    1.     Pursuant to the agreement of the parties pursuant to the Court’s order that they meet
    and confer with a Facilitator (Doc. 267) in the matter CST vs Katzkin, et al, Case No. 6:18-
    cv-01237-WWB-GJKMDFLA, I am a qualified Information Technology professional and
    have 16 years of experience in IT systems

    2.       I am employed by Halcyon Financial Technology, LP in the role of Senior
    Information Services Advisor and I am familiar with all of the current ClearLight IT
    systems, including data storage, and I have inquired from their Chief Financial Officer as
    to their historical IT systems dating back to 2007. I have also inquired about ClearLight’s
    systems from a current partner of Halcyon, who provided IT support to ClearLight prior to
    my IT support of ClearLight. Between us, we have provided IT support to ClearLight for
    all periods dating back to 2007.

    3.      I have identified the following data bases that store electronic information (ESI):

            a. .pst files maintained on each computer of Michael Kaye, Joe Schmidt, and Jeff
                Manassero
            b. Cell phones used by Michael Kaye, Joe Schmidt, and Jeff Manassero
            c. The data storage locations in the following [specify device] used for Katzkin
                networked devices for data sharing: I have not identified any data storage
                locations of Katzkin.
            d. The data storage locations in the following Global Relay email archive used for
                CLP/CLM networked devices for data sharing.
            e. The historical backups, if any, from [the agreed-upon time period] that backed
                up data from Katzkin’s devices: Not applicable, I have not worked with
                Katzkin.
            f. The historical backups, if any, as required by and for the time periods reflected
                on the attached Court order and Joint ESI Statement that backed up data from
                CLP/CLM’s devices.
            g. All existing mainframe computers, if any, which are as follows: No mainframe
                computers used.
            h. All personal servers identified as being in existence, if any, for the following
                persons: No personal servers used.
            i. The following personal devices: The cell phones of Michael Kaye, Joe Schmidt,
                and Jeff Manassero.
         l. I did not identify any other sources of ESI.




                                                                                             JJ000281
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       4. The following ESI locations were identified but were not searched: individual .pst files
       for Michael Kaye, Joe Schmidt, and Jeff Manassero were not searched because the global
       archive system captures all such electronic data. The Global Relay system is the most
       accurate and comprehensive way to search ClearLight’s emails because the system captures
       all emails sent or received by ClearLight, and even if an individual deletes an email for their
       account, the email is preserved nonetheless in the Global Relay archive.
       5. Each of the ESI locations were searched as follows:
          a. .pst files maintained on each computer of Michael Kaye, Joe Schmidt, and Jeff
              Manassero are captured by the Global Relay Email Archive which was searched
              for the years and the following searches: as specified on the attached Court
              order and Joint ESI Statement
          b. Cell phones used by Michael Kaye, Joe Schmidt, and Jeff Manassero were
              obtained and powered up and the text message applications, chat applications,
              and all other text related applications were opened, using password access as
              appropriate and searched using software to retrieve text messages (including
              recoverable deleted messages) as per the attached Joint ESI Statement as
              modified by the attached Court order.
          c. I obtained password access and accessed the following back up storage for each
              of the following cell phones as required by the attached Joint ESI Statement as
              modified by the attached Court order: Michael Kaye, Joe Schmidt, and Jeff
              Manssero and for the following dates specified on the attached Court order and
              Joint ESI Statement.
          d. The data storage locations in the following [specify device] used for Katzkin
              networked devices for data sharing, were accessed by inserting the appropriate
              passwords which provided access: Not applicable, I have not worked with
              Katzkin.
          e. The data storage locations in the following: Global Relay email archive used
              for CLP/CLM networked devices for data sharing for which I have
              administrator access that does not require a password.
          f. The historical backups, if any, for [the agreed-upon time period] that backed up
              data from Katzkin’s devices were searched as per the parties’ agreement as
              follows: Not applicable, I have not worked with Katzkin
          g. The historical backups, if any, for the time periods noted on the attached Court
              order and Joint ESI Statement that backed up data from CLP/CLM’s devices
              were searched as per the attached Joint ESI Statement as modified by the
              attached Court order
          h. All existing mainframe computers, if any, which are as follows:
                                         were accessed through the appropriate passwords: No
              mainframe computers used.
          i. All personal servers, if any, identified as being in existence for the following
              persons:                  ______ were accessed through appropriate passwords.
              No personal servers used.
       The following personal devices: the cell phones of Michael Kaye, Joe Schmidt, and Jeff
       Manassero, were provided with passwords for searching all resident data bases.




                                                                                            JJ000282
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       m. The following desktops were made available and searched for resident documents: No
       desktops used.
       6. I was provided or confirmed that the following devices had data deleted for the time
       frames agreed upon: searches conducted on the cell phones and Global Relay email archives
       included deleted messages. Any such deleted messages that met the search criteria set forth
       above and attached hereto were provided with all other messages
       I conducted the following searches on the above data bases:


       The searches were performed as set forth in the Joint ESI Statement attached hereto, as
       modified by the attached Court order.


    I declare under penalty of perjury that the foregoing is true and correct and this certification was
    executed on __________________________, 2020 at Mission Viejo, California.

                   __________________________
                   Joseph D. James, Jr.




                                                                                              JJ000283
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 311 of 379 PageID 16817


     From:               Joe James
     To:                 Tomas Glaspy
     Cc:                 dhowarth@howarth-smith.com; peter.kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject:            RE: Search Certifications Katzkin, CLP
     Date:               Friday, July 10, 2020 1:34:00 PM
     Attachments:        CLP Certification 710.pdf




     Tomas,

     The signed copy of the certification is attached.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

     -----Original Message-----
     From: Tomas Glaspy <tglaspy@howarth-smith.com>
     Sent: Friday, July 10, 2020 12:43 PM
     To: Joe James <joe.james@halcyonft.com>
     Cc: dhowarth@howarth-smith.com; peter kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject: RE: Search Certifications Katzkin, CLP

     Joe,

     The final version is attached here for your signature.

     Thanks,
     Tomas

     Tomas Glaspy
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, CA 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     www.howarth-smith.com

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     Sent: Friday, July 10, 2020 12:08 PM
     To: Tomas Glaspy <TGlaspy@howarth-smith.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; peter kim@katzkin.com; tim.clyde@katzkin.com;
     hdv@clearlightpartners.com



                                                                                                                    JJ000284
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 312 of 379 PageID 16818


     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Tomas,

     Can you please reattach the final document for signature.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
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     Cc: dhowarth@howarth-smith.com; peter kim@katzkin.com; tim.clyde@katzkin.com; hdv@clearlightpartners.com
     Subject: RE: Search Certifications Katzkin, CLP

     Joe,

     There are no further edits to the certification, so please go ahead and date, sign, and send us back a scan of your
     signature page so we can produce the executed certification today to plaintiffs with the documents.

     Best,
     Tomas

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     Howarth & Smith
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     Phone (213) 955-9400
     Fax (213) 622-0791
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     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, we will let you know when everyone has approved,



                                                                                                                 JJ000285
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 313 of 379 PageID 16819


     Don

     Don Howarth
     Howarth & Smith
     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
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     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Thank you, Don. HalcyonFT has reviewed the document and we are good to sign it when the final edits are
     complete.

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

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     Sent: Wednesday, July 8, 2020 12:12 PM
     To: Joe James <joe.james@halcyonft.com>; Huy DangVu <hdv@clearlightpartners.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>; Tomas Glaspy
     <TGlaspy@howarth-smith.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Joe.

     Regarding paragraph 5, section h and I, they are left in to show that we complied with the Court order, but our
     response is that no mainframe computers or personal servers were used at CLP. Advise if that is not correct.

     The date will be the date of signature once we are all agreed.

     Don

     Don Howarth
     Howarth & Smith


                                                                                                              JJ000286
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     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     Cc: Peter Kim <peter.kim@katzkin.com>; Tim Clyde <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don, we are reviewing the document now.

     Regarding paragraph 5, section h and i. What is the purpose of the lines?

     h.   All existing mainframe computers, if any, which are as follows: ____________________ were accessed
     through the appropriate passwords: No mainframe computers used.
     i.   All personal servers, if any, identified as being in existence for the following persons: ___________________
     were accessed through appropriate passwords. No personal servers used.

     Also, for the date field. Are you looking for the date of signature or date of search?

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276

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     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: RE: Search Certifications Katzkin, CLP

     Thanks, Huy.

     Don

     Don Howarth
     Howarth & Smith


                                                                                                              JJ000287
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     523 W. 6th Street, Suite 728
     Los Angeles, Ca. 90014
     Phone (213) 955-9400
     Fax (213) 622-0791
     dhowarth@howarth-smith.com
     www.howarth-smith.com

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     privileged information. If you are not an intended recipient, please contact sender by telephone or reply email and
     destroy this email and all copies of it. Thank you.

     -----Original Message-----
     From: Huy DangVu <hdv@clearlightpartners.com>
     Sent: Wednesday, July 8, 2020 8:47 AM
     To: Don Howarth <DHowarth@howarth-smith.com>
     Cc: Peter Kim <peter.kim@katzkin.com>; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>
     Subject: Re: Search Certifications Katzkin, CLP

     [Warning: EXTERNAL SENDER.]

     Don - Changes look good to me.

     Huy Dang Vu
     Chief Financial Officer
     100 Bayview Circle, Suite 5000
     Newport Beach, CA 92660
     Tel: (949) 725-6619 | Email: hdv@clearlightpartners.com


     > On Jul 8, 2020, at 8:43 AM, Don Howarth <DHowarth@howarth-smith.com> wrote:
     >
     > <CLP Cert redline 707.docx>




                                                                                                              JJ000288
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                                                                      JJ000289
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                      EXHIBIT 2




                      EXHIBIT 2
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        From:            Tomas Glaspy
        To:              Joe James: Bones [1eoma; Roger Rosas
        Cc:              Don Howarth; Tim Clyde; Pett>r Kirn· "Huy DangVu"
        Subject:         Searches
        Date:            Wednesday, June 17, 2112ll 9:24:58 P~I
        Attachments:     '◄..... µ, 1 L>L. • ~ ,• t r . , ,i-:. !Ir

                         r   i;;rl1fn ut1QJ1,pdt


       Joe, Roger, and Bones,


       I am attaching a few documents here pursuant to our conference this afternoon.


       First, you will find a sprea dsheet that Peter and I p1·epared that spells out the spec ific searches to
       run. Note that th e highlighted entries are searches that you do not need to run and can ignore for
       now.


       I am also attaching the ce rtification that the court approved that you will need to sign once the
       searches are completed. I think you previously saw this when we were discussing the issue with th e
       facilitator. Now that we know what searches we are going to run, we will fill in th e ce rtification to
       reflect everything that was sea rched for, but this will give you an idea as to what you will ultimately
       be certifying.




       In terms of phones, Clearlight will need to sea rch the phone s of (1) Michael Kaye, (2) Joe Schmidt,
       and (3) Jeff Manassero.



       As we discussed today, collecting that material will obviously be the first priority, so let us know if
       there is anything you need from us to expedite that process.


       Best,
       Tomas



       Tomas Glaspy
       Howarth & Smith
       523 W. 6th Street, Suite 728
       Los Angeles, CA 90014
       Phone(213)955-9400
       Fax (213) 622-0791
       www.howarth-smith.com


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                                                                                                        JJ000012
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                      EXHIBIT 3




                      EXHIBIT 3
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   Nol   for Co'l! ruel

               Agenda Items


               a. Reiterate attorney client privilege reminders on communication
              b. Magistrate's ruling
              c. Timeline
                   i. Search criteria
                   ii. Send on a rolling basiS. Compk<ebyMornfay22nd.Endofday
                  iii. Submission to court/other side by June 24th if at all possible
              d. Walk through the spreadsheet on Zoom
                     i.
                      Preliminary, still finishing it up
                     ii.
                      But will give IT team and idea of scope, and whose phones and PST's they need to get
              e. General search protocol points
                     ii. Texts - provide deleted and regular texts found - no need to document deleted or unrecoverable texts
                          1. IT needs to physically have the phone to recover deleted messages
                          2. Sign certification
                     iii.   Emails - when searching the text of the email
                             1. Do we need IT to physically get computers, or can they examine, then get a PST via fedex on a USB drive?
                             2. Exclude attachments
                             3. When say "search text" of email, Exclude header block (subject, to, from etc.), signature block, and attachments?
                                   a. May need to do this manually later on the sig block
                             4. Sign certification
                             Need email address for to/from searches



                     v. Which search# and what was searched - to Tomas




                                                                                                                                      JJ000013
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        25 [to be finalized]                                                                                                                                                           Need to discuss overall request (see separate tab)




Completed Items
Req 25                                 CLP operating agreement                                  Misc                                                                                   Completed - Howarth and Smith have docs
Req 30-32                              Market Share Source Documents                                                                                                                   Completed - Howarth and Smith have docs


Note:       * Text message searches include: text message applicatinos, chat applications, other text related applications
           the search performed by the IT consultants will include both deleted and current text messages to or from the relevant individuals. Responsive text messages will be produced whether they are current or deleted.
           See separate tab with cell phone numbers to aid in search
           ** Search text of email (ignore header, sig block, attachments)




                                                                                                                                                                                                                        JJ000015
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                      EXHIBIT 4




                      EXHIBIT 4
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        ESI CERTIFICATION OF UNIVERSE OF DATA BASES AND SEARCH
                          PROTOCOL DEPLOYED
    !
    I _________________________________ hereby certify as follows;
    !
    1.     Pursuant to the agreement of the parties pursuant to the Court’s order
    that they meet and confer with a Facilitator (Doc. 267) in the matter CST vs
    Katzkin, et al, Case No. 6:18-cv-01237-WWB-GJKMDFLA, I am a
    qualified Information Technology professional and have ___________years
    of experience in IT systems
    !
    2.     I am employed by [identify name of IT company] in the role of
    ______________and I am familiar with all of the current [Katzkin or
    ClearLight] IT systems, including data storage, and I have inquired from
    their _________________ as to their historical IT systems dating back to
    2007.
    !
    3.    I have identified the following data bases that store electronic
    information (ESI):
    !
          a. A L L        email         database            files,       (for
             example .PST, .OST, .MBOX, .NSF), files maintained on each
             [insert devices] of Michael Kaye, Peter Kim, Jeff Manaserro, Tim
             Clyde, Brooks Mayberry, Ron Leslie, Bill North, and Dave
             Sheffler
          b. Cell phones, and ALL data contained on the phone as well as ALL
             data contained on apps on the cell phone [ used by Michael Kaye,
             Peter Kim, Jeff Manaserro, Tim Clyde, Brooks Mayberry, Ron
             Leslie, Bill North, and Dave Sheffler
          c. ALL data storage locations, (both physical and virtual), and
             accessible network shares in the following [specify device] used
             for Katzkin networked devices for data sharing.
          d. ALL data storage locations, (both physical and virtual) and
             accessible network shares in the following [specify device] used
             for CLP/CLM networked devices for data sharing.
          e. The historical backups, if any, from [the agreed-upon time period]
             that backed up data from Katzkin’s devices.
          f. The historical backups, if any, from [the agreed-upon time period]
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              that backed up data from CLP/CLM’s devices.
           g. The cloud storage [as specifically agreed by the parties] that
              backed up data from all cell phones and data transmissions for the
              following cell phones: [list each phone and back up, including
              cloud services, such as dropbox, onedive, google drive, box com
           h. All existing mainframe computers, if any, which are as
              follows:____________________
           i. All physical, VM, or CLOUD based servers identified as being in
              existence, if any, for the following persons:___________________
           j. The following personal devices: [list]
       l._____________________[all other ESI]
       k. ALL Internal Communication services, apps, programs, or servers used. This
       includes things like Skype, What’s App, Signal, AOL Instant Messenger, IRC,
       etc.
       l. ALL Intranet or internal collaborative platforms or bulletin boards, such as
       SharePoint
       m. ALL DATABASES that the company has used, such as SQL, Oracle
       Database, or other document storage technologies.
       n. ALL devices assigned to the individuals when they are employed or while
       they are employed be included in the search. (Desktops, Laptops, Smartphone,
       Tablet, etc).
       4. The following ESI locations were identified but were not
       searched:________________________________________________________
       5. Each of the ESI locations were searched as follows:
          a. .pst files maintained on each [specify device] of Michael Kaye,
             Peter Kim, Jeff Manaserro, Tim Clyde, Brooks Mayberry, Ron
             Leslie, Bill North, and Dave Sheffler were searched for the
             years_______________ to ___________ and the following
             searches: [list agreed searches for each device and data bases]
          b. Cell phones [specify as agreed in search protocol] used by Michael
             Kaye, Peter Kim, Jeff Manaserro, Tim Clyde, Brooks Mayberry,
             Ron Leslie, Bill North, and Dave Sheffler were obtained and
             powered up and the text message applications, chat applications,
             and all other text related applications were opened, using password
             access as appropriate and searched as per the parties’ agreement as
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             follows: [specify]
          c. For all Cell phones agreed upon by the parties I identified the
             following back up cloud “restore” programs:
             [list each phone and back up, e.g. Dave Sheffler, Verizon]
          d. I obtained password access and accessed the following back up
             storage for each of the following cell phones [list] and for the
             following dates: [list]
          e. The data storage locations in the following [specify device] used
             for Katzkin networked devices for data sharing, were accessed by
             inserting the appropriate passwords which provided access.
          f. The data storage locations in the following [specify device] used
             for CLP/CLM networked devices for data sharing. were accessed
             by inserting the appropriate passwords which provided access.
          g. The historical backups, if any, for [the agreed-upon time period]
             that backed up data from Katzkin’s devices were searched as per
             the parties’ agreement as follows: [specify]
          h. The historical backups, if any, for [the agreed-upon time period]
             that backed up data from CLP/CLM’s devices were searched as per
             the parties’ agreement as follows: [specify].
          i. All existing mainframe computers, if any, which are as
             follows:____________________ were accessed through the
             appropriate passwords:
          j. All personal servers, if any, identified as being in existence for the
             following persons:___________________ were accessed through
             appropriate passwords.
       The following personal devices: [list], were provided with passwords for
       searching all resident data bases.
       m. The following desktops were made available and searched for resident
       documents:_______________________________________________________
       ___________________________.
       6. I was provided or confirmed that the following devices had data deleted for
       the time frames agreed upon: [list each device and deletion history]
       I conducted the following searches on the above data bases:
       !
       [list all searches]
       !
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    I declare under penalty of perjury that the foregoing is true and correct and this
    certification was executed on __________________________, 2020 at
    ________________________
    !
                 __________________________
                 IT Professional
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                      EXHIBIT 5




                      EXHIBIT 5
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                      EXHIBIT 6




                      EXHIBIT 6
Case
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    of Senior partner Kaye’s emails to and from Katkzin will provide material evidence on this
    dispute. Attachments also must be included with no editing or deleting.

    Defendants’ Position:

    Defendants discussed in the joint session that these requests were burdensome and duplicative of
    resolutions previously agreed upon with Plaintiffs and searches done as agreed. Plaintiffs asked
    whether the msk@clearlightpartners.com was the only email address that Mr. Kaye uses to
    conduct ClearLight business, whether in connection with Katzkin or otherwise, and Defendants
    confirmed in this response that it was. That was supposed to resolve these requests as having
    already been addressed by the prior agreement and search for emails to or from Michael Kaye at
    his email address msk@clearlightpartners.com. During the parties’ joint conference, Plaintiffs
    took the position that those prior requests were not sufficient because Michael Kaye could have
    other relevant email addresses that were not searched. Defendants have confirmed that there is
    no other relevant email address for Mr. Kaye. As to email attachments, which Plaintiffs raise in
    their statement, but which are not relevant here since this was supposed to be resolved, as
    Defendants have informed Plaintiffs, where relevant its IT consultants will certify the search was
    done and that all emails were turned over to counsel with attachments, so that they can be
    reviewed by counsel for purposes such as responsiveness and privilege prior to production to
    Plaintiffs.



    Plaintiffs Reply: This response avoids making any commitment to actually search Michal Kaye
    emails. Plaintiffs did not offer to resolve this by an uncertified statement of counsel that Mr.
    Kaye does not have or use for business a personal email. Once certified, that would eliminate
    that personal email account, but not the request to search and produce these highly probative
    emails which go to the disputed issue of CLP control.



    6.Emails from Michael Kaye to Peter Kim
      (December 1, 2014 to July 1, 2015)
      [Katzkin 43]
     43. Produce all emails from Michael Kaye to Peter Kim between December 1, 2014 and
         July 1, 2015.


           Defendants’ proposed compromise:
           ClearLight will conduct an ESI search



                                                                                           JJ000174
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                      EXHIBIT 7




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                      EXHIBIT 8




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                      EXHIBIT 9

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                      Marked
                      Confidential
                      and/or
                      Attorneys'
                      Eyes Only



                      EXHIBIT 9
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                    EXHIBIT 10




                    EXHIBIT 10
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                                                                 397 Filed 11/02/20 Page 341 of 379 PageID 16847
2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:13
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
        Date        Time         Number          Number
                   (UTC)
880    04/08/16 15:56:37 02                 14077480132     3520170716611011     310410878641885   SMST                        [179531785:701296:-81.3429:28.7139:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
881    04/08/16 15:56:38                    14077480132     3520170716611011     310410878641885   SMST                        [179531785:701296:-81.3429:28.7139:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
882    04/08/16   16:53:16   14077480132    14074684149                                            SMSO
883    04/08/16   16:53:16   14077480132    14074684149                                            SMSO
884
885
886
       04/08/16
       04/08/16
       04/08/16
                  16:55:10
                  17:03:23
                  18:51:12
                             14074684149
                             14077480132
                             14077480132
                                            14077480132
                                            14074684149
                                            14072228388
                                                                                                   SMST
                                                                                                   SMSO
                                                                                                   SMSO
                                                                                                                                 Albert
887
888
889
       04/08/16
       04/08/16
       04/08/16
                  19:36:21
                  19:36:21
                  19:37:19
                             14077480132
                             14077480132
                             14076018246
                                            14076018246
                                            14076018246
                                            14077480132
                                                                                 310410878641885   SMSO
                                                                                                   SMST
                                                                                                   SMST
                                                                                                           Image
                                                                                                           Image                 407-748-0132
890
891
892
       04/08/16
       04/08/16
       04/08/16
                  19:59:36
                  19:59:36
                  19:59:36
                             14077480132
                             14077480132
                             14077480132
                                            14043863609
                                            14043863609
                                            14047977920
                                                                                 310410878641885

                                                                                 310410878641885
                                                                                                   SMSO
                                                                                                   SMST
                                                                                                   SMSO
                                                                                                           Image
                                                                                                           Image
                                                                                                           Image
                                                                                                                                 to Lelsie
893
894
895
       04/08/16
       04/08/16
       04/08/16
                  19:59:36
                  20:10:52
                  20:12:47
                             14077480132
                             14077480132
                             15127445523
                                            14047977920
                                            15127445523
                                            14077480132
                                                                                                   SMST
                                                                                                   SMSO
                                                                                                   SMST
                                                                                                           Image
                                                                                                                                 404-438-3609
896    04/08/16   20:13:32   14077480132    15127445523                                            SMSO
897    04/08/16   20:14:19   15127445523    14077480132                                            SMST
898    04/08/16   20:16:29   14077480132    15127445523                                            SMSO
899    04/08/16   20:17:02   15127445523    14077480132                                            SMST
900    04/08/16   21:39:55   02             14077480132     3520170716611011     310410878641885   SMST                        [179575305:701466:-81.55764:28.53229:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
901    04/08/16 21:39:56 02                 14077480132     3520170716611011     310410878641885   SMST                        [179575305:701466:-81.55764:28.53229:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
902    04/08/16 21:41:11                    14077480132     3520170716611011     310410878641885   SMST                        [179575305:701466:-81.55764:28.53229:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
903    04/08/16 21:41:11 02                 14077480132     3520170716611011     310410878641885   SMST                        [179575305:701466:-81.55764:28.53229:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6
904    04/08/16 22:28:08 14077480132 13524287524                                                   SMSO
905    04/09/16 16:12:48 02          14077480132            3520170716611011     310410878641885   SMST                        [179575305:701466:-81.55764:28.53229:120:-1.0]
                                                                  APPLE
                                                                 IPHONE6



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                                                                                                                                                               Page 45
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                                                                 397 Filed 11/02/20 Page 342 of 379 PageID 16848
2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:24
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc    MMS Type    Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
4588   07/28/16   14:23:40   14077480132    19546169704                          310410878641885   SMSO
4589   07/28/16   14:24:49   19546169704    14077480132                          310410878641885   SMST
4590   07/28/16   14:50:57   14074922506    14077480132                                            SMSO
4591   07/28/16   14:50:57   14074922506    14077480132                          310410878641885   SMST
4592   07/28/16   14:57:21   14079204677    14077480132                                            SMSO
4593   07/28/16   14:57:21   14079204677    14077480132                          310410878641885   SMST
4594   07/28/16   15:31:52   02             14077480132     3520170716611013     310410878641885   SMST                          [179968265:703001:-80.63242:28.12986:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
4595 07/28/16 15:31:53 02                   14077480132     3520170716611013     310410878641885   SMST                          [179968265:703001:-80.63242:28.12986:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
4596 07/28/16 15:38:45 02                   14077480132     3520170716611013     310410878641885   SMST                          [179968272:703001:-80.63242:28.12986:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
4597 07/28/16 15:41:40                      14077480132     3520170716611013     310410878641885   SMST                          [179968265:703001:-80.63242:28.12986:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
4598 07/28/16 18:04:59 02                   14077480132     3520170716611013     310410878641885   SMST                          [179984650:703065:-80.75644:28.36581:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
4599 07/28/16 18:05:43 02                   14077480132     3520170716611013     310410878641885   SMST                          [179984650:703065:-80.75644:28.36581:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
4600   07/28/16   19:46:30   14077480132    13524287524                          310410878641885   SMSO
4601   07/28/16   20:24:06   14077480132    13524287524                          310410878641885   SMSO   Image,Text
4602   07/28/16   20:24:06   14077480132    13524287524                                            SMST   Image,Text
4603   07/28/16   20:24:06   14077480132    14043863609                          310410878641885   SMSO   Image,Text
4604   07/28/16   20:24:06   14077480132    14043863609                                            SMST   Image,Text
4605   07/28/16   20:47:41   14077480132    14076948782                          310410878641885   SMSO     Image
4606   07/28/16   20:47:41   14077480132    14076948782                                            SMST     Image
4607   07/28/16   20:51:33   14077480132    13524287524                          310410878641885   SMSO     Image
4608   07/28/16   20:51:33   14077480132    13524287524                                            SMST     Image
4609   07/28/16   20:51:33   14077480132    14043863609                          310410878641885   SMSO     Image
4610   07/28/16   20:51:33   14077480132    14043863609                                            SMST     Image
4611   07/28/16   20:51:33   14077480132    14076948782                          310410878641885   SMSO     Image
4612   07/28/16   20:51:33   14077480132    14076948782                                            SMST     Image
4613   07/28/16   20:52:36   14077480132    13524287524                          310410878641885   SMSO     Image
4614   07/28/16   20:52:36   14077480132    13524287524                                            SMST     Image




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                             Case 6:18-cv-01237-WWB-GJK DocumentMOBILITY
                                                                 397 Filed 11/02/20 Page 343 of 379 PageID 16849
2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:22
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc    MMS Type    Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
3826 06/29/16 16:34:57                      14077480132     3520170716611013     310410878641885   SMST                          [181532944:709113:-80.7275:28.35167:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
3827 06/29/16 16:34:58                      14077480132     3520170716611013     310410878641885   SMST                          [181532944:709113:-80.7275:28.35167:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
3828 06/29/16 16:34:58 02                   14077480132     3520170716611013     310410878641885   SMST                          [181532944:709113:-80.7275:28.35167:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
3829 06/29/16 18:12:10 14077480132 13524287524                                   310410878641885   SMSO
3830 06/29/16 18:25:55 02          14077480132              3520170716611013     310410878641885   SMST                          [179989768:703085:-80.60961:28.08844:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
3831 06/29/16 18:25:56 02                   14077480132     3520170716611013     310410878641885   SMST                          [179989768:703085:-80.60961:28.08844:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
3832 06/29/16 18:30:44 02                   14077480132     3520170716611013     310410878641885   SMST                          [179989768:703085:-80.60961:28.08844:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
3833 06/29/16 19:53:09 02                   14077480132     3520170716611013     310410878641885   SMST                          [179968271:703001:-80.63242:28.12986:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
3834 06/29/16 19:58:05 02                   14077480132     3520170716611013     310410878641885   SMST                          [179981840:703054:-80.66914:28.14103:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
3835   06/29/16   20:06:55   14077480132    14043863609                          310410878641885   SMSO   Image,Text
3836   06/29/16   20:06:55   14077480132    14043863609                                            SMST   Image,Text
3837   06/29/16   20:06:55   14077480132    14047977920                          310410878641885   SMSO   Image,Text
3838   06/29/16   20:06:55   14077480132    14047977920                                            SMST   Image,Text
3839   06/29/16   20:08:20   14043863609    14077480132                                            SMSO      Text
3840   06/29/16   20:08:20   14043863609    14077480132                          310410878641885   SMST      Text
3841   06/29/16   20:08:21   1111301000     14077480132                          310410878641885   SMST
3842   06/29/16   20:08:21   1111301000     14077480132                          310410878641885   SMST
3843   06/29/16   20:08:22   1111301000     14077480132     3520170716611013     310410878641885   SMST                          [179969809:703007:-80.71083:28.20778:210:-1.0]
                                                                 APPLE
                                                                IPHONE6
3844 06/29/16 20:08:23 1111301000           14077480132     3520170716611013     310410878641885   SMST                          [179969809:703007:-80.71083:28.20778:210:-1.0]
                                                                 APPLE
                                                                IPHONE6
3845 06/29/16 23:45:58 13214318238 14077480132                                   310410878641885   SMST
3846 06/29/16 23:45:58 13214318238 14077480132                                   310410878641885   SMST




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                             Case 6:18-cv-01237-WWB-GJK DocumentMOBILITY
                                                                 397 Filed 11/02/20 Page 344 of 379 PageID 16850
2986012.005                                                         (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:34
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating    IMEI              IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
7736   10/31/16   18:09:40   14043863609    14077480132                                     SMSO    Text
7737   10/31/16   18:09:40   14043863609    14077480132                   310410878641885   SMST    Text
7738   10/31/16   18:10:08   17607996150    14077480132                                     SMSO    Text
7739   10/31/16   18:10:08   17607996150    14077480132                   310410878641885   SMST    Text
7740   10/31/16   18:10:09   1111301000     14077480132                   310410878641885   SMST
7741   10/31/16   18:10:09   1111301000     14077480132                   310410878641885   SMST
7742   10/31/16   18:12:55   13218903969    14077480132                   310410878641885   SMST
7743   10/31/16   18:13:01   1111301000     14077480132                   310410878641885   SMST
7744   10/31/16   18:13:01   1111301000     14077480132                   310410878641885   SMST
7745   10/31/16   18:13:01   13218903969    14077480132                                     SMSO   Image
7746   10/31/16   18:13:01   13218903969    14077480132                   310410878641885   SMST   Image
7747   10/31/16   18:13:03   1111301000     14077480132                   310410878641885   SMST
7748   10/31/16   18:13:03   1111301000     14077480132                   310410878641885   SMST
7749   10/31/16   18:13:03   13218903969    14077480132                                     SMSO   Image
7750   10/31/16   18:13:03   13218903969    14077480132                   310410878641885   SMST   Image
7751   10/31/16   18:13:53   14077480132    13232157828                   310410878641885   SMSO    Text
7752   10/31/16   18:13:53   14077480132    13232157828                                     SMST    Text
7753   10/31/16   18:13:53   14077480132    13236104540                   310410878641885   SMSO    Text
7754   10/31/16   18:13:53   14077480132    13236104540                                     SMST    Text
7755   10/31/16   18:13:53   14077480132    13236403124                   310410878641885   SMSO    Text
7756   10/31/16   18:13:53   14077480132    13236403124                                     SMST    Text
7757   10/31/16   18:13:53   14077480132    14043863609                   310410878641885   SMSO    Text
7758   10/31/16   18:13:53   14077480132    14043863609                                     SMST    Text
7759   10/31/16   18:13:53   14077480132    14047977920                   310410878641885   SMSO    Text
7760   10/31/16   18:13:53   14077480132    14047977920                                     SMST    Text
7761   10/31/16   18:13:53   14077480132    17602188583                   310410878641885   SMSO    Text
7762   10/31/16   18:13:53   14077480132    17602188583                                     SMST    Text
7763   10/31/16   18:13:53   14077480132    17607996150                   310410878641885   SMSO    Text
7764   10/31/16   18:13:53   14077480132    17607996150                                     SMST    Text
7765   10/31/16   18:13:53   14077480132    18104447477                   310410878641885   SMSO    Text
7766   10/31/16   18:13:53   14077480132    18104447477                                     SMST    Text
7767   10/31/16   18:24:30   14077480132    13524287524                   310410878641885   SMSO Image,Text
7768   10/31/16   18:24:30   14077480132    13524287524                                     SMST Image,Text
7769   10/31/16   18:25:25   14077480132    13524287524                   310410878641885   SMSO
7770   10/31/16   18:25:58   14077480132    13524287524                   310410878641885   SMSO    Text
7771   10/31/16   18:25:58   14077480132    13524287524                                     SMST    Text




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                                                                 397 Filed 11/02/20 Page 345 of 379 PageID 16851
2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:35
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
8234 11/11/16 22:05:59                      14077480132     3520170716611013     310410878641885   SMST                        [179465482:701037:-81.45358:28.55047:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8235 11/11/16 22:05:59 02                   14077480132     3520170716611013     310410878641885   SMST                        [179465482:701037:-81.45358:28.55047:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8236 11/11/16 22:06:00                      14077480132     3520170716611013     310410878641885   SMST                        [179465482:701037:-81.45358:28.55047:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8237 11/11/16 22:16:05 02                   14077480132     3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
8238 11/11/16 22:16:06 02                   14077480132     3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
8239 11/11/16 22:16:13 94264                14077480132                          310410878641885   SMST
8240 11/11/16 22:16:25                      14077480132     3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
8241 11/11/16 22:16:26 02                   14077480132     3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
8242   11/12/16   13:58:56   1111301000     14077480132                          310410878641885   SMST
8243   11/12/16   13:58:56   1111301000     14077480132                          310410878641885   SMST
8244   11/12/16   13:58:56   14043863609    14077480132                                            SMSO    Text
8245   11/12/16   13:58:56   14043863609    14077480132                          310410878641885   SMST    Text
8246   11/12/16   14:07:58   12882564782    14077480132                          310410878641885   SMST
8247   11/12/16   14:07:58   12882564782    14077480132                          310410878641885   SMST
8248   11/12/16   14:13:05   14047977920    14077480132                          310410878641885   SMST    Text
8249   11/12/16   15:08:31   14047977920    14077480132                          310410878641885   SMST
8250   11/12/16   15:36:29   14077480132    14047977920                          310410878641885   SMSO
8251   11/12/16   15:45:01   14077480132                                         310410878641885   SMSO    Image
8252   11/12/16   15:45:01   14077480132                                                           MMST    Image
8253   11/12/16   15:50:23               14077480132                             310410878641885   SMST     Text
8254   11/12/16   15:50:23               14077480132                                               MMSO     Text
8255   11/12/16   15:50:23   1111301000 14077480132                              310410878641885   SMST
8256   11/12/16   15:50:23   1111301000 14077480132                              310410878641885   SMST
8257   11/12/16   16:26:39   13524558319 14077480132                             310410878641885   SMST
8258   11/12/16   17:07:23   14047977920 14077480132                             310410878641885   SMST




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2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:33
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
7713 10/31/16 15:55:42 14079246281 14077480132              3520170716611013     310410878641885   SMST                        [092303228:360559:-115.150013:36.085229:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7714 10/31/16 15:59:03 14077480132 14079246281                                   310410878641885   SMSO
7715 10/31/16 15:59:04 14077480132 14079246281                                                     SMST
7716 10/31/16 16:53:17             14077480132              3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7717 10/31/16 16:53:18                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7718 10/31/16 16:53:32                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7719 10/31/16 16:53:42                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7720 10/31/16 17:16:56                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7721 10/31/16 17:21:08                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7722 10/31/16 17:21:18                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7723 10/31/16 17:21:19                      14077480132     3520170716611013     310410878641885   SMST                        [092260220:360391:-115.1495:36.13405:0:360.0]
                                                                 APPLE
                                                                IPHONE6
7724   10/31/16   17:59:22   14073347833    14077480132                          310410878641885   SMST
7725   10/31/16   18:02:30   14077480132    14073347833                          310410878641885   SMSO
7726   10/31/16   18:07:35   14043863609    14077480132                                            SMSO    Text
7727   10/31/16   18:07:35   14043863609    14077480132                          310410878641885   SMST    Text
7728   10/31/16   18:07:36   1111301000     14077480132                          310410878641885   SMST
7729   10/31/16   18:07:36   1111301000     14077480132                          310410878641885   SMST
7730   10/31/16   18:08:55   1111301000     14077480132                          310410878641885   SMST
7731   10/31/16   18:08:55   1111301000     14077480132                          310410878641885   SMST
7732   10/31/16   18:08:55   17607996150    14077480132                                            SMSO    Text
7733   10/31/16   18:08:55   17607996150    14077480132                          310410878641885   SMST    Text
7734   10/31/16   18:09:40   1111301000     14077480132                          310410878641885   SMST
7735   10/31/16   18:09:40   1111301000     14077480132                          310410878641885   SMST



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2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:35
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
8259 11/14/16 00:53:50 02                   14077480132     3520170716611013     310410878641885   SMST                        [181518089:709055:-81.50503:28.51739:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8260 11/14/16 00:53:51 02                   14077480132     3520170716611013     310410878641885   SMST                        [181518089:709055:-81.50503:28.51739:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8261 11/14/16 00:54:49                      14077480132     3520170716611013     310410878641885   SMST                        [181518089:709055:-81.50503:28.51739:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8262 11/14/16 00:54:50 02                   14077480132     3520170716611013     310410878641885   SMST                        [181518089:709055:-81.50503:28.51739:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8263 11/14/16 00:55:04                      14077480132     3520170716611013     310410878641885   SMST                        [181518089:709055:-81.50503:28.51739:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8264   11/14/16   11:58:35   14047977920    14077480132                          310410878641885   SMST
8265   11/14/16   13:07:46   14077480132    14076948782                          310410878641885   SMSO    Text
8266   11/14/16   13:07:46   14077480132    14076948782                                            SMST    Text
8267   11/14/16   15:53:02   1111301000     14077480132                          310410878641885   SMST
8268   11/14/16   15:53:02   14043863609    14077480132                                            SMSO    Image
8269   11/14/16   15:53:02   14043863609    14077480132                          310410878641885   SMST    Image
8270   11/14/16   15:53:03   1111301000     14077480132                          310410878641885   SMST
8271   11/14/16   16:23:08   02             14077480132     3520170716611013     310410878641885   SMST                        [179353980:700601:-81.810486:26.41967:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8272 11/14/16 16:23:09 02                   14077480132     3520170716611013     310410878641885   SMST                        [179353980:700601:-81.810486:26.41967:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8273 11/14/16 16:25:04 02                   14077480132     3520170716611013     310410878641885   SMST                        [179353980:700601:-81.810486:26.41967:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8274 11/14/16 16:25:06 02                   14077480132     3520170716611013     310410878641885   SMST                        [179353980:700601:-81.810486:26.41967:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8275   11/14/16   16:39:29   14079246281    14077480132                                            SMSO
8276   11/14/16   16:39:30   14079246281    14077480132                          310410878641885   SMST
8277   11/14/16   16:48:35   14075782060    14077480132                          310410878641885   SMST
8278   11/14/16   16:48:35   14075782060    14077480132                          310410878641885   SMST
8279   11/14/16   16:57:41   02             14077480132     3520170716611013     310410878641885   SMST                        [180779018:706168:-81.78111:26.46556:240:-1.0]
                                                                 APPLE
                                                                IPHONE6




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                                                                 397 Filed 11/02/20 Page 348 of 379 PageID 16854
2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:35
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
8280 11/14/16 16:57:42 02                   14077480132     3520170716611013     310410878641885   SMST                        [180779018:706168:-81.78111:26.46556:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
8281 11/14/16 16:59:43 14077480132 14079246281                                   310410878641885   SMSO
8282 11/14/16 16:59:44 14077480132 14079246281                                                     SMST
8283 11/14/16 17:00:54             14077480132              3520170716611013     310410878641885   SMST                        [180782089:706180:-81.82722:26.41667:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8284 11/14/16 17:01:25                      14077480132     3520170716611013     310410878641885   SMST                        [180782089:706180:-81.82722:26.41667:120:-1.0]
                                                                 APPLE
                                                                IPHONE6
8285 11/14/16 17:26:36 02                   14077480132     3520170716611013     310410878641885   SMST                        [180776639:706158:-81.76844:26.62653:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
8286   11/14/16   17:45:36   14079246281    14077480132                                            SMSO
8287   11/14/16   17:45:36   14079246281    14077480132                          310410878641885   SMST
8288   11/14/16   17:47:55   14076948782    14077480132                          310410878641885   SMST
8289   11/14/16   17:56:09   14077480132    14079246281                          310410878641885   SMSO
8290   11/14/16   17:56:09   14077480132    14079246281                                            SMST
8291   11/14/16   17:56:20   14077480132    14079246281                          310410878641885   SMSO
8292   11/14/16   17:56:21   14077480132    14079246281                                            SMST
8293   11/14/16   17:57:13   14079246281    14077480132                                            SMSO
8294   11/14/16   17:57:13   14079246281    14077480132                          310410878641885   SMST
8295   11/14/16   17:58:52   14077480132    14043863609                          310410878641885   SMSO    Text
8296   11/14/16   17:58:52   14077480132    14043863609                                            SMST    Text
8297   11/14/16   17:58:52   14077480132    14047977920                          310410878641885   SMSO    Text
8298   11/14/16   17:58:52   14077480132    14047977920                                            SMST    Text
8299   11/14/16   17:59:24   14077480132    14043863609                          310410878641885   SMSO    Text
8300   11/14/16   17:59:24   14077480132    14043863609                                            SMST    Text
8301   11/14/16   17:59:24   14077480132    14047977920                          310410878641885   SMSO    Text
8302   11/14/16   17:59:24   14077480132    14047977920                                            SMST    Text
8303   11/14/16   18:09:02   02             14077480132     3520170716611013     310410878641885   SMST                        [181758984:709996:-82.4638889:27.1511111:60:-1.0]
                                                                 APPLE
                                                                IPHONE6
8304 11/14/16 18:09:03 02                   14077480132     3520170716611013     310410878641885   SMST                        [181758984:709996:-82.4638889:27.1511111:60:-1.0]
                                                                 APPLE
                                                                IPHONE6
8305 11/14/16 18:12:47 02                   14077480132     3520170716611013     310410878641885   SMST                        [180618768:705542:-82.44969:27.23127:120:-1.0]
                                                                 APPLE
                                                                IPHONE6



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                                                                 397 Filed 11/02/20 Page 349 of 379 PageID 16855
2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:38
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
9244 12/08/16 12:14:42 14074922506 14077480132                                   310410878641885   SMST
9245 12/08/16 13:26:23             14077480132              3520170716611013     310410878641885   SMST                        [179470344:701056:-81.40883:28.57536:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
9246   12/08/16   13:50:19   14077480132    14043863609                          310410878641885   SMSO    Image
9247   12/08/16   13:50:19   14077480132    14043863609                                            SMST    Image
9248   12/08/16   13:50:19   14077480132    14047977920                          310410878641885   SMSO    Image
9249   12/08/16   13:50:19   14077480132    14047977920                                            SMST    Image
9250   12/08/16   13:52:18   1111301000     14077480132                          310410878641885   SMST
9251   12/08/16   13:52:18   1111301000     14077480132                          310410878641885   SMST
9252   12/08/16   13:52:18   14043863609    14077480132                                            SMSO    Image
9253   12/08/16   13:52:18   14043863609    14077480132                          310410878641885   SMST    Image
9254   12/08/16   15:39:04   14077480132    16462267602                          310410878641885   SMSO
9255   12/08/16   15:39:05   14077480132    16462267602                                            SMST
9256   12/08/16   15:39:07   14077480132    16462267602                                            SMST
9257   12/08/16   15:39:30   14077447904    14077480132                          310410878641885   SMST
9258   12/08/16   15:42:36   14077480132    14077447904                          310410878641885   SMSO
9259   12/08/16   15:46:19   14077447904    14077480132                          310410878641885   SMST
9260   12/08/16   15:46:32   14077447904    14077480132                          310410878641885   SMST
9261   12/08/16   16:00:13   14077480132    14077447904                          310410878641885   SMSO
9262   12/08/16   16:05:52   14077447904    14077480132                          310410878641885   SMST
9263   12/08/16   16:07:35   14077480132    14077447904                          310410878641885   SMSO
9264   12/08/16   16:09:49   14077447904    14077480132                          310410878641885   SMST
9265   12/08/16   17:30:34   14079246281    14077480132                                            SMSO
9266   12/08/16   17:30:35   14079246281    14077480132                          310410878641885   SMST
9267   12/08/16   18:08:58   14077398718    14077480132                          310410878641885   SMST
9268   12/08/16   18:09:18   14077398718    14077480132                          310410878641885   SMST
9269   12/08/16   21:35:16   02             14077480132     3520170716611013     310410878641885   SMST                        [180227592:704014:-81.23944:28.94444:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
9270 12/08/16 21:40:27 02                   14077480132     3520170716611013     310410878641885   SMST                        [180225040:704004:-81.27944:28.89139:210:-1.0]
                                                                 APPLE
                                                                IPHONE6
9271 12/08/16 21:40:28                      14077480132     3520170716611013     310410878641885   SMST                        [180225040:704004:-81.27944:28.89139:210:-1.0]
                                                                 APPLE
                                                                IPHONE6
9272 12/08/16 21:40:28 02                   14077480132     3520170716611013     310410878641885   SMST                        [180225040:704004:-81.27944:28.89139:210:-1.0]
                                                                 APPLE
                                                                IPHONE6



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2986012.005                                                              (with cell location)
09/26/2020                        AT&T has queried for records from 01/01/2016 12:00:00am to 12/31/2016 11:59:59pm
                                  AT&T has queried for records using Pacific Time Zone. AT&T's records are stored and provided in
                                  UTC.


Run Date:               09/27/2020
Run Time:               01:20:38
SMS Usage For:          (407)748-0132

Item    Conn.      Conn.      Originating     Terminating         IMEI                IMSI         Desc   MMS Type   Feature   Cell Location
         Date       Time         Number          Number
                   (UTC)
9296 12/09/16 15:28:42 02                   14077480132     3520170716611013     310410878641885   SMST                        [179467784:701046:-81.41132:28.5475:30:-1.0]
                                                                 APPLE
                                                                IPHONE6
9297 12/09/16 15:45:58 02                   14077480132     3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
9298 12/09/16 15:45:59 02                   14077480132     3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
9299 12/09/16 15:46:59 13525090214 14077480132                                   310410878641885   SMST
9300 12/09/16 15:49:08 02          14077480132              3520170716611013     310410878641885   SMST                        [181526794:709089:-81.47111:28.55139:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
9301 12/09/16 16:18:59 14077480132 13524287524                                   310410878641885   SMSO
9302 12/09/16 17:28:00 02          14077480132              3520170716611013     310410878641885   SMST                        [179519512:701248:-81.71889:28.54694:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
9303 12/09/16 17:28:01 02                   14077480132     3520170716611013     310410878641885   SMST                        [179519512:701248:-81.71889:28.54694:240:-1.0]
                                                                 APPLE
                                                                IPHONE6
9304 12/09/16 17:40:36 14077480132 13524558319                                   310410878641885   SMSO
9305 12/09/16 18:13:09             14077480132              3520170716611013     310410878641885   SMST                        [179468296:701048:-81.415455:28.527808:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
9306 12/09/16 18:13:09 02                   14077480132     3520170716611013     310410878641885   SMST                        [179468296:701048:-81.415455:28.527808:0:-1.0]
                                                                 APPLE
                                                                IPHONE6
9307   12/09/16   20:24:43   1111301000     14077480132                          310410878641885   SMST
9308   12/09/16   20:24:43   1111301000     14077480132                          310410878641885   SMST
9309   12/09/16   20:24:43   13524287524    14077480132                                            SMSO    Image
9310   12/09/16   20:24:43   13524287524    14077480132                          310410878641885   SMST    Image
9311   12/09/16   20:37:33   14077480132    14043863609                          310410878641885   SMSO    Image
9312   12/09/16   20:37:33   14077480132    14043863609                                            SMST    Image
9313   12/09/16   20:37:33   14077480132    14047977920                          310410878641885   SMSO    Image
9314   12/09/16   20:37:33   14077480132    14047977920                                            SMST    Image
9315   12/09/16   21:14:36   14077480132    13218903969                          310410878641885   SMSO    Image
9316   12/09/16   21:14:36   14077480132    13218903969                                            SMST    Image
9317   12/09/16   21:14:36   14077480132    13218908250                          310410878641885   SMSO    Image
9318   12/09/16   21:14:36   14077480132    13218908250                                            SMST    Image
9319   12/09/16   21:36:19   14077480132    13057472627                          310410878641885   SMSO




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                    EXHIBIT 11




                    EXHIBIT 11
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     From:              Joe James
     To:                Tomas Glaspy; Roger Rosas; Bones Ijeoma
     Cc:                Don Howarth; Tim Clyde; Peter Kim; "Huy DangVu"
     Subject:           RE: Searches
     Date:              Friday, June 19, 2020 5:05:00 PM
     Attachments:       image001.png
                        image002.png
                        image003.png
                        image004.png
                        image005.png
                        image006.png


     Team,

     Cell phone searches for all named CLP employees are now complete. Tomas, I will add the findings to the OneDrive file
     later tonight.

     All current email searches are now complete, and PST requests submitted to Global Relay.

     Search results:

     Search Req 38 – 23 emails
     Search # 2 – 525 emails
     Search # 6 – 70 emails
     Search # 11 - 128 emails
     Search # 12 – 950 - emails
     Search # 14 – 46 emails
     Search # 16 - 1 email
     Search # 17 - 6 emails
     Search # 18 - 2 emails
     Search # 19 – 0 emails ( No .PST needed)
     Search # 23 – 11 emails

     Thank you,


     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Tomas Glaspy <TGlaspy@howarth-smith.com>
     Sent: Thursday, June 18, 2020 8:35 PM
     To: Roger Rosas <rrosas@allsafeit.com>; Joe James <joe.james@halcyonft.com>; Bones Ijeoma
     <bijeoma@allsafeit.com>
     Cc: Don Howarth <DHowarth@howarth-smith.com>; Tim Clyde <tim.clyde@katzkin.com>; Peter Kim
     <peter.kim@katzkin.com>; 'Huy DangVu' <hdv@clearlightpartners.com>
     Subject: RE: Searches

     Roger, Bones, and Joe,

     Further to our conversation yesterday, there are some additional searches we will need you to run. We have updated
     the attached chart that was circulated last night, but to summarize those additional searches are as follows:

     Search 12: The phrase “Ron Leslie” and the word “Orlando” in the text of emails for the period January 1, 2015 to July


                                                                                                                JJ000223
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     From:              Joe James
     To:                Peter Kim; Tomas Glaspy (tglaspy@howarth-smith.com); Bones Ijeoma; rrosas@allsafeit.com; Tim Clyde; Brooks
                        Mayberry
     Subject:           RE: Attorney Client Communication - Discovery
     Date:              Tuesday, June 23, 2020 3:11:00 PM


     Team,

     Search # 1 – 3 emails discovered
     Search # 22 – 20 emails discovered
     Search # 25 - 2 emails discovered

     Tomas – I will keep you updated once I get the PST files and upload them to the Howarth & Smith
     OneDrive.

     Thank you,

     Joe James
     Senior Information Services Advisor
     Halcyon Financial Technology, L.P.
     Email: joe.james@halcyonft.com
     Direct: 415-960-4367

     HalcyonFT Support:
     Non-Urgent: help@halcyonft.com
     Urgent: 415-967-7276


     From: Peter Kim <peter.kim@katzkin.com>
     Sent: Monday, June 22, 2020 5:00 PM
     To: Tomas Glaspy (tglaspy@howarth-smith.com) <tglaspy@howarth-smith.com>; Bones Ijeoma
     <bijeoma@allsafeit.com>; rrosas@allsafeit.com; Joe James <joe.james@halcyonft.com>; Tim Clyde
     <tim.clyde@katzkin.com>; Brooks Mayberry <brooks@katzkin.com>
     Subject: Attorney Client Communication - Discovery

     Privileged – Attorney Client Communication:

     Tomas and team:
        1. Please find attached the additional searches we agreed upon
        2. Tomas – please email the users directly re: hardcopy searches at the bottom of the page

     Peter




                                                                                                                     JJ000238
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                    EXHIBIT 12




                    EXHIBIT 12
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 Number                    Date                      Bate Number
                       1                 21‐Jul‐03   Katzkin007789‐90
                       2                 7‐Aug‐03    Katzkin007793‐95
                       3                 1‐Oct‐03    Katzkin007796
                       4                 5‐Oct‐03    Katzkin007797‐98
                       5               28‐Oct‐04     Katzkin007799
                       6               28‐Oct‐04     Katzkin007799‐800
                       7               10‐Nov‐04     Katzkin007801‐807
                       8               29‐Nov‐04     Katzkin007808‐09
                       9               29‐Nov‐04     Katzkin007810‐11
                      10                 8‐Dec‐04    Katzkin007812‐13
                      11                20‐Jun‐05    Katzkin008157‐95
                      12               30‐Sep‐05     Katzkin007814‐16
                      13                 3‐Oct‐05    Katzkin007817‐20
                      14                 3‐Oct‐05    Katzkin007821‐24
                      15               21‐Nov‐05     Katzkin007825
                      16               21‐Nov‐05     Katzkin007826‐27
                      17               21‐Nov‐05     Katzkin007828‐29
                      18               22‐Nov‐05     Katzkin007830‐31
                      19                 6‐Dec‐05    Katzkin007832‐34
                      20               13‐Dec‐05     Katzkin007835‐40
                      21               22‐Dec‐05     Katzkin007841‐47
                      22               28‐Dec‐05     Katzkin007848‐55
                      23               28‐Dec‐05     Katzkin007856‐63
                      24                11‐Jan‐06    Katzkin007864‐74
                      25                12‐Jan‐06    Katzkin007875‐85
                      26                12‐Jan‐06    Katzkin007886‐96
                      27                12‐Jan‐06    Katzkin007897, 007909, 007921,
                      28                12‐Jan‐06    Katzkin007898‐908
                      29                12‐Jan‐06    Katzkin007910‐33
                      30                17‐Jan‐06    Katzkin007944‐46
                      31                18‐Jan‐06    Katzkin007940‐43
                      32                24‐Jan‐06    Katzkin007938‐39
                      33                27‐Jan‐06    Katzkin007936‐37
                      34                 4‐Dec‐14    Katzkin/CLP009030‐32
                      35               12‐Dec‐14     Katzkin/CLP009024‐29
                      36                  5‐Jan‐15   Katzkin/CLP009023
                      37                  8‐Jan‐15   Katzkin/CLP009022
                      38                15‐Jan‐15    Katzkin/CLP009021
                      39                25‐Jan‐15    Katzkin/CLP009020
                      40                25‐Jan‐15    Katzkin/CLP009018‐19
                      41                25‐Jan‐15    Katzkin/CLP009015‐17
                      42                28‐Jan‐15    Katzkin/CLP009012‐14
                      43                29‐Jan‐15    Katzkin/CLP009010‐11
                      44                 7‐Feb‐15    Katzkin/CLP009008‐9
                      45                 7‐Feb‐15    Katzkin/CLP009006‐7
                      46               10‐Feb‐15     Katzkin/CLP009033‐38
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                      47                11‐Feb‐15    Katzkin/CLP009080‐83
                      48                12‐Feb‐15    Katzkin007570‐71, Katzkin/CLP00
                      49                13‐Feb‐15    Katzkin007568‐69, Katzkin/CLP0
                      50                12‐Feb‐15    Katzkin007567, Katzkin/CLP0090
                      51                12‐Feb‐15    Katzkin007565‐66, Katzkin/CLP00
                      52                12‐Feb‐15    Katzkin/CLP009097‐98
                      53                25‐Feb‐15    Katzkin/CLP009039‐42
                      54               10‐Mar‐15     Katzkin007561‐64
                      55               11‐Mar‐15     Katzkin/CLP009043
                      56               12‐Mar‐15     Katzkin/CLP009044‐47
                      57               13‐Mar‐15     Katzkin/CLP009099‐104
                      58               13‐Mar‐15     Katzkin/CLP009105‐110
                      59               13‐Mar‐15     Katzkin/CLP009063‐64
                      60               13‐Mar‐15     Katzkin007560
                      61               14‐Mar‐15     Katzkin/CLP009062
                      62               14‐Mar‐15     Katzkin/CLP009061
                      63               15‐Mar‐15     Katzkin/CLP009058‐60
                      64               15‐Mar‐15     Katzkin/CLP009057
                      65               16‐Mar‐15     Katzkin/CLP009111‐14
                      66               16‐Mar‐15     Katzkin/CLP009056
                      67               16‐Mar‐15     Katzkin/CLP009055
                      68               16‐Mar‐15     Katzkin/CLP009054
                      69               16‐Mar‐15     Katzkin/CLP009052‐53
                      70               16‐Mar‐15     Katzkin/CLP009050‐51
                      71               17‐Mar‐15     Katzkin/CLP009115
                      72               17‐Mar‐15     Katzkin/CLP009116
                      73               17‐Mar‐15     Katzkin/CLP009117‐118
                      74               17‐Mar‐15     Katzkin/CLP009048‐49
                      75               17‐Mar‐15     Katzkin/CLP009065‐68
                      76               18‐Mar‐15     Katzkin/CLP009079
                      77               20‐Mar‐15     Katzkin/CLP009078
                      78               20‐Mar‐15     Katzkin/CLP009077
                      79                13‐Apr‐15    Katzkin007559
                      80                14‐Apr‐15    Katzkin/CLP009119‐22
                      81                14‐Apr‐15    Katzkin007553‐55, Katzkin/CLP00
                      82                14‐Apr‐15    Katzkin007556‐57
                      83                14‐Apr‐15    Katzkin007558
                      84                20‐Apr‐15    Katzkin/CLP009076
                      85                22‐Apr‐15    Katzkin/CLP009075
                      86                7‐May‐15     Katzkin/CLP009072‐74
                      87               10‐May‐15     Katzkin/CLP009071
                      88               24‐May‐15     Katzkin/CLP009070
                      89               29‐May‐15     Katzkin007551‐52
                      90                 6‐Jun‐15    Katzkin/CLP009069
                      91                  1‐Jul‐15   Katzkin/CLP009166‐67
                      92                  7‐Jul‐15   Katzkin/CLP009168
                      93                12‐Jan‐16    Katzkin/CLP009510‐618
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                      94                13‐Jan‐16   Katzkin/CLP009401‐509
                      95                13‐Jan‐16   Katzkin/CLP009316‐400
                      96                14‐Jan‐16   Katzkin/CLP009231‐315
                      97                 5‐Feb‐16   Katzkin008230‐42
                      98                11‐Feb‐16   Katzkin/CLP009630‐40
                      99                15‐Feb‐16   Katzkin/CLP009218‐30
                     100                17‐Feb‐16   Katzkin/CLP009211
                     101                17‐Feb‐16   Katzkin007740‐41, Katzkin/CLP00
                     102                17‐Feb‐16   Katzkin/CLP009214‐15
                     103                18‐Feb‐16   Katzkin/CLP009216‐17
                     104                26‐Feb‐16   Katzkin007947‐52, Katzkin/CLP00
                     105                26‐Feb‐16   Katzkin007953‐62, Katzkin/CLP00
                     106                26‐Feb‐16   Katzkin007963‐65, Katzkin/CLP00
                     107                29‐Feb‐16   Katzkin/CLP009619‐29
                     108                3‐May‐16    Katzkin008243‐59
                     109                4‐May‐16    Katzkin007004‐07
                     110               12‐May‐16    Katzkin007008‐11
                     111                 9‐Mar‐16   Katzkin/CLP009208‐10
                     112               14‐Mar‐16    Katzkin006956‐61
                     113               14‐Mar‐16    Katzkin006962‐67
                     114               14‐Mar‐16    Katzkin006968
                     115               14‐Mar‐16    Katzkin006969‐74
                     116               14‐Mar‐16    Katzkin/CLP009202‐07
                     117               16‐Mar‐16    Katzkin006975‐79
                     118               16‐Mar‐16    Katzkin006980‐83
                     119               18‐Mar‐16    Katzkin006984‐87
                     120               20‐Mar‐16    Katzkin006988‐89
                     121               22‐Mar‐16    Katzkin006990‐91
                     122               23‐Mar‐16    Katzkin006992‐93
                     123               25‐Mar‐16    Katzkin/CLP009199‐201
                     124               30‐Mar‐16    Katzkin006994‐95
                     125                 7‐Apr‐16   Katzkin/CLP009158‐59
                     126                 7‐Apr‐16   Katzkin/CLP009160‐61
                     127                 7‐Apr‐16   Katzkin/CLP009162‐63
                     128                 7‐Apr‐16   Katzkin/CLP009164‐65
                     129                12‐Apr‐16   Katzkin/CLP009003‐05
                     130                13‐Apr‐16   Katzkin006996‐99
                     131                18‐Apr‐16   Katzkin007966‐67, Katzkin/CLP00
                     132                18‐Apr‐16   Katzkin007968‐71, Katzkin/CLP00
                     133                21‐Apr‐16   Katzkin007972‐77
                     134                21‐Apr‐16   Katzkin007978‐80
                     135                21‐Apr‐16   Katzkin007981‐83
                     136                25‐Apr‐16   Katzkin007984‐87
                     137                25‐Apr‐16   Katzkin007988‐89
                     138                26‐Apr‐16   Katzkin007990‐91
                     139                26‐Apr‐16   Katzkin007992‐94
                     140                26‐Apr‐16   Katzkin007995‐97
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                     141                27‐Apr‐16   Katzkin007000‐03
                     142                28‐Apr‐16   Katzkin007998‐8000
                     143                28‐Apr‐16   Katzkin008001‐03
                     144                28‐Apr‐16   Katzkin008004‐06
                     145                28‐Apr‐16   Katzkin008007‐09
                     146                28‐Apr‐16   Katzkin008010‐12
                     147                28‐Apr‐16   Katzkin008013‐15
                     148                28‐Apr‐16   Katzkin008016‐18
                     149                28‐Apr‐16   Katzkin008019‐21
                     150                29‐Apr‐16   Katzkin008022
                     151                29‐Apr‐16   Katzkin008023
                     152                29‐Apr‐16   Katzkin008026‐27
                     153                29‐Apr‐16   Katzkin008024‐25
                     154                29‐Apr‐16   Katzkin008028‐29
                     155                29‐Apr‐16   Katzkin008030‐31
                     156                29‐Apr‐16   Katzkin008032‐33
                     157                29‐Apr‐16   Katzkin008034‐35
                     158                29‐Apr‐16   Katzkin008036‐37
                     159                29‐Apr‐16   Katzkin008038‐41
                     160                29‐Apr‐16   Katzkin008042‐44
                     161                29‐Apr‐16   Katzkin008045‐47
                     162                29‐Apr‐16   Katzkin008048‐50
                     163                29‐Apr‐16   Katzkin008051‐54
                     164                29‐Apr‐16   Katzkin008055‐58
                     165               16‐May‐16    Katzkin008059‐67
                     166               17‐May‐16    Katzkin008068‐79
                     167               17‐May‐16    Katzkin008080‐91
                     168               18‐May‐16    Katzkin008092
                     169               18‐May‐16    Katzkin008093‐94
                     170               19‐May‐16    Katzkin007012‐15
                     171               18‐May‐16    Katzkin008095
                     172               20‐May‐16    Katzkin008096‐101
                     173               20‐May‐16    Katzkin008102‐03
                     174               23‐May‐16    Katzkin008104‐07
                     175               25‐May‐16    Katzkin007016‐19
                     176               25‐May‐16    Katzkin008108‐09
                     177               25‐May‐16    Katzkin008110‐11
                     178               25‐May‐16    Katzkin008112‐13
                     179               27‐May‐16    Katzkin008114‐15
                     180               30‐May‐16    Katzkin008116‐21
                     181               31‐May‐16    Katzkin008122‐39
                     182                 1‐Jun‐16   Katzkin007020‐23
                     183                 8‐Jun‐16   Katzkin007024‐27
                     184                 9‐Jun‐16   Katzkin/CLP009185‐98
                     185                 9‐Jun‐16   Katzkin/CLP009170‐84
                     186                15‐Jun‐16   Katzkin007028‐31
                     187                22‐Jun‐16   Katzkin007032‐35
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                     188                29‐Jun‐16    Katzkin007036‐39
                     189                  6‐Jul‐16   Katzkin007040‐43
                     190                 13‐Jul‐16   Katzkin007044‐47
                     191                 20‐Jul‐16   Katzkin007048‐51
                     192                 27‐Jul‐16   Katzkin007052‐55
                     193                 3‐Aug‐16    Katzkin007056‐59
                     194               10‐Aug‐16     Katzkin007060‐63
                     195               17‐Aug‐16     Katzkin007064‐67
                     196               24‐Aug‐16     Katzkin007068‐71
                     197               31‐Aug‐16     Katzkin007072‐75
                     198                 7‐Sep‐16    Katzkin007076‐79
                     199               16‐Sep‐16     Katzkin007080‐83
                     200               23‐Sep‐16     Katzkin007084‐87
                     201               28‐Sep‐16     Katzkin007088‐91
                     202               12‐Oct‐16     Katzkin007092‐95
                     203               19‐Oct‐16     Katzkin007096‐99
                     204               26‐Oct‐16     Katzkin007100‐03
                     205                9‐Nov‐16     Katzkin007104‐07
                     206               16‐Nov‐16     Katzkin007108‐11
                     207               18‐Nov‐16     Katzkin007112‐13
                     208               18‐Nov‐16     Katzkin007114‐19
                     209               18‐Nov‐16     Katzkin007120‐25
                     210               21‐Nov‐16     Katzkin007126‐34
                     211               22‐Nov‐16     Katzkin007135‐42
                     212               23‐Nov‐16     Katzkin007143‐46
                     213               28‐Nov‐16     Katzkin007147‐57
                     214                 2‐Dec‐16    Katzkin007158‐71
                     215                 2‐Dec‐16    Katzkin007172‐75
                     216                 6‐Dec‐16    Katzkin007176‐93
                     217                 6‐Dec‐16    Katzkin007194‐206
                     218                 7‐Dec‐16    Katzkin007207‐10
                     219                 7‐Dec‐16    Katzkin007211‐20
                     220                 8‐Dec‐16    Katzkin007221‐22
                     221                 9‐Dec‐16    Katzkin007223‐34
                     222                 9‐Dec‐16    Katzkin007235‐48
                     223               12‐Dec‐16     Katzkin007249‐53, Katzkin/CLP00
                     224               12‐Dec‐16     Katzkin/CLP008993‐97, Katzkin/C
                     225               12‐Dec‐16     Katzkin007572‐86, Katzkin00725
                     226               14‐Dec‐16     Katzkin007259‐62
                     227               21‐Dec‐16     Katzkin007263‐68
                     228                  4‐Jan‐17   Katzkin007269‐72
                     229                18‐Jan‐17    Katzkin007273‐76
                     230                24‐Jan‐17    Katzkin007277‐80
                     231                25‐Jan‐17    Katzkin007281‐84
                     232                 1‐Feb‐17    Katzkin007285‐88
                     233                 8‐Feb‐17    Katzkin007289‐92
                     234               15‐Feb‐17     Katzkin007293‐96
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                     235                21‐Feb‐17     Katzkin007297‐300
                     236                 8‐Mar‐17     Katzkin007301‐04
                     237               15‐Mar‐17      Katzkin007305‐10
                     238               29‐Mar‐17      Katzkin007311‐14
                     239                 7‐Apr‐17     Katzkin007315‐18
                     240                11‐Apr‐17     Katzkin007319‐38
                     241                11‐Apr‐17     Katzkin007339‐46
                     242                11‐Apr‐17     Katzkin007347‐54
                     243                13‐Apr‐17     Katzkin007355‐90
                     244                13‐Apr‐17     Katzkin007391‐98
                     245                13‐Apr‐17     Katzkin007399‐413
                     246                3‐May‐17      Katzkin007414‐15
                     247               13‐May‐17      Katzkin007700‐03
                     248               13‐May‐17      Katzkin007694‐99
                     249               14‐May‐17      Katzkin007688‐93
                     250               15‐May‐17      Katzkin007704‐23
                     252               15‐May‐17      Katzkin007736‐39
                     253               15‐May‐17      Katzkin/CLP009151‐53
                     254               15‐May‐17      Katzkin/CLP009154‐57
                     255               17‐May‐17      Katzkin007730‐35
                     256               17‐May‐17      Katzkin007416‐17
                     257               24‐May‐17      Katzkin007418‐19
                     258               31‐May‐17      Katzkin007420‐21
                     259               31‐May‐17      Katzkin007422‐24
                     260               31‐May‐17      Katzkin007425‐30
                     261               31‐May‐17      Katzkin007431‐39
                     262               31‐May‐17      Katzkin007440‐51
                     263               31‐May‐17      Katzkin007452‐55
                     264               31‐May‐17      Katzkin007456‐59
                     265                  5‐Jun‐17    Katzkin007460‐64
                     267                  5‐Jun‐17    Katzkin007465‐69
                     268                  7‐Jun‐17    Katzkin007470‐71
                     269                12‐Jun‐17     Katzkin007602‐13? (or 12)
                     270                12‐Jun‐17     Katzkin007664‐87
                     271                14‐Jun‐17     Katzkin007472‐73
                     272                16‐Jun‐17     Katzkin007724‐29
                     273                21‐Jun‐17     Katzkin007474‐75
                     274                28‐Jun‐17     Katzkin007476‐77
                     275                28‐Jun‐17     Katzkin007614‐39
                     276                28‐Jun‐17     Katzkin007640‐63
                     277                   5‐Jul‐17   Katzkin007478‐79
                     278                 26‐Jul‐17    Katzkin007480‐81
                     279                 2‐Aug‐17     Katzkin007482‐83
                     280               10‐Aug‐17      Katzkin007484‐85
                     281               16‐Aug‐17      Katzkin007486‐87
                     282               23‐Aug‐17      Katzkin007488‐89
                     283               30‐Aug‐17      Katzkin007490‐91
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                             284        6‐Sep‐17    Katzkin007492‐93
                             285       13‐Sep‐17    Katzkin007494‐95
                             286       27‐Sep‐17    Katzkin007496‐97
                             287        4‐Oct‐17    Katzkin007498‐500
                             288       11‐Oct‐17    Katzkin007501‐02
                             289       18‐Oct‐17    Katzkin007503‐04
                             290       25‐Oct‐17    Katzkin007505‐06
                             291        8‐Nov‐17    Katzkin007507‐08
                             292       15‐Nov‐17    Katzkin007509‐10
                             293       29‐Nov‐17    Katzkin007511‐12
                             294        7‐Dec‐17    Katzkin007513‐14
                             295       27‐Dec‐17    Katzkin007515‐16
 Pages 2237‐2253 are texts
                             296         3‐Jan‐18   Katzkin007517‐18
                             297        10‐Jan‐18   Katzkin007519‐20
                             298        15‐Jan‐18   Katzkin007742‐54
                             299        15‐Jan‐18   Katzkin007759‐76
                             300        15‐Jan‐18   Katzkin007755‐58
                             301        15‐Jan‐18   Katzkin007785‐88
                             302        15‐Jan‐18   Katzkin007777‐84
                             303        17‐Jan‐18   Katzkin007521‐22
                             304        31‐Jan‐18   Katzkin007523‐24
                             305         6‐Feb‐18   Katzkin007525‐26
                             306       14‐Feb‐18    Katzkin007527‐28
                             307       21‐Feb‐18    Katzkin007529‐30
                             308       28‐Feb‐18    Katzkin007531‐32
                             309        7‐Mar‐18    Katzkin007533‐34
                             310       14‐Mar‐18    Katzkin007535‐36
                             311       21‐Mar‐18    Katzkin007537‐38
                             312         4‐Apr‐18   Katzkin007539‐40
                             313       11‐Apr‐18    Katzkin007541‐42
                             314       18‐Apr‐18    Katzkin007543‐44
                             315       24‐Apr‐18    Katzkin007545‐46
                             316        2‐May‐18    Katzkin007547‐50
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 Sending                     Receiving                         Subject
 Mitch Katz                  Ron Leslie                        An Update on Incentives
 Ron Leslie                  Mitch Katz                        SEMA eNews (Vol. 6, No. 31)
 FEisen777@aol.com           alanp@katzkin.com; fredjr@katzvery, very nice september
 FEisen777@aol.com           alanp@katzkin.com; fredjr@katzrepeated subject questions from
 Ron Leslie                  Mitch Katz                        Sema Theme this year
 Mitch Katz                  Sandy Tickle; RonL@katzkin.comSema Theme this year
 Alan Pittle                 Mitch Katz; Sandy Tickle; RonL@ No in seat airbags ?? please conf
 Brooks Mayberry             ycchan@dk‐schweizer.com           Your call
 Chan Yew Chong              Brooks Mayberry                   Your Call
 Crowne Plaza Resort         carmen@katzkin.com                Crowne Plaza Resort Confirmatio
 efax message@inbound.efaxcombrooks@katzkincom                 efax from 3233950299
 Doug Brown                  Ron Leslie                        Issues, Pattern Questions & Mor
 Rodney Wells                Brooks Mayberry                   Issues, Pattern Questions & Mor
 Ron Leslie Bell South       Mitch Katz                        Issues, Pattern Questions & Mor
 Ron Leslie Bell South       mitch@katzkin.com, Brooks MayTerritory Distribution
 Ron Leslie Bell South       mitch@katzkin.com, Brooks MayTerritory Distribution
 Ron Leslie Bell South       mitch@katzkin.com, Brooks MayTerritory Distribution
 Mitch Katz                  ronl@katzkin.com                  Territory Distribution
 Brooks Mayberry             Danny Koek, Chan Yew Chong, MFuture Strategy
 Chan Yew Chong              Brooks Mayberry, Mitch Katz, DaDk‐Katzkin Future Strategy
 Brooks Mayberry             Danny Koek, Chan Yew Chong, MDk‐Katzkin Future Strategy
 Brooks Mayberry             Mitch Katz                        Dk‐Katzkin Future Strategy
 Brooks Mayberry             Danny Koek, Chan Yew Chong, MDk‐Katzkin Future Strategy
 Brooks Mayberry             Mitch Katz                        Please Review this Draft & Advis
 Mitch Katz                  Brooks Mayberry                   Please Review this Draft & Advis
 Brooks Mayberry             Rodney Wells                      Dk‐Katzkin Future Strategy
 Brooks Mayberry             Brooks Mayberry                   Automotive News Articles
 Brooks Mayberry             Rodney Wells                      Dk‐Katzkin Future Strategy
 Brooks Mayberry             Danny Koek, Chan Yew Chong, MDk‐Katzkin Future Strategy
 Mitch Katz                  ronl@katzkin.com                  FYI
 Ron Leslie Bell South       Mitch Katz                        FYI
 dsheffler@katzkin.com       ronl@katzkin.com, Mitch Katz RAWHIDE
 Ron Leslie Bell South       dsheffler@katzkin.com             RAWHIDE
 Michael S. Kaye             Peter Y. Kim                      Investment Banking Referrals
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Katzkin?
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Tim's comp proposal for Ron Les
 Michael S. Kaye             Peter Y. Kim                      Lunch Tomorrow
 Michael S. Kaye             David Frosh, msk@clearlightpart Tim Clyde
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Katzkin‐offsite review to CLP
 Michael S. Kaye             Peter Y. Kim                      Katzkin‐offsite review to CLP
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Katzkin
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Katzkin
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim, IsKatzkin Budget Review
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Katzkin write up for CLP annual r
 Michael S. Kaye             Joseph J Schmidt, Peter Y. Kim Katzkin write up for CLP annual r
 Michael S. Kaye             Robert J. Martin; Joseph J. Schm Katzkin Budget Narrative for Sec
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 363 of 379 PageID 16869


 Rachel A. Keal         Paul Louie                        NDA
 Rachel A. Keal         Joseph J. Schmidt, Peter Y. Kim, RRosen Electronics Management P
 Tim Clyde              Rachel A. Keal, Joseph J. SchmidtRosen Electronics Management P
 Peter Y. Kim           mkelley@cascadiacapital.com, pFollow‐up ‐ ClearLight/Rosen Me
 Peter Y. Kim           Tim Clyde, Jospeh J. Schmidt, Ro Rosen Electronics Management P
 Brooks Mayberry        Peter Y. Kim                      Rosen Electronics Management P
 Michael S. Kaye        Robert J Martin, Joseph J. SchmidRevised Katzkin Chronology
 Peter Y. Kim           Jenn Cotton, Tyler Mercer, Alex SKatzkin‐ Management Fees
 Michael S. Kaye        John H McAlpine, Joseph J. SchmKatzkin
 Michael S. Kaye        Jay Shepherd, Joshua Mack, JohnPossible candidate for help with
 Tim Clyde              Luz Miranda, Peter Y Kim          pattersn available & % productio
 Luz Miranda            Tim Clyde, Peter Y. Kim           pattersn available & % productio
 Michael S. Kaye        Joseph J. Schmidt, Peter Y. Kim, RKatzkin Call w/MSK
 Peter Y. Kim           Alex S. Burt, Jenn Cotton         Katzkin‐ Management Fees
 Michael S. Kaye        Tim Clyde, Peter Y Kim, Joseph J. Call
 Michael S. Kaye        Tim Clyde, Peter Y Kim, Joseph J. Call
 Michael S. Kaye        Tim Clyde, Peter Y Kim, Joseph J. MCF Presentation
 Michael S. Kaye        Tim Clyde, Peter Y Kim, Joseph J. Katzkin 1Q2015 Presentation to
 Tim Clyde              Luz Miranda, Peter Y Kim          pattersn available & % productio
 Michael S. Kaye        Robert J Martin, Joseph J. SchmidBank presentation draft
 Michael S. Kaye        John H. McAlpine, Peter Y. Kim Kibel Green on Wed
 Michael S. Kaye        Tim Clyde, Robert J Martin, JosepBank presentation draft
 Michael S. Kaye        John H. McAlpine, Peter Y. Kim Kibel Green on Wed
 Michael S. Kaye        Joseph J. Schmidt, Peter Y Kim Kibel Green on Wed
 Warren Feder            David W. Reed; Keith S. Daniels RE
 David W. Reed          Warren Feder; Keith S. Daniels JaRe
 Warren Feder            David W. Reed; Keith S. Daniels RE
 Michael S. Kaye        Robert J. Martin; Joseph J. Schm Bank presentation draft
 Michael S. Kaye        Robert J. Martin, Peter Y. Kim, JoBank presentation draft
 Michael S. Kaye        Robert J. Martin, Peter Y. Kim, JoAnalyst for Katzkin
 Michael S. Kaye        Tim Clyde, Joseph J. Schmidt, PetSales
 Michael S. Kaye        Tim Clyde, Joseph J. Schmidt, PetSales
 Miles Hubbard          Brooks Mayberry, Tim Clyde        SEMA
 Tim Clyde              Joseph J. Schmidt, Peter Y Kim SEMA
 Peter Y. Kim           Tim Clyde, Joseph J Schmidt       SEMA
 Miles Hubbard          Tim Clyde, Brooks Mayberry        SEMA
 Tim Clyde              Miles Hubbard, Brooks MayberrySEMA
 Michael S. Kaye        Peter Y. Kim                      Katzkin‐ Madison
 Michael S. Kaye        Jay Shepherd, Kyle Burke, Peter YR Madison Meeting
 Michael S. Kaye        Joseph J. Schmidt, Peter Y Kim Madison/Katzkin
 Michael S. Kaye        Joseph J. Schmidt, Peter Y. Kim, RKatzkin forecast by 6/5
 Michael S. Kaye        Tim Clyde, Peter Y. Kim, Joseph J NYTimes: Detroit's Chief Instigat
 Ron Leslie             Alan Pittle; Bill North; Dan McAraPeter Kim Announcement
 Michael S. Kaye        Joseph J. Schmidt, Peter Y. Kim, RKatzkin long‐term plan
 Tim Clyde              Ron Leslie, Brooks Mayberry, PetOrlando ‐ 5,000 unit growth prop
 Peter Y. Kim           Mike Wattles                      Orlando ‐ 5,000 unit growth prop
 Ron Leslie             Brooks Mayberry, Tim Clyde, PetCurrent Sales Meeting File
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 Peter Y. Kim                 Joseph J Schmidt, Jeff R. Manass Current Sales Meeting File
 Ron Leslie                   Peter Y. Kim                     Sales Meeting 160113 v15.pptx
 Peter Y. Kim                 Mike Wattles                     Sales Meeting 160113 v15.pptx
 Ron Leslie                   David Sheffler, Brooks Mayberry Orlando TSM Area.xlsx
 Peter Y. Kim                 Ron Leslie, Brooks Mayberry, TimOrlando ‐ Ross offer and covenan
 Ron Leslie                   Tim Clyde, Brooks Mayberry, PetSales Action Plans 2016
 Ron Leslie                   Tim Clyde, Brooks Mayberry, PetSAT Price Increase Proposal
 Ron Leslie                   Tim Clyde, Brooks Mayberry, PetSAT Price Increase Proposal
 Tim Clyde                    Ron Leslie, Brooks Myberry, PeteSAT Price Increase Proposal
 Ron Leslie                   Tim Clyde, Brooks Mayberry, PetSAT Price Increase Proposal
 Peter Y. Kim                 Tim Clyde, Brooks Mayberry, RonNew restyler ‐ summary of pricin
 Ron Leslie                   Tim Clyde, Brooks Mayberry, PetNew restyler ‐ summary of pricin
 Tim Clyde                    Ron Leslie, Brooks Mayberry, PetNew restyler ‐ summary of pricin
 Peter Y. Kim                 Brooks Mayberry                  Ross
 Peter Y. Kim                 Mike Wattles, Liz Chavez         Privileged ‐ Notes for Counsel. O
 AT Conference                Ron Leslie                       Phone Conference ‐ Usage Repo
 AT Conference                Ron Leslie                       Phone Conference ‐ Usage Repo
 Tim Clyde                    Ron Leslie, Brooks Mayberry, Peter Y. Kim
 American express Travel      Ron Leslie                       Your Reservation Confirmation fo
 Ron Leslie                   TripIt                           Your Reservation Confirmation fo
 Tim Clyde                    Ron Leslie
 Ron Leslie                   Tim Clyde
 Tim Clyde                    Michael S kaye, Joseph J SchmidtLunch Tuesday
 Ron Leslie                   TripIt                           [SPAM] Your priceline itinerary fo
 Priceline Customer Service   Ron Leslie                       [SPAM] Your priceline itinerary fo
 Priceline.com                Ron Leslie                       [SPAM] Your priceline itinerary fo
 American Airlines            lesliere@yahoo.com               American Airlines check‐in remin
 American Airlines            lesliere@yahoo.com               American Airlines check‐in remin
 Uber Receipts                lesliere@yahoo.com               Your Wednesday evening trip wi
 Peter Y. Kim                 Orlan Davies                     Lunch Tuesday
 AT Conference                Ron Leslie                       Phone Conference ‐ Usage Repo
 Tim Clyde                    "Brooks Mayberry"; "Dara Ward discussion items
 Brooks Mayberry              Tim Clyde; "Dara Ward"; "Miles Hdiscussion items
 Miles Hubbard                Tim Clyde, Brooks Mayberry "Da discussion items
 Peter Y. Kim                 Tim Clyde                        discussion items
 Elizabeth Chavez             Time Clyde, Peter Y. Kim
 AT Conference                Ron leslie                       Phone Conference ‐ Usage Repo
 Ron leslie                   Tim Clyde, Brooks Mayberry, PetQuick Side Bar Today?
 Tim Clyde                    Ron Leslie, Brooks Mayberry, TimQuick Side Bar Today?
 Ron leslie                   New Accounts                     New Acct
 Ron Leslie                   New Accounts                     New Acct
 New Accounts                 Ron Leslie                       New Acct
 Ron Leslie                   Tim Clyde, Brooks Mayberry
 Tim Clyde                    Ron Leslie
 Tim Clyde                    Ron Leslie, Brooks Mayberry
 Ron Leslie                   Tim Clyde
 Tim Clyde                    Ron Leslie
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 AT Conference          Ron leslie                       Phone Conference ‐ Usage Repo
 New Accounts           Ron Leslie, Bill North           New Acct
 Ron Leslie             Bill North, New Accounts         New Acct
 Bill North             Ron leslie, New Accounts         New Acct
 Ron Leslie             Bill North, New Accounts         New Acct
 Ron leslie             Tim Clyde                        FIRST Trip ‐ Baltimore/D.C/NYC
 Bill North             Ron leslie                       New Acct
 Ron Leslie             Bill North                       New Acct
 Ron Leslie             Bill North                       New Acct
 Bill North             Greg Vogel, Ron Leslie           Account
 Greg Vogel             Bill North, Ron leslie           Account
 Ron Leslie             Greg Vogel, Bill North           Account
 Ron Leslie             Elizabeth Chavez                 Account
 Ron leslie             Greg Vogel, Bill North           Account
 Elizabeth Chavez       Ron Leslie                       Account
 Ron Leslie             Greg Vogel, Bill North           Account
 Ron Leslie             Elizabeth Chavez                 Account
 Ron Leslie             Greg Vogel, Bill North           Account
 Greg Vogel             Bill North, Ron leslie           Account
 Ron Leslie             Bill North                       Account
 Ron leslie             Bill North                       Account
 Bill North             Ron Leslie                       Account
 Ron Leslie             Bill North                       Account
 Ron Leslie             Bill North                       Account
 Ron Leslie             Tim Clyde                        Partner Presentation
 Ron Leslie             Tim Clyde                        Partner Presentation
 Tim Clyde              Ron leslie                       Partner Presentation
 Bill North             Karina Silva, Ron Leslie, newacco19210 housekeeping
 Karina Silva           David Giddings, Todd Feeher, Bil 19210 housekeeping
 AT Conference          Ron Leslie                       Phone Conference ‐ Usage Repo
 Bill North             Karina Silva, Ron Leslie, newacco19210 housekeeping
 Karina Silva           Ricardo Slutzki, Jorge Alexandro CarMax dealer 7240, Dayton
 Todd Feehrer           Bill North, Greg Vogel           Carmax RO# 61632
 Bill North             Greg Vogel                       Carmax RO# 61632
 AT Conference          Ron Leslie                       Phone Conference ‐ Usage Repo
 Bill North             carid@katzkin.com, Dara Ward, Opt‐In
 Angie Hubbard          carid@katzkin.com, Dara Ward, Opt‐In
 Bill North             Angie Hubbard                    Opt‐In
 Bill North             Ron Leslie, Tim Clyde            Tim/Ron visit to OH/IN
 Tim Clyde              Bill North, Ron leslie           Tim/Ron visit to OH/IN
 Bill North             Ron Leslie, Tim Clyde            Tim/Ron visit to OH/IN
 AT Conference          Ron Leslie                       Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                       Phone Conference ‐ Usage Repo
 David Giddings         Brooks Mayberry, Tim Clyde, PetDK Deck
 David Giddings         Brooks Mayberry, Tim Clyde, Liz DK Deck ‐ Final
 AT Conference          Ron leslie                       Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                       Phone Conference ‐ Usage Repo
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 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
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 AT Conference          Ron leslie                         Phone Conference ‐ Usage Repo
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 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 Larry Riggle           ricardo.ferrer@hilton.com, Ron LRooms for Katzkin
 Ricardo Ferrer         Larry Riggle, Ron Leslie, Cristina Rooms for Katzkin
 Larry Riggle           Ron Leslie                         Preferred Corporate Rate for Kat
 Antonia Wu             Larry Riggle, Ron Leslie, Cristina Preferred Corporate Rate for Kat
 Antonia Wu             Ron Leslie, Larry Riggle           Katzkin ‐ 1/10 & 1/11
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 Larry Riggle           Ron Leslie                         Preferred Corporate Rate for Kat
 Cristina Lin           Ron Leslie, Larry Riggle           Preferred Corporate Rate for Kat
 Cristina Lin           Ron Leslie, Larry Riggle           Preferred Corporate Rate for Kat
 Cristina Lin           Ron Leslie, Larry Riggle           Preferred Corporate Rate for Kat
 Ron Leslie             Cristina Lin, Larry Riggle         Preferred Corporate Rate for Kat
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 Cristina Lin           Ron Leslie, Antonia Wu, Larry RigPreferred Corporate Rate for Kat
 Larry Riggle           Ron Leslie                         Beatdown confermation#s
 Ron Leslie             McAra; Bill North; David           Sales Meeting Room Confirmatio
 Bill North             "Ron Leslie"; "Ross Albert"; "Alan Pittle"; "Dan McAra"; "David Sh
 Elizabeth Chavez       Jeff R. Manassero, Orland DaviesKatzkin 2017 budget submission
 Jeff R. Manassero      Orlan Davies                       Katzkin 2017 budget submission
 Jeff R. Manassero      Elizabeth Chaves, Orlan Davies, PKatzkin 2017 budget submission
 AT Conference          Ron leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 Dara Ward              Ron Leslie                         FOOTBALLS
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
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 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 Sandie Falagan         Brooks Mayberry, Ron Leslie       New Email Group ‐ salesmanage
 Brooks Mayberry        Sandie Falagan, Bill Waters, Ron New Email Group ‐ salesmanage
 Sandie Falagan         Brooks Mayberry, Ron Leslie       New Email Group ‐ salesmanage
 Bil Waters             Sandie Falagan, Brooks MayberryNew Email Group ‐ salesmanage
 Brooks Mayberry        Sandie Falagan, Bill Waters, Ron New Email Group ‐ salesmanage
 Bill Waters            Sandie Falagan, Brooks MayberryNew Email Group ‐ salesmanage
 Sandie Falagan         Brooks Mayberry, Bill Waters, RoNew Email Group ‐ salesmanage
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 Ron Leslie             Ramiro Cordova, Dave Sheffler, ATrying to pull all the HR/Hiring fo
 Bill North             Ron Leslie, Ramiro Cordova, Tim Trying to pull all the HR/Hiring fo
 Ron Leslie             Bill North                        Trying to pull all the HR/Hiring fo
 Ramiro Cordova         Ron Leslie, Dave Sheffler, Alan PiTrying to pull all the HR/Hiring fo
 Alan Pittle            Ron Leslie                        Trying to pull all the HR/Hiring fo
 Brooks Mayberry        Tim Clyde, Peter Y Kim            Trying to pull all the HR/Hiring fo
 Tim Clyde              Brooks Mayberry, Peter Y Kim Trying to pull all the HR/Hiring fo
 Ron Leslie             David Sheffler, Ramiro Cordova Trying to pull all the HR/Hiring fo
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 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 Bill North             Angie Hubard, Mail Room           New Swatch Cards
 Angie Hubbard          Bill North, mail room, Miles Hub New Swatch Cards
 Mail Room              Angie Hubbard, Bill North, Miles New Swatch Cards
 Bill North             Angie Hubbard, Mail Room, MileNew Swatch Cards
 Angie Hubbard          Bill North, mail room, Miles Hub New Swatch Cards
 Bill North             Angie Hubbard                     New Swatch Cards
 Angie Hubbard          Mail Room, Bill North             New Swatch Cards
 Bill North             Angie Hubbard, Mail Room          New Swatch Cards
 Bill North             Angie Hubbard, Mail Room          New Swatch Cards
 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 Sam Klement            Ron Leslie, Sandie Falagan, Rip StKatzkin Partnership for ORGILL s
 Ron Leslie             Sam.klement@seihq.com SandieKatzkin Partnership for ORGILL s
 AT Conference          Rn Leslie                         Phone Conference ‐ Usage Repo
 Bill North             Ron Leslie, Ramiro Cordova        Trying to pull all the HR/Hiring fo
 Ross Albert            Ron Leslie                        Ron, please add me to you Linke
 AT Conference          Ron Leslie                        Phone Conference ‐ Usage Repo
 Ron Leslie             Sam.klement@seihq.com SandieKatzkin Partnership for ORGILL s
 Sam Klement            Ron Leslie, Sandie Falagan, Rip StKatzkin Partnership for ORGILL s
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 AT Conference          Ron Leslie                         Phone Conference ‐ Usage Repo
 Ron Leslie             Elizabeth Chavez                   Discrepancies
 Liz Chavez             Ron Leslie                         Discrepancies
 Elizabeth Chavez       Ron leslie, Lisa Alvarado, Karina SDiscrepancies
 Ron Leslie             Elizabeth Chavez, Lisa Alvarado, Discrepancies
 Elizabeth Chavez       Ron leslie, Lisa Alvarado, Karina SDiscrepancies
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 Attachment
 forwarded emails
 forwarded emails
 No
 No
 No
 No
 forwarded emails
 email chain
 email chain
 No
 Yes, fax images and Non‐Competition and Severance Agreement
 forwarded emails
 forwarded emails
 Email chain
 No
 Email chain
 Email chain
 forwarded emails
 No
 email chain
 Forwarded emails
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 Yes, URLs and Invoice
 forwarded emails
 Yes, Invoice and forwarded email and chain
 email chain
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 No
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 Yes, email chain and resume
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 No
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 No
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 Yes, Forwarded email and image
 Yes, Forwarded email and image
 Forwarded emails
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 Forwarded emails
 Yes, Email chain and Portfolio Company Review
Case 6:18-cv-01237-WWB-GJK Document 397 Filed 11/02/20 Page 370 of 379 PageID 16876


 Forwarded emails
 Email Chain
 Email Chain
 email chain
 email chain
 email chain
 Yes, Katzkin CLP Deal Review
 Email chain
 No
 Yes, Resume
 no
 no
 email chain
 email chain
 No
 email chain
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 Yes, powerpoint, but it is not attached
 Yes, an excel file is referenced but not attached
 No
 Forwarded emails
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 no
 no
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 Yes, presentation
 No
 Email chain
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 No
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 Yes, powerpoint
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 Yes, Powerpoint
 Yes, powerpoint
 Yes, powerpoint
 Yes, excel spreadsheets
 Yes, Ross Albert offer letter pdf and Ross Albert restrictive covenants pdf
 Yes, Sales Action Plan excel sheet
 No
 Email chain
 email chain
 email chain
 Yes, Excel sheet and email chain
 email chain
 email chain
 Yes, Ross Albert offer letter pdf and Ross Albert restrictive covenants pdf
 Yes, Orlando Mopar Carmax excel sheet
 Phone records
 Phone records
 Yes, CST Branch Summary excel sheet
 Trip Information
 Forwarded Email
 No
 Email Chain
 Yes, CST Branch Summary excel sheet
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 Trip Information
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 Yes, CST Branch Summary excel sheet
 Phone records
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 Yes, Dept restyler sales excel sheet
 Phone records
 email chain
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 Yes, Katzkin Application Signed pdf
 Yes, images
 Yes, images
 Email Chain
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 Phone records
 Yes, images
 Email Chain
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 Trip Information
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 Yes, DK Deck 2016 powerpoint
 Yes, DK Deck 2016 powerpoint
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 Yes, Meeting Package pdf
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 Yes, Preferred Corporate Rate Agreement pdf
 No, Preferred Corporate Rate Agreement pdf referenced but not attached
 Yes, Preferred Corporate Rate Agreement pdf
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 Yes, Customer Recruitment Status Report pdf
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 Yes, Talladega Experience promotion jpg
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 Yes, 1711‐Sun auto tops 2015 ‐ Current v5 excel
 Yes, 1711‐Sun auto tops 2015 ‐ Current v5 excel
 No, mentions but doesn’t attach 1711‐Sun auto tops 2015 ‐ Current v5 excel
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                    EXHIBIT 13

                    Intentionally
                    Left Blank-
                    Marked
                    Confidential
                    and/or
                    Attorneys'
                    Eyes Only



                    EXHIBIT 13
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                    EXHIBIT 14




                    EXHIBIT 14
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  Subject: Classic Design Board Response - Request for access
  Date: Monday, June 6, 2016 at 5:55:05 PM Eastern Daylight Time
  From: Ron Leslie (via Google Sheets) <katzkinron@gmail.com>
  To:      classicdesignleather@gmail.com <classicdesignleather@gmail.com>




            Ron Leslie is requesting access to the following spreadsheet:

              Classic Design Board Response



             Open sharing settings




        Google Sheets: Create and edit spreadsheets online.




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                                   CERTIFICATE OF SERVICE

           I certify that on November 2, 2020 I electronically filed a copy of the foregoing with the

    Clerk of the Court by using the CM/ECF system which will send a notice of the electronic filing

    to the following:

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